     Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 1 of 94

 1                    IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
 2                             HOUSTON DIVISION

 3   __________________________________
                                       )
 4   UNITED STATES OF AMERICA          )
                                       ) CRIMINAL ACTION NO.
 5   VS.                               ) 4:20-MJ-1511
                                       )
 6   ZHENGDONG CHENG                         ) 4:55 P.M.
     __________________________________)
 7

 8              PRELIMINARY EXAMINATION AND DETENTION HEARING
                    BEFORE THE HONORABLE ANDREW M. EDISON
 9                             AUGUST 26, 2020

10   APPEARANCES: (All parties appeared via video conference.)

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18
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24
     Proceedings recorded by mechanical stenography, transcript
25   produced by computer.
     Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 2 of 94      2

 1                                   I N D E X

 2              PRELIMINARY EXAMINATION AND DETENTION HEARING

 3   AUGUST 26, 2020                                                         PAGE

 4   Closing Arguments by Mr. McIntyre                                         54

 5   Closing Arguments by Mr. Gallagher                                        57

 6   Rebuttal Arguments by Mr. McIntyre                                        60

 7   Rebuttal Arguments by Mr. Gallagher                                       61

 8   Ruling of the Court                                                       63

 9   GOVERNMENT'S WITNESS:

10   DANIEL SNOW
     Direct Examination by Mr. McIntyre.....................                    6
11   Cross-Examination by Mr. Gallagher.....................                   44

12                               COURT'S EXHIBITS

13   NO.                                            OFFRD     ADMTD    W/DRAW

14   1                                                           53
     2                                                           53
15

16

17

18

19

20

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23

24

25
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 3 of 94   3

              1                                  PROCEEDINGS

              2   ________________________________________________________________

              3        (The following proceeding was held via video conference.)

              4                                      * * *

16: 55:2 4    5              THE COURT:     Okay.    We are on the record now in case

              6   4:20-MJ-1511, United States versus Zhengdong Cheng.

16: 55:3 3    7              Could I have introductions of counsel, please,

              8   starting with the government?

16: 55:3 8    9              MR. MCINTYRE:     Mark McIntyre and Carolyn Ferko for the

             10   United States, Your Honor.

16: 55:4 2   11              THE COURT:     Hello.

16: 55:4 4   12              And for the defendant?

16: 55:4 5   13              MR. GALLAGHER:      Philip Gallagher for Dr. Cheng.

16: 55:4 8   14              THE COURT:     And, Dr. Cheng, I see you there on the

             15   video.   We have the interpreter, who should be translating

             16   everything to English simultaneously.         As soon as I say

             17   something, you should be able to hear the translation, and,

             18   likewise, any time you say something, the translator will then

             19   interpret it to me.

16: 56:0 5   20              So if you have any problem or any questions during

             21   this hearing, please just let the interpreter know, and she will

             22   make sure to stop.      If you have -- if there is any problem with

             23   communicating, raise your hand, and I will make sure that --

             24   that we stop the proceedings, okay, sir?

16: 56:3 5   25              THE DEFENDANT:      I can't hear the English right now.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 4 of 94   4

              1   Is it possible that I can hear the English, or should I be

              2   hearing the English?

16: 56:4 4    3                THE COURT:   I'm not sure I understand.

16: 56:4 7    4                MR. GALLAGHER:    May I jump in, Your Honor?

16: 56:4 8    5                THE COURT:   Please.

16: 56:5 0    6                MR. GALLAGHER:    Generally, it's easier, with

              7   translation, if he just hears from the translator so it's not

              8   confusing hearing different speech at the same time.            So as long

              9   as the translator's interpreting everything said by everybody,

             10   that's all he needs to hear.

16: 57:1 6   11                THE DEFENDANT:    Okay.    That's good.

16: 57:1 9   12                THE COURT:   Okay.     Before we go any further -- well, I

             13   think we're here today for a probable cause and a detention

             14   hearing.     Am I correct on that, Counsel?

16: 57:2 8   15                MR. GALLAGHER:    Yes, Your Honor.

16: 57:2 9   16                MR. MCINTYRE:    Yes, Your Honor.

16: 57:2 9   17                THE COURT:   Okay.     Before we go any further, I just

             18   want to make sure I have the consent, the agreement of all

             19   parties to proceed on the video format.          Obviously, we would all

             20   like to be in the courthouse together proceeding, but given the

             21   COVID-19 pandemic, which has wreaked havoc on society, we're

             22   trying to be safe and, therefore -- or trying to conduct these

             23   proceedings on video.

16: 57:4 9   24                So I'm going to ask both the government and the

             25   defendant:     Are you agreeable to waive any right you would have
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 5 of 94   5

              1   to participate in today's proceedings and only today's

              2   proceedings in the courtroom and, instead, proceed on video?

16: 57:5 9    3                Mr. Gallagher, for the defendant?

16: 58:0 1    4                MR. GALLAGHER:    Yes, we consent to that.

16: 58:0 3    5                THE COURT:   From the government?

16: 58:0 5    6                MR. MCINTYRE:    Yes, Your Honor.

16: 58:0 6    7                THE COURT:   Okay.   Are we ready to proceed with the

              8   probable cause and detention hearing?

16: 58:1 2    9                MR. GALLAGHER:    Yes, Your Honor.

16: 58:1 3   10                MR. MCINTYRE:    The government is ready, Your Honor.          I

             11   just wanted to make sure you could hear me okay.           I'm having --

             12   I can hear you, but it's kind of low.         But I wanted to make sure

             13   you could hear me.

16: 58:2 1   14                THE COURT:   I can hear you loud and clear.

16: 58:2 4   15                MR. MCINTYRE:    Okay.

16: 58:2 4   16                THE COURT:   By the way, if anyone -- during the course

             17   of this, if anyone has any problem hearing, just raise your

             18   hand.     I'm watching it, and I want to make sure, obviously, that

             19   there's full communication.       We had a detention hearing

             20   yesterday out at Joe Corley that halfway through, we lost the

             21   defendant.     So I will make sure I -- I see all the boxes, and

             22   we'll make sure everyone's on.

16: 58:4 7   23                Okay.   Well, let's have the government proceed,

             24   please.

16: 58:5 1   25                MR. MCINTYRE:    Yes, Your Honor.     The government would
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 6 of 94   6
                                  Mr. McIntyre Direct of Daniel Snow
              1   call FBI Special Agent Daniel Snow.

16: 58:5 8    2                THE COURT:     Agent Snow, would you raise your right

              3   hand, sir.

16: 59:0 2    4        (Witness sworn.)

16: 59:0 7    5                THE COURT:     Okay.   Please proceed.

16: 59:0 8    6                    DANIEL SNOW, DULY SWORN, TESTIFIED:
16: 59:0 8    7                                DIRECT EXAMINATION
              8   BY MR. MCINTYRE:

16: 59:0 9    9   Q   Could you state your name for the record, please?

16: 59:1 3   10   A   Yes.     Daniel Snow.

16: 59:1 5   11   Q   And, Mr. Snow, where are you employed?

16: 59:1 9   12   A   I'm employed with the Federal Bureau of Investigation.

16: 59:2 2   13   Q   And what is your job title?

16: 59:2 5   14   A   I am a special agent.

16: 59:2 7   15   Q   And how long have you been an FBI special agent?

16: 59:3 1   16   A   Just short of 17 years.

16: 59:3 3   17   Q   And prior to becoming a special agent for the FBI, did you

             18   have any other law enforcement experience?

16: 59:4 1   19   A   I did.     I spent nine and a half years with the Houston

             20   Police Department.

16: 59:4 5   21   Q   Okay.     And have you familiarized yourself with the facts in

             22   the complaint that charge the defendant with fraud and false

             23   statements regarding a NASA grant?

17: 00:0 1   24   A   I have.

17: 00:0 1   25   Q   And before we get started on that, can you tell me a little
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 7 of 94   7
                                  Mr. McIntyre Direct of Daniel Snow
              1   bit about Mr. Cheng?      Where was he or where is he employed?

17: 00:1 0    2   A   He was employed as a full possessor at Texas A&M University

              3   since 2004.

17: 00:1 7    4   Q   And was he working in a particular department at Texas A&M?

17: 00:2 1    5   A   Yeah.     He was a professor in the chemical engineering

              6   department.

17: 00:2 7    7   Q   And do you know where Mr. Cheng was -- the defendant was

              8   born?

17: 00:3 4    9   A   I know he was born in China.        I believe Houdan, China.

17: 00:3 9   10   Q   And during the time period -- well, can you tell the Court

             11   what the time period for the NASA grant was, when it was awarded

             12   and -- and how long it was in effect?

17: 00:5 2   13   A   Yeah.     The NASA grant was awarded on September 13th of 20-

             14   -- September, yeah, 13th of 2013, and it went through

             15   August 31st of 2020, this year.

17: 01:0 7   16           Originally, it was 2018.     It was extended to this year.

17: 01:1 2   17   Q   Now, during the time period of this grant and also during

             18   the time period that the defendant was employed at Texas A&M

             19   University, did he have other employment?

17: 01:2 5   20   A   Yes, he did.

17: 01:2 6   21   Q   And specifically, did he have other employment in China?

17: 01:3 1   22   A   Yes, he did.

17: 01:3 2   23   Q   And is one of the places that he was employed Guangdong

             24   University?

17: 01:4 1   25   A   Yes.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 8 of 94   8
                                  Mr. McIntyre Direct of Daniel Snow
17: 01:4 2    1   Q   And can you tell me what positions he held at Guangdong

              2   University and for what time period?

17: 01:5 0    3   A   Yeah.     From at least 2012, possibly 2011, Dr. Cheng was the

              4   director of Soft Matter Institute at Guangdong University of

              5   Technology.     He was also employed, from September 2012 to August

              6   of 2014, as a province chair professor.

17: 02:0 8    7        And, further, he was employed as a special hire Hundred

              8   Talent professor from September of 2011 to the present.

17: 02:2 0    9   Q   Guangdong University of Technology, who -- what entity

             10   established that university?

17: 02:2 6   11   A   Guangdong University of Technology was established by the

             12   People's Republic of China Ministry of Education in

             13   approximately 1995.

17: 02:3 5   14   Q   And who runs and manages Guangdong University of Technology?

17: 02:4 0   15   A   The People's Republic of China's Ministry of Education.

17: 02:4 4   16                THE COURT:   Before we go any further, I just want to

             17   make sure:     We do have the court reporter on, don't we?

17: 02:4 9   18                THE REPORTER:   Yes, Your Honor.      I'm here.

17: 02:5 1   19                THE COURT:   Okay.   You can hear everything?

17: 02:5 4   20                THE REPORTER:   Yes, Your Honor.      Yes, Your Honor.

17: 02:5 5   21                THE COURT:   Okay.   Perfect.

17: 02:5 6   22                Mr. McIntyre, please proceed.

17: 02:5 9   23                MR. MCINTYRE:   Okay.    I can speak louder, too, if

             24   there's a problem.

17: 03:0 2   25                THE COURT:   No, you're good.     I just wanted to make
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 9 of 94   9
                                 Mr. McIntyre Direct of Daniel Snow
              1   sure we had the court reporter on.        I can't see the court

              2   reporter on the video.      So...

17: 03:0 9    3   BY MR. MCINTYRE:

17: 03:1 0    4   Q   So in addition to this employment that you described at

              5   Guangdong University of Technology, did the defendant, during

              6   the time of the NASA grant and his employment at Texas A&M

              7   University, participate in Chinese talent programs?

17: 03:2 6    8   A   Yes, he did.     One of his positions at Guangdong University

              9   was a special hire as a Hundred Talents Program professor.

17: 03:3 4   10   Q   Can you tell the Court what -- or give a description of

             11   these Chinese talent programs?

17: 03:3 9   12   A   Yeah.    Talent programs were established by the Chinese

             13   government to recruit individuals with access or knowledge to

             14   foreign technology or intellectual property.          The talent

             15   programs allowed the Chinese government to create significant

             16   financial incentives to foreign individuals that were talented

             17   in the areas of technology and international -- intellectual

             18   property, and they were able to transfer that technology to

             19   China.

17: 04:0 9   20   Q   Now, you stated he was a participant in the Hundred Talent

             21   Program; is that correct?

17: 04:1 6   22   A   That is correct.

17: 04:1 8   23   Q   And was he a participant in any other Chinese talent

             24   programs?

17: 04:2 3   25   A   There was a River Talent Program that he was associated with
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 10 of 94   10
                                  Mr. McIntyre Direct of Daniel Snow
              1   at Southern University of Technology.

17: 04:3 1    2   Q    And where is Southern University of Technology located?

17: 04:3 4    3   A    It is in China.

17: 04:3 7    4   Q    And did he apply for any other Chinese talent programs?

17: 04:4 3    5   A    He did apply to the Thousand Talents Program, which is a

              6   higher program, at the University of Science and Technology of

              7   China.

17: 04:5 3    8   Q    And do you know approximately the time period that he

              9   applied to the Thousand Talents Program?

17: 04:5 8   10   A    I believe it was in 2014.

17: 05:0 3   11   Q    Now, in addition to the participation in the Chinese talent

             12   programs, the employment at Guangdong University of Technology,

             13   did the defendant, during the time of the grant and his

             14   employment at Texas A&M, form or have (indiscernible) --

17: 05:2 2   15               THE REPORTER:     I'm sorry.    It cut out.     What was the

             16   -- what was the end of the question?

17: 05:2 2   17               "His employment at Texas A&M" --

17: 05:2 2   18               MR. MCINTYRE:     What?

17: 05:2 2   19               THE REPORTER:     There was phone --

17: 05:3 7   20               THE COURT:    Could you ask that question again,

             21   Mr. McIntyre?     The court reporter didn't understand it.

17: 05:4 2   22               MR. MCINTYRE:     Well, sometimes that's hard to do.         Let

             23   me see.    Was I -- was it about the Thousand Talents Program?             Is

             24   that the question?

17: 05:4 6   25               THE REPORTER:     The question --
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 11 of 94   11
                                   Mr. McIntyre Direct of Daniel Snow
17: 05:5 0    1   A    I believe you were asking about the formation of a

              2   corporation.

17: 05:5 5    3   BY MR. MCINTYRE:

17: 05:5 5    4   Q    Okay.   Well, I'll go back.

17: 05:5 7    5         Did -- did he apply -- the defendant apply, at any time,

              6   for a Thousand Talents Program in China?

17: 06:0 4    7   A    Yes, he did, to the University of Science and Technology of

              8   China.

17: 06:0 8    9   Q    Okay.   And during the time period that he was employed at

             10   Texas A&M and during the time period that he was working on the

             11   NASA grant, in addition to employment at Guangdong University of

             12   Technology, the participation in the Chinese talent programs,

             13   did he form any Chinese companies during that same time period?

17: 06:2 9   14   A    Yes.    Dr. Cheng, along with others, formed the Foshan City

             15   Ge Wei Technology Company, Ltd.

17: 06:3 8   16   Q    And what year was that company formed?

17: 06:4 2   17   A    In 2014.

17: 06:4 5   18   Q    And where was Foshan City Ge Wei Technology Company located?

17: 06:5 1   19   A    In China.

17: 06:5 3   20   Q    And what was the purpose or business interest of Foshan City

             21   Ge Wei Technology Company to your understanding?

17: 07:0 1   22   A    It was an enterprise -- it was an enterprise affiliated with

             23   Guangdong University of Technology.         It was dedicated to the

             24   design, fabrication and application of microfluidic chips, which

             25   have application in energy, biotechnology, the food industry,
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 12 of 94   12
                                  Mr. McIntyre Direct of Daniel Snow
              1   lots of applications.

17: 07:2 2    2   Q    And to the best of your knowledge, is he still an owner in

              3   that company?

17: 07:2 8    4   A    Yes.    As of January 19th, we know he was still an owner.

17: 07:3 6    5   Q    Now, during this same time period that we're discussing when

              6   he was employed at Texas A&M, and also during the time period of

              7   the grant, did he work at any other Chinese universities besides

              8   Guangdong University of Technology?

17: 07:4 8    9   A    Yes.    Between December of 2017 and August of 2018, he worked

             10   for the Southern University of Science and Technology in China.

17: 08:0 2   11   Q    And what was his position at Southern University of Science

             12   and Technology?

17: 08:0 9   13   A    He -- he was a professor there.

17: 08:1 3   14   Q    And was he compensated for being a professor during that --

             15   at Southern University of Science and Technology?

17: 08:2 1   16   A    Yes, he was.     His -- he received approximately 50,000

             17   renminbi, which in U.S. dollars is about $7,200.

17: 08:3 2   18   Q    And was that per month or for the time period of the

             19   contract or for what time period?

17: 08:3 8   20   A    That was for three months.

17: 08:4 2   21   Q    Okay.   And what was the time period that he was a visiting

             22   professor at Southern University of Science and Technology?

17: 08:5 4   23   A    Yeah.   From December of 2017 through August of 2018.

17: 09:0 1   24   Q    Now, in relation to the NASA grant, did Mr. -- did the

             25   defendant participate with Texas A&M in a NASA research grant?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 13 of 94   13
                                  Mr. McIntyre Direct of Daniel Snow
17: 09:1 5    1   A    Yes, he did.

17: 09:1 7    2   Q    And what time period did he start the application process

              3   for a NASA grant?

17: 09:2 3    4   A    The application was in 2013.

17: 09:2 7    5   Q    And what was the defendant's role in the research team that

              6   was seeking to obtain the NASA grant?

17: 09:3 7    7   A    He was the principal investigator, which meant he would have

              8   been the lead researcher.

17: 09:4 3    9   Q    And the grant that the defendant applied for, what was the

             10   title of that grant, if you know?

17: 09:5 0   11   A    The title was "Research Opportunities in Complex Fluids and

             12   Macromolecular Biophysics, Liquid Crystals of Nanoplates."

17: 10:0 3   13   Q    And you had previously stated that the period of performance

             14   for that grant was from 2013 to 2020; is that correct?

17: 10:1 1   15   A    Yeah.   To be more specific, from September 1st of 2013 till,

             16   originally, August 31st of 2018.         The grant was then extended to

             17   August 31st of this year, 2020.

17: 10:2 5   18   Q    And what was the monetary amount associated with the grant?

17: 10:3 0   19   A    The -- the grant total was approximately $747,000.

17: 10:3 7   20   Q    And what time period -- what month and what year was the

             21   grant submitted to NASA, the grant being --

17: 10:4 3   22   A    The application -- yeah.       The submission was in April of

             23   2013.

17: 10:4 9   24   Q    Now, were there restrictions on obtaining the NASA grant

             25   that related to China?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 14 of 94     14
                                   Mr. McIntyre Direct of Daniel Snow
17: 10:5 6    1   A    Yes.     The -- 14 CFR 1260 places NASA on funding restrictions

              2   from anybody working -- funding anything working with China, in

              3   collaboration, coordination with any Chinese company or -- or

              4   any way with China.

17: 11:1 9    5   Q    Okay.     And this prohibition of participating, collaborating

              6   or coordinating with any Chinese entity included Chinese

              7   universities; is that correct?

17: 11:3 0    8   A    It did.     Chinese universities are considered incorporated

              9   under the laws of China.

17: 11:3 7   10   Q    And so the grant proposal was submitted in April of 2013; is

             11   that correct?

17: 11:4 2   12   A    That is correct.

17: 11:4 5   13   Q    And was that proposal that was sent to NASA approved by the

             14   defendant?

17: 11:5 2   15   A    It was.

17: 11:5 4   16                 MR. GALLAGHER:    Sorry.     Mr. McIntyre, I don't mean to

             17   interrupt.      The judge is not appearing.          I just want to make

             18   sure we still have him.

17: 12:0 2   19                 MR. MCINTYRE:    Okay.

17: 12:0 2   20                 THE COURT:    I'm here.     I don't know why I can't see

             21   anyone.      Okay.   Can you see me now?

17: 12:0 6   22                 MR. GALLAGHER:    Yes.     Sorry.

17: 12:0 8   23                 THE COURT:    No, no.     Thank you.     I can hear everything

             24   that was going on.         For some reason, I just lost the picture.

             25   So proceed.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 15 of 94   15
                                  Mr. McIntyre Direct of Daniel Snow
17: 12:1 6    1                MR. MCINTYRE:     Okay.   Yes.   Keep going where I was?

17: 12:2 3    2   BY MR. MCINTYRE:

17: 12:2 3    3   Q    So you had previously stated that the defendant approved the

              4   proposal to get the NASA grant; is that correct?

17: 12:3 2    5   A    That is correct.

17: 12:3 3    6   Q    And do you know the approximate time period that he approved

              7   the grant before it was submitted?

17: 12:3 9    8   A    It was approximately six days before Texas A&M submitted the

              9   grant.

17: 12:4 4   10   Q    And what did the grant proposal say about international

             11   collaboration and, specifically, collaboration or coordination

             12   with China?

17: 12:5 4   13   A    Yeah.    It (indiscernible) --

17: 12:5 8   14                THE REPORTER:     I'm sorry.     Could you please repeat?

17: 12:5 9   15                MR. MCINTYRE:     I'm sorry?

17: 13:0 8   16                THE REPORTER:     There was interference --

17: 13:0 8   17                THE COURT:     Let's repeat the question.

17: 13:0 8   18                THE REPORTER:     Yeah.   I have the question, just the

             19   answer, please.

17: 13:1 1   20                THE WITNESS:     I don't remember the question.

17: 13:1 1   21                THE REPORTER:     Okay.

17: 13:1 1   22                THE COURT:     Repeat the question, please.

17: 13:1 2   23   BY MR. MCINTYRE:

17: 13:1 2   24   Q    The question was:       What did the proposal -- what did it say

             25   about international collaboration or coordination specifically
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 16 of 94   16
                                   Mr. McIntyre Direct of Daniel Snow
              1   as it relates to China?

17: 13:2 5    2   A    Yeah.     The -- the proposal clearly said no international

              3   collaboration or partnerships were allowed.

17: 13:3 4    4   Q    And as part of -- as part of that grant proposal, was the

              5   defendant -- as a principal investigator, did he include a

              6   résumé in that proposal application?

17: 13:4 7    7   A    He did.     He includes his résumé that did not include any

              8   employment or affiliation with Chinese companies or

              9   universities.

17: 13:5 9   10   Q    Now, let me take you to August of 2013.          Was there e-mail

             11   communications between NASA and the Texas A&M proposal

             12   administrator regarding the grant?

17: 14:1 7   13   A    Yes.    That communication occurred with the NASA procurement

             14   official and the Texas A&M proposal administrator.

17: 14:2 5   15   Q    Okay.     And can you tell me the substance of those e-mail

             16   communications between NASA and the Texas A&M proposal

             17   administrator?

17: 14:3 5   18   A    Yeah.     The NASA procurement official had, in the e-mail,

             19   sent a form that was titled "Assurance of Compliance - China

             20   Funding Restrictions."       That form had to be completed before the

             21   NASA grant officer would sign -- sign the grant.

17: 14:5 8   22   Q    And this form laid out the NASA/China funding restrictions

             23   that we've previously discussed; is that correct?

17: 15:0 4   24   A    That's right.     It tracked the language of 14 CFR 1260.

17: 15:0 9   25   Q    Okay.     And then was there a follow-up e-mail on August 29th
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 17 of 94   17
                                  Mr. McIntyre Direct of Daniel Snow
              1   of 2013 between the defendant, the Texas A&M proposal

              2   administrator and NASA regarding this assurance of compliance on

              3   China funding restrictions?

17: 15:2 6    4   A    Yeah.    On August 29th, the A&M proposal administrator

              5   replied to NASA and copied Dr. Cheng and -- with the signed

              6   forms, and it was signed by the Texas A&M director of contracts

              7   and grants.

17: 15:4 5    8   Q    And during that e-mail chain, was there a response from the

              9   defendant regarding --

17: 15:5 1   10   A    Yeah.

17: 15:5 1   11   Q    -- Chinese restrictions?

17: 15:5 3   12   A    Yeah.    Dr. Cheng e-mailed directly the NASA procurement

             13   official.     He inquired about -- that he would be hiring graduate

             14   students for the research and wanted -- and thought it was

             15   possible that they could be Chinese students, and he wanted to

             16   be clear if that was allowed.

17: 16:1 5   17   Q    So he was making what he called a disclosure; is that

             18   correct, sir?

17: 16:1 9   19   A    Yes.

17: 16:2 0   20   Q    Okay.    And so let me take you to September 19th of 2013.

             21   Did NASA award the research grant to the team -- research team

             22   at A&M headed by the defendant?

17: 16:3 7   23   A    Yeah, they did.     On September 19th of 2013, they awarded the

             24   grant, and the grant did include the 14 CFR 1260 restrictions.

17: 16:4 7   25   Q    The China funding restrictions; is that correct?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 18 of 94   18
                                  Mr. McIntyre Direct of Daniel Snow
17: 16:5 0    1   A    That is correct.

17: 16:5 2    2   Q    And let me take you to just a few days after that, on

              3   September 30th of 2013.       Did Texas A&M have an annual financial

              4   disclosure requirement for its employees?

17: 17:0 7    5   A    They do.

17: 17:0 9    6   Q    And part of what they asked, does it relate to reporting

              7   external employment positions, including research activities,

              8   and if they're going to seek those external employment

              9   positions, to request permission from Texas A&M?

17: 17:2 4   10   A    That is correct.     They do that to prevent conflicts of

             11   interest.

17: 17:2 8   12   Q    And on September 30th of 2013, did the defendant fill out

             13   and file that financial disclosure with Texas A&M?

17: 17:3 8   14   A    Yes.    Dr. Cheng certified and submitted his financial

             15   disclosure to A&M --

17: 17:4 2   16         (Video conference signal lost; court reporter logged back

             17         in.)

17: 17:4 2   18                THE REPORTER:    Your Honor, this is the reporter.          I

             19   lost connection.      The last question I heard was, "And on

             20   September 30th of 2013, did the defendant fill out and file that

             21   financial disclosure with Texas A&M?"

17: 19:1 8   22                THE COURT:   I think you got to go back.        I'll leave it

             23   up to counsel to decide what you want to do, but any connection

             24   with the -- Mr. Gallagher?

17: 19:2 6   25                MR. GALLAGHER:    I will have no objection if the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 19 of 94   19
                                  Mr. McIntyre Direct of Daniel Snow
              1   witness just wants to summarize or restate his answers regarding

              2   Dr. Cheng's view of the financial disclosure requirement that

              3   Mr. McIntyre asked him about, and what was -- I think it was the

              4   contents of that, and then whether or not it was acknowledgment

              5   that he read them.        I think those were the contents that the

              6   court reporter missed.       So that doesn't need to proceed by

              7   question and answer.

17: 19:5 3    8                MR. MCINTYRE:    So I think he wants -- I think where

              9   she dropped off was on September 30th.            So you can tell me about

             10   the financial disclosure -- (video interference) -- of 2013.

17: 20:0 5   11                THE COURT:    Hold on.    Hold on.     Someone just left.

             12   Did we lose the court reporter again?

17: 20:0 8   13                THE REPORTER:    No, Your Honor, I'm here.

17: 20:0 9   14                THE COURT:    Okay.

17: 20:1 3   15   A    All right.    So on September 30th of 2013, Dr. Cheng did

             16   certify and submit an annual financial disclosure to Texas A&M

             17   University -- (video interference) -- any Chinese university --

17: 20:2 1   18                THE COURT:    Hold on.    Hold on.     I don't know -- we

             19   have people -- I don't know.          We have people -- people are

             20   leaving and coming on Jabber.         So every time it happens, I got

             21   to ask if that's the court reporter.

17: 20:3 3   22                THE REPORTER:    I'm here, Your Honor.

17: 20:3 5   23                THE COURT:    Okay.   Thank you.

17: 20:3 8   24   A    Okay.    I'll repeat that part.

17: 20:3 9   25         On September 30th, 2013, Dr. Cheng certified and submitted
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 20 of 94   20
                                  Mr. McIntyre Direct of Daniel Snow
              1   an annual financial disclosure to Texas A&M University.             He did

              2   not list any Chinese external employment or research activities.

17: 20:5 1    3         Thereafter, in July of 2015, Dr. Cheng affirmed to a Texas

              4   A&M compliance officer, as part of the ad- -- grant

              5   administration, that he had read the language regarding the NASA

              6   funding restrictions, and he would not share his research or

              7   technology or equipment with anyone affiliated with China or a

              8   Chinese company.

17: 21:2 3    9   BY MR. MCINTYRE:

17: 21:2 4   10   Q    Okay.    Let's move to the time period of 2012 to 2018, and I

             11   want to talk to you about publications either authored or

             12   credited to the defendant.

17: 21:3 4   13         During that time period, how many research papers authored

             14   or credited to the defendant associated him with the Guangdong

             15   Provincial Key Laboratory on Functional Soft and Dense Matter in

             16   Guangdong University?

17: 21:5 1   17   A    Yeah.    Approximately 13.

17: 21:5 4   18   Q    And how many research papers during that time period,

             19   authored or credited to the defendant, listed him as affiliated

             20   with both Guangdong University of Technology and Texas A&M

             21   University?

17: 22:0 7   22   A    Eight of those publications listed him as affiliated with

             23   both universities.

17: 22:1 3   24   Q    And how many research papers authored or credited to the

             25   defendant acknowledged financial support from the National
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 21 of 94   21
                                   Mr. McIntyre Direct of Daniel Snow
              1   Science Foundation of China?

17: 22:2 4    2   A    Fourteen.

17: 22:2 8    3   Q    And were there any reasonable -- (video interference) --

              4   authored or credited to the defendant that --

17: 22:3 2    5               THE COURT:    Hold on.      Is the court reporter on?

17: 22:3 4    6               THE REPORTER:     I'm here, Your Honor.

17: 22:3 5    7               THE COURT:    Okay.     Who just joined on Jabber?

17: 22:3 8    8         (No response.)

17: 22:3 8    9         (Video interference.)

17: 22:4 7   10               THE COURT:    Does anybody have any idea what's

             11   happening here?     I mean, we keep having people coming and going.

17: 22:5 2   12               MR. MCINTYRE:     I have no idea.

17: 22:5 3   13               MS. FERKO:    Your Honor, this is Carolyn Ferko with the

             14   U.S. Attorney's Office.       I can see, in the corner, it just says,

             15   "Jabber Guest Has Joined," and then it says, "Jabber Guest Has

             16   Left."

17: 23:0 4   17               THE COURT:    That's what I see as well.        I'm just

             18   trying to -- I'm just trying to figure out who it is.

17: 23:0 9   19               MS. FERKO:    Okay.     But it doesn't specify anybody.

17: 23:1 2   20               THE COURT:    Okay.     Please proceed.

17: 23:1 6   21               MR. GALLAGHER:     Sorry.     Mr. McIntyre, I'm sorry.       I

             22   just want to confirm something.          I apologize.

17: 23:1 9   23               Can I just ask the interpreter:        Mr. -- or Dr. Cheng

             24   was just waving his hand.         Is he still hearing everything fine?

17: 23:2 5   25               THE INTERPRETER:       This is the interpreter speaking.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 22 of 94   22
                                  Mr. McIntyre Direct of Daniel Snow
              1   Dr. Cheng just thought you guys were talking about people

              2   leaving his physical room, not the Jabber room.

17: 23:4 6    3                THE COURT:    No.   No worries.    Thank you very much.

17: 23:4 8    4                Okay.   Proceed.

17: 23:5 2    5   BY MR. MCINTYRE:

17: 23:5 2    6   Q    Okay.    During this time period, were there -- were there

              7   research papers that acknowledged there was financial support,

              8   both National Science Foundation of China and NASA, that were

              9   authored or credited to the defendant?

17: 24:1 0   10   A    Yes.    Two publications listed support from the National

             11   Science Foundation of China and the NASA grant specifically.

17: 24:1 9   12   Q    And during the time period of A&M employment and the NASA

             13   grant, did the defendant attempt to obtain any patents in China?

17: 24:2 8   14   A    Yes.    He had two Chinese patents as a result of his work

             15   with Guangdong University of Technology.          They were filed in

             16   2016 and 2017.

17: 24:3 8   17   Q    And in regards to the 2016 patent, what did that involve,

             18   and who was involved in obtaining that patent?

17: 24:4 5   19   A    Dr. Cheng was listed as the inventor on the Guangdong

             20   University patent.        It was filed on June 15th of 2016, and it

             21   was related to microfluidic chip devices and microfluidic

             22   channel structures.

17: 25:0 4   23   Q    And those patent rights of which the defendant was the

             24   inventor, who ended up, ultimately, with having those

             25   transferred -- those rights transferred to?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 23 of 94   23
                                  Mr. McIntyre Direct of Daniel Snow
17: 25:1 5    1   A    Yeah.   In July of 2017, those rights were transferred to

              2   include both Guangdong University of Technology and Ge Wei, Ltd.

17: 25:2 7    3   Q    Which is the company that the defendant has an ownership

              4   interest in; is that correct?

17: 25:3 1    5   A    That is correct.

17: 25:3 3    6   Q    And during the course of the investigation, were the agents

              7   able to obtain an employment contract between Guangdong

              8   University of Technology and the defendant?

17: 25:4 4    9   A    Yes, they were.

17: 25:4 7   10   Q    And can you tell me the term of employment that this

             11   contract had in mind?

17: 26:0 6   12         Do you know what the term of --

17: 26:1 0   13   A    Refer to my notes.

17: 26:1 1   14         No, I'm not sure of the actual term on the Guangdong

             15   contract.

17: 26:1 7   16   Q    Okay.   And pursuant to that contract, was he paid, or do you

             17   recall?

17: 26:2 4   18   A    Yes, he was paid.

17: 26:2 6   19         Oh, I do -- the contract was September 2011 through August

             20   of 2014.

17: 26:3 3   21   Q    Okay.   And how much was he paid by Guangdong University of

             22   Technology during that time period?

17: 26:4 0   23   A    Approximately $60,000 U.S.

17: 26:4 6   24   Q    And what were some of the work objectives included in the

             25   employment contract between Guangdong University and the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 24 of 94   24
                                  Mr. McIntyre Direct of Daniel Snow
              1   defendant?

17: 26:5 5    2   A    His work objectives were to establish the Soft Matter

              3   Institute and to recruit top-notch foreign talent regarding

              4   technology.

17: 27:1 3    5   Q    Now, from 2012 to 2020, was the defendant required to file

              6   these financial disclosure statements each year?

17: 27:3 0    7   A    He was.

17: 27:3 1    8   Q    And did he file those financial disclosure statements?

17: 27:3 5    9   A    Yes.    Dr. Cheng did file the disclosure statements, and they

             10   did not include any external employment or research activities.

17: 27:4 4   11   Q    And that is even though those questions were specifically

             12   asked; is that correct?

17: 27:5 0   13   A    Yes, that is correct.

17: 27:5 2   14   Q    And was A&M contacted about what they would have done if the

             15   defendant had correctly disclosed, in his financial disclosure,

             16   his employment, talent program, and other business in China?

17: 28:1 0   17   A    Yes.    A&M was asked that, and they would have had to notify

             18   NASA, which would have resulted in them not obtaining the grant.

17: 28:2 1   19   Q    And NASA was also asked, if that information was relayed to

             20   them, what they would do; is that correct?

17: 28:2 7   21   A    Yes.    They would not have -- they would have pulled the

             22   grant at that time.

17: 28:3 4   23   Q    Now, in 2016, did the defendant apply for a particular

             24   position at Texas A&M University?

17: 28:4 6   25   A    Yes.    He -- at the time he was an associate professor, and
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 25 of 94   25
                                    Mr. McIntyre Direct of Daniel Snow
              1   he was applying for a full professorship, and he submitted an

              2   application to Texas A&M in March of 2016.

17: 28:5 9    3   Q     And along with that application, did he submit a curriculum

              4   vitae and a declaration stating that everything in the

              5   curriculum vitae was correct?

17: 29:1 0    6   A     He did.

17: 29:1 1    7   Q     And did he disclose any of the Chinese associations that

              8   we've talked about before with Guangdong University of

              9   Technology, other institutions, Ge Wei, or the Chinese talent

             10   programs?

17: 29:2 4   11   A     He did not disclose any Chinese associates or affiliations.

17: 29:3 0   12   Q     Okay.     I'm going to take you all the way up to June 22nd of

             13   2020, which is approximately two months ago.

17: 29:3 6   14          As part of the defendant's employment, did the college and

             15   engineering --

17: 29:4 5   16                 MR. GALLAGHER:     Hold up.   The interpreter has her hand

             17   up.

17: 29:4 8   18                 THE COURT:   Hold on.

17: 29:4 9   19                 THE INTERPRETER:     Sorry.   This is the interpreter

             20   speaking.       Could someone -- I think someone's making a lot of

             21   background noise, maybe moving things around.           Could anybody

             22   who's not talking just mute their microphone?

17: 29:5 7   23                 Thank you so much.

17: 30:0 8   24   BY MR. MCINTYRE:

17: 30:0 8   25   Q     Okay.     On June 22nd of 2020, just a couple of months ago,
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 26 of 94   26
                                  Mr. McIntyre Direct of Daniel Snow
              1   was the defendant asked to or required to file a disclosure with

              2   Texas A&M regarding the College of Engineering?

17: 30:2 4    3   A    Yes.    The College of Engineering did request that.

17: 30:2 8    4   Q    Okay.    And I'm going to go through some of the questions

              5   that were asked and responses in that Texas A&M College of

              6   Engineering disclosure, if you could.

17: 30:4 2    7         Can you -- was there a question and, if so, can you read it

              8   about conducting external consulting or other employment?

17: 30:4 9    9   A    Yes.    The question asked:     (Reading) Did you conduct any

             10   external consulting or other employment activities outside your

             11   position?

17: 30:5 9   12         He answered no.

17: 31:0 3   13   Q    And in regard to -- was he asked regarding whether he had

             14   had any position, role, distinction in another foreign or

             15   domestic entity, for example, adjunct, visiting, guest,

             16   honorable chair, et cetera?

17: 31:2 0   17   A    Yes.    He answered no.

17: 31:2 2   18   Q    He answered no to that question, also?

17: 31:2 4   19   A    Yes.

17: 31:2 9   20   Q    Was he asked a question about whether he conducted research

             21   under any external award or subaward not managed by Texas A&M

             22   University?

17: 31:4 0   23   A    Yes, he was, and he answered no.

17: 31:4 4   24   Q    Was he asked about whether he had listed any affiliation

             25   other than Texas A&M University on publications?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 27 of 94   27
                                  Mr. McIntyre Direct of Daniel Snow
17: 31:5 1    1   A    Yes, and he answered no.

17: 31:5 3    2   Q    And was he asked about whether he had participated in any

              3   foreign talent program?

17: 31:5 8    4   A    Yes, and he answered no.

17: 32:0 6    5   Q    Now, in regards to his knowledge about the China

              6   restrictions, was there an e-mail correspondence in April of

              7   2015 (inaudible) --

17: 32:1 7    8                THE REPORTER:    I'm sorry.    Could you speak up a

              9   little, Mr. McIntyre?

17: 32:1 7   10   BY MR. MCINTYRE:

17: 32:1 7   11   Q    -- and the defendant regarding the visiting scholar?

17: 32:2 6   12                THE COURT:   Mr. McIntyre, we need you to speak up.

             13   The court reporter's having trouble hearing you.

17: 32:3 1   14                MR. MCINTYRE:    Okay.   I'm sorry.

17: 32:3 2   15                Yeah.   Can y'all hear me now?

17: 32:4 0   16                THE COURT:   (Indicating.)

17: 32:4 1   17   BY MR. MCINTYRE:

17: 32:4 2   18   Q    Okay.    So in April of 2015, was there e-mail communications

             19   between a Texas A&M compliance officer and the defendant?

17: 32:5 1   20   A    Yes.

17: 32:5 3   21   Q    And what --

17: 32:5 4   22   A    Dr. Cheng --

17: 32:5 5   23   Q    -- did those e-mail communications concern?

17: 32:5 7   24   A    He e-mailed the compliance officer regarding -- inquiring

             25   about a visiting scholar participating.          Compliance denied the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 28 of 94   28
                                  Mr. McIntyre Direct of Daniel Snow
              1   request.     Dr. Cheng then e-mailed the visiting scholar that he

              2   could not work on the grant because, specifically, of the

              3   funding being restricted with NASA regarding collaboration with

              4   China.

17: 33:2 5    5   Q    Now, in 2014, were there e-mail communications regarding the

              6   defendant and his research team coordinating with Guangdong

              7   University of Technology on NASA research?

17: 33:4 2    8   A    Yes.    In April of 2014, Dr. Cheng forwarded an e-mail to --

              9   from a Guangdong University of Technology researcher to one of

             10   his Texas A&M researchers.       It contained results of some

             11   scientific research.      The Guangdong University researcher was

             12   added to a series of e-mails among Dr. Cheng and the -- his

             13   Texas A&M research students.

17: 34:1 3   14   Q    And so was there a question that was raised on whether the

             15   research done by the Guangdong University of Technology

             16   researcher, whether he should receive attribution for that?

17: 34:2 5   17   A    Yes.    While publish- -- preparing to publish that research,

             18   the Texas A&M researcher asked Dr. Cheng who should be listed as

             19   authors.     Dr. Cheng e-mailed back and stated that the Guangdong

             20   University researcher is hard right now because of the NASA

             21   prohibitions.

17: 34:5 2   22   Q    Now, after that, did -- was there e-mail communications

             23   between a NASA employee and the defendant regarding the NASA

             24   grant and what is called "deliverables"?

17: 35:0 5   25   A    Yeah.   Back in July of 2014, Dr. Cheng e-mailed NASA a
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 29 of 94   29
                                  Mr. McIntyre Direct of Daniel Snow
              1   deliverable, which is a progress report that is required to --

              2   for the grant to be continuously going.          It is entitled, "Year

              3   2013-2014 report on Liquid Crystals of Nanoplates."

17: 35:3 3    4   Q    And did the deliverables that was -- that were e-mailed to

              5   NASA to show their progress and maintain the grant, did it

              6   contain research results from the Guangdong University of

              7   Technology researcher?

17: 35:4 5    8   A    It did.

17: 35:4 6    9   Q    And it's the same research results that you were talking

             10   about previously; is that correct?

17: 35:5 1   11   A    Yes.

17: 35:5 3   12   Q    And, in fact, in 2014, was there an e-mail between one of

             13   the A&M researchers working on the NASA grant and the defendant

             14   regarding how much work they had done?

17: 36:0 9   15   A    Yes.

17: 36:1 2   16   Q    And what did the researcher inform the defendant about how

             17   much work the U.S.-based NASA research team had done on the NASA

             18   grant?

17: 36:2 3   19   A    That implied that they had done -- they had not done much

             20   research at all.

17: 36:3 6   21   Q    Now, in relation to Guangdong University in June of 2015,

             22   was -- did Guangdong University publish an article or report on

             23   soft matter?

17: 36:5 0   24   A    Yes.

17: 36:5 2   25   Q    And can -- can you tell me the title of that publication
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 30 of 94   30
                                  Mr. McIntyre Direct of Daniel Snow
              1   that was put out from Guangdong University?

17: 36:5 9    2   A    Yes.   It was "Observation of isotropic [sic] demixing and

              3   colloidal platelet-sphere mixtures."

17: 37:0 8    4   Q    And in the financial acknowledgments regarding who supported

              5   the research that went into this Guangdong University of

              6   Technology research paper, who did they credit with financial

              7   support?

17: 37:2 2    8   A    The National Science Foundation and the specific NASA grant.

17: 37:2 8    9   Q    And did they acknowledge any employees that contributed to

             10   that publication?

17: 37:3 5   11   A    Yes.   In the acknowledgment, they -- it was -- the authors

             12   were listed as two Guangdong employees, one Guangdong University

             13   researcher, and two Texas A&M researchers, and Dr. Cheng.

17: 37:5 1   14   Q    And when you said financial support from NASA -- from NASA

             15   and the National Science Foundation, you mean the National

             16   Science Foundation of China; is that correct?

17: 38:0 0   17   A    That is correct.

17: 38:0 2   18   Q    Now, as part of his employment -- the defendant's employment

             19   with Guangdong University, was there a PowerPoint that he

             20   prepared and e-mailed to a professor at Guangdong University of

             21   Technology in June of 2015?

17: 38:1 6   22   A    Yes, it was.     It was entitled "1st Year Results & Future

             23   Direction of the Lab [sic]."

17: 38:2 4   24   Q    Now, in this PowerPoint, there were sections regarding

             25   technology in liquid crystals, and then there were subsections;
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 31 of 94   31
                                  Mr. McIntyre Direct of Daniel Snow
              1   is that correct?

17: 38:3 4    2   A    That is correct.

17: 38:3 6    3   Q    And on the subsection CRP, who was credited with the

              4   research in this -- the PowerPoint presentation presented to

              5   Guangdong University of Technology?

17: 38:4 6    6   A    Two TMAU [sic] researchers and one Guangdong researcher.

17: 38:5 2    7   Q    And on the "Liquid Crystals" subset "Nanoplate Surfactants,"

              8   who was credited for the research that went into this going on

              9   at Guangdong University?

17: 39:0 3   10   A    Four Texas A&M researchers.

17: 39:0 7   11   Q    And on the "Liquid Crystals" subset "Hydrogels," who was

             12   credited for the research on that particular area?

17: 39:1 6   13   A    One Texas A&M researcher.

17: 39:1 8   14   Q    And on the "Liquid Crystals" "Carbon Material [sic]," who

             15   was credited regarding that research?

17: 39:2 4   16   A    One Texas A&M researcher.

17: 39:2 6   17   Q    And on the "Energy Material" subset "Nano fluids," who was

             18   credited regarding that research?

17: 39:3 4   19   A    One Texas A&M researcher.

17: 39:3 7   20   Q    Now, as far as this presentation that the defendant e-mailed

             21   to his professor at Guangdong University of Technology, which

             22   detailed his first-year research results, how many Texas A&M

             23   researchers were involved in this PowerPoint presentation

             24   detailing his first-year research results?

17: 40:0 7   25   A    The total was eight.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 32 of 94   32
                                   Mr. McIntyre Direct of Daniel Snow
17: 40:0 9    1   Q    And how many of those eight Texas A&M researchers were

              2   funded pursuant to the NASA grant?

17: 40:1 7    3   A    Dr. Cheng, along with five other researchers.

17: 40:2 5    4   Q    How much money did the defendant -- I know the amount in the

              5   grant, but how much money did the defendant personally receive

              6   from the NASA grant?

17: 40:3 5    7   A    Approximately $86,000.

17: 40:3 8    8   Q    And during the course of the administration's grant, there

              9   were wire transmissions; is that correct?

17: 40:4 6   10   A    Yes.    From February 2014th [sic], through December of

             11   2019 -- yeah --

17: 40:5 4   12   Q    How many invoices --

17: 40:5 4   13   A    -- 2019.

17: 40:5 4   14   Q    How many invoices were sent by wire, and where were they

             15   sent from and to?

17: 40:5 9   16   A    So Texas A&M University sent 83 invoices by wire from

             17   College Station to NASA, which that office was located in

             18   Mississippi.

17: 41:1 5   19   Q    Now, when the defendant --

17: 41:1 6   20   A    Those wires --

17: 41:1 6   21   Q    -- was arrested, was he Mirandized, and did he make

             22   statements in a videotaped interview?

17: 41:2 5   23   A    He did.

17: 41:2 7   24   Q    Okay.     I was going to have you go through the admissions

             25   that the defendant made during his videotaped interview, just
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 33 of 94   33
                                   Mr. McIntyre Direct of Daniel Snow
              1   the highlights, if you could.

17: 41:3 7    2         So did he affirm his employment with Guangdong University

              3   of Technology?

17: 41:4 3    4   A    He did, both as a chair/professor and special hire.

17: 41:4 8    5   Q    And did he affirm his professorship at SUS Tech in China,

              6   also Southern University of Science?

17: 41:5 8    7   A    Yes, he did, as a visiting professor.

17: 42:0 2    8   Q    And did he affirm his position at Foshan City Ge Wei

              9   Technology, Ltd.?

17: 42:0 9   10   A    He did.

17: 42:1 1   11   Q    And what did he say about his participation in a Hundred

             12   Talent contract program at Guangdong University of Technology?

17: 42:2 0   13   A    Yeah.     He affirmed that he started the Hundred Talent

             14   contract at -- in 2011 at Guangdong University.

17: 42:2 9   15   Q    Did he say whether or not he disclosed his Southern

             16   University of Science --

17: 42:3 6   17                MR. GALLAGHER:    Mr. McIntyre --

17: 42:3 8   18                MR. MCINTYRE:    Yes.   Sorry.

17: 42:3 8   19                MR. GALLAGHER:    -- we lost some people again.        I just

             20   want to confirm we've got the judge --

17: 42:4 3   21                MR. MCINTYRE:    Oh, okay.    Thank you.

17: 42:4 3   22                MR. GALLAGHER:    -- and court reporter.

17: 42:4 8   23                THE REPORTER:    The court reporter is here.

17: 42:5 0   24                MR. GALLAGHER:    Great.

17: 42:5 0   25                Judge Edison?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 34 of 94   34
                                  Mr. McIntyre Direct of Daniel Snow
17: 42:5 0    1               Maybe we need to wait a sec.        Sorry.

17: 42:5 5    2               MR. MCINTYRE:     This is like --

17: 42:5 8    3               THE COURT:    I'm here.    I'm here.     I can hear

              4   everything and see everything.        I followed the court reporter's

              5   [sic] request to put myself on mute.         So therefore, when I was

              6   talking, you couldn't hear me.        So I apologize.

17: 43:1 3    7               MR. MCINTYRE:     So we're all good?

17: 43:2 0    8   BY MR. MCINTYRE:

17: 43:2 1    9   Q    So did the defendant state whether he disclosed his

             10   employment with Southern University of Science on his Texas A&M

             11   financial disclosure statement?

17: 43:3 4   12   A    He affirmed he did not put his employment on the statement.

17: 43:3 9   13   Q    And did he affirm that he had not put any of his Chinese

             14   employment or not previously disclose that to Texas A&M?

17: 43:4 6   15   A    Yes.   He said he -- it was not disclosed, and he would

             16   disclose it now.

17: 43:5 2   17   Q    And what did he say about the Chinese Thousand Talent Plan

             18   [sic] application?

17: 43:5 9   19   A    He said that he had applied to two -- two talent -- he

             20   acknowledged that his -- he had applications in for two

             21   universities.

17: 44:1 4   22   Q    And did the defendant say what he would do if he went back

             23   to China as far as employment?

17: 44:2 0   24   A    Yes.   He said if he went back to -- permanently back to

             25   China, that he would seek employment with the University of
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 35 of 94   35
                                  Mr. McIntyre Direct of Daniel Snow
              1   Science and Technology of China, which was his alma mater, and

              2   he has classmates that are Chinese Academy of Science members

              3   there.

17: 44:3 9    4   Q    And what did he say about the Chinese grant in Foshan City

              5   Ge Wei, his company?

17: 44:4 6    6           About whether they had received a Chinese grant?

17: 44:5 7    7   A    Oh, he did say he received Chinese grants.          He did affirm

              8   that.

17: 45:0 5    9   Q    Did he also go over his salary wage spreadsheet regarding

             10   his Hundred Talents Program?

17: 45:1 3   11   A    He did.    He affirmed that it was accurate.

17: 45:1 8   12   Q    And did he talk about CRP spheres and CRP disc and whether

             13   he had mixed research between Texas A&M and Guangdong University

             14   of Technology?

17: 45:3 1   15   A    Yes.    He did affirm that there were mixture of the

             16   universities' research in the publications.

17: 45:4 6   17   Q    And was he asked whether there was a conflict between his

             18   NASA research and his Guangdong University of Technology

             19   research?

17: 45:5 1   20   A    He did say that he did see a possible conflict.

17: 45:5 6   21   Q    And at any point in time, did he blame anyone for the

             22   collaboration between his Texas A&M NASA student work on the

             23   NASA grant and the work done at the Guangdong University of

             24   Technology lab?

17: 46:0 8   25   A    Yes.    He blamed Guangdong University of Technology Professor
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 36 of 94   36
                                  Mr. McIntyre Direct of Daniel Snow
              1   Yun Chen.

17: 46:2 1    2   Q    Did he talk, also, about one of the NASA grant participants

              3   that worked in the lab and whether that person did research for

              4   Guangdong University of Technology?

17: 46:3 4    5   A    Yes, he did.

17: 46:3 6    6   Q    And what did he say?

17: 46:3 8    7   A    That -- he said that the issue was the NASA money only

              8   supported one student, and with more students, NASA could have

              9   got more benefit.

17: 46:5 2   10   Q    And what did the defendant say about his affiliations

             11   currently with Guangdong University of Technology and Foshan

             12   City Ge Wei Technology Company?

17: 47:0 2   13   A    He -- he affirmed he's still affiliated with Guangdong

             14   University of Technology and stated that he's tried to separate,

             15   but it was difficult.

17: 47:1 3   16   Q    And what did he state about why he did not disclose these

             17   things to his Texas A&M department head, his Chinese employment?

17: 47:2 3   18   A    He said that if he would have told his department head,

             19   there would have been more for him to worry about.

17: 47:3 1   20   Q    And during the -- during the interview, did he acknowledge

             21   making mistakes?

17: 47:3 6   22   A    He did.    He acknowledged he made mistakes.

17: 47:4 1   23   Q    And did he comment on using Guangdong University of

             24   Technology lab research on the NASA project and whether that was

             25   good or bad?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 37 of 94   37
                                   Mr. McIntyre Direct of Daniel Snow
17: 47:5 2    1   A    He did.     He confirmed he used Guangdong research, and he

              2   said it was good for NASA.

17: 48:0 3    3   Q    Now, was he asked about wire transfers into his wife's bank

              4   account here in the United States?

17: 48:1 2    5   A    He was.

17: 48:1 4    6   Q    And do you know anything about that as far as how many wires

              7   and how much money was wired in from China?

17: 48:1 9    8   A    Yes.    It was approximately six wires; approximately

              9   $250,000.

17: 48:2 8   10   Q    And did he give a reason for why that money was wired into

             11   his wife's account or an explanation?

17: 48:3 4   12   A    Yeah.     It was to purchase a house for a friend.

17: 48:4 2   13   Q    And at some point, did the defendant talk about

             14   collaborating with China and what he wanted to do going forward?

17: 48:5 7   15   A    Yeah.     He -- he wanted to -- he wants to work at Texas A&M

             16   in Qatar because his child can visit him there, and he was sorry

             17   about any collaboration with the NASA project because he didn't

             18   think NASA was serious about no Chinese collaboration.

17: 49:2 1   19   Q    And prior to making these two statements, just immediately

             20   prior, did he state that he wanted to stop collaborating with

             21   China?

17: 49:2 8   22   A    Yes, he did.

17: 49:3 3   23   Q    Now, towards the end of the interview, was Cheng asked

             24   whether he was afraid that if NASA found out about his Chinese

             25   employment and research, that he would lose the NASA grant?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 38 of 94   38
                                  Mr. McIntyre Direct of Daniel Snow
17: 49:4 8    1   A    Yes.    At that point, he became emotional and stated yes.

17: 49:5 5    2   Q    Let me -- I had an exhibit, which I marked as Exhibit 1,

              3   which is a spreadsheet of his travel.          Do you have that in front

              4   of you?

17: 50:0 5    5   A    I do.

17: 50:0 7    6   Q    Okay.    I'm not going to grind down on this too hard, but can

              7   you kind of just briefly tell the Court what sort of travel he's

              8   had over the past years based on your analysis of this

              9   spreadsheet?

17: 50:2 1   10                THE COURT:    Do I have this spreadsheet?

17: 50:2 3   11                MR. MCINTYRE:    I e-mailed it to the case manager and

             12   to --

17: 50:2 7   13                THE COURT:    Okay.   Hold on.    I'm going to have -- I'm

             14   going to listen to you, but I'm not going to see you because I

             15   got to look -- I'm going to try to look at my e-mail to see if I

             16   have it.     So hold on.

17: 50:3 6   17                MR. GALLAGHER:    I'll just point out I haven't been

             18   provided this.

17: 50:3 9   19                THE COURT:    Okay.   Well, then, we're not talking about

             20   it unless you give it to Mr. Gallagher.

17: 50:4 3   21                MR. MCINTYRE:    Okay.   I e-mailed it to both of y'all.

17: 50:4 7   22                MR. GALLAGHER:    What --

17: 50:4 9   23                MR. MCINTYRE:    I e-mailed it to Mr. Bostic, and I

             24   e-mailed --

17: 50:5 2   25                THE CASE MANAGER:     I forwarded it to you earlier
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 39 of 94   39
                                  Mr. McIntyre Direct of Daniel Snow
              1   today, sir.

17: 50:5 8    2               MR. GALLAGHER:     I'm sorry.      It would be an e-mail from

              3   Mr. Bostic?

17: 51:0 2    4               MS. FERKO:    It would be an e-mail from Mr. McIntyre.

17: 51:0 5    5               MR. MCINTYRE:     I cc'd Ferko on it, too.       I sent an

              6   e-mail.

17: 51:1 0    7               MR. GALLAGHER:     I suspect you spelled my name wrong

              8   because I haven't received any e-mails from you, Mr. McIntyre,

              9   at all today.

17: 51:1 6   10               MR. MCINTYRE:     Really?

17: 51:1 7   11               MS. FERKO:    I'm going to send it to you right now.

17: 51:1 9   12               MR. GALLAGHER:     Okay.

17: 51:2 2   13               THE INTERPRETER:      This is the interpreter speaking.

             14   Is there any chance you can send me a copy, as well, just so I

             15   have it in front of me?

17: 51:2 8   16               MS. FERKO:    If you can provide me your e-mail address,

             17   I can do that.

17: 51:3 2   18               THE INTERPRETER:      Sure thing.    It is T-I-A-N-L-U at,

             19   again, T-I-A-N-L-U, and then the word "Chinese," C-H-I-N-E-S-E,

             20   dot com.    So Tianlu@tianluChinese.com.

17: 51:5 5   21               MS. FERKO:    Okay.    Let me --

17: 51:5 6   22               THE INTERPRETER:      Thank you so much.

17: 51:5 7   23               MS. FERKO:    -- do this really fast.

17: 51:5 9   24               MR. GALLAGHER:     It's probably not that important.         I

             25   mean, he can just say it, what's on Mr. --
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 40 of 94   40
                                  Mr. McIntyre Direct of Daniel Snow
17: 52:0 3    1                MS. FERKO:   Yeah.     If you could summarize it, and then

              2   I'll send copies of what you intended.

17: 52:0 7    3                MR. MCINTYRE:    I mean, it's -- there's no magic sauce

              4   in it, just...

17: 52:1 3    5                Is the judge still on or...?

17: 52:1 8    6                THE COURT:   I'm on.    I'm just looking at my e-mails.

              7   I can't -- if I look at my e-mails, I have to -- I can still

              8   hear you.    I just can't see you.

17: 52:2 7    9                MR. MCINTYRE:    No.   Well, Your Honor, it's not that

             10   important of an exhibit if -- I mean, he can just tell -- tell

             11   you what the travel is.       He doesn't...

17: 52:3 7   12                THE COURT:   Whatever -- I have the exhibit.         Whatever

             13   you want to do.     It's your --

17: 52:4 0   14                MR. MCINTYRE:    Well, I mean, I was planning on using

             15   it, but it's not a major deal.

17: 52:4 5   16   BY MR. MCINTYRE:

17: 52:4 6   17   Q     Can you briefly tell me how much travel he had and what part

             18   of -- what percentage of the time, over the past year, did he

             19   visit China?

17: 52:5 8   20   A     Yes.   From 2012 to 2019, Dr. Cheng took approximately

             21   28 trips to China and spent 905 days -- approximately 31 percent

             22   of those eight years was spent in China.

17: 53:1 6   23   Q     Now, what I sent as Exhibit 2 -- I don't know if anybody got

             24   it.

17: 53:2 6   25          Have you reviewed a document from U.S. Citizen [sic] and
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 41 of 94   41
                                   Mr. McIntyre Direct of Daniel Snow
              1   Immigration Services?

17: 53:3 2    2   A    I have.

17: 53:3 4    3   Q    And it relates to a petitioner, which is the defendant; is

              4   that correct?

17: 53:3 8    5   A    That is correct.

17: 53:4 0    6   Q    And can you tell the Court what happened regarding his

              7   petition regarding immigration?

17: 53:4 8    8   A    Yeah.     The document explains that on December 14th of 2015,

              9   Dr. Cheng filed a petition on behalf of a son to get an I-130

             10   petition.      In March of -- March 27th of 2018, he received

             11   notification --

17: 54:1 1   12                THE INTERPRETER:    I'm sorry.     This is the interpreter.

             13   There's a lot of echo.       Could whoever's not talking just mute

             14   their microphone, please?       Thank you.

17: 54:2 4   15   A    Okay.     And on March 27th, 2018, Dr. Cheng received a letter

             16   from Citizenship and Immigration Services, intent to revoke his

             17   application (video interference) and notice of intent, and the

             18   listed reasons was during the interview he submitted to in

             19   Guangzhou at the U.S. Consulate in China, it was discovered that

             20   he did not have a biological relationship with the child and

             21   that he did not formally adopt the child, and that he had

             22   presented a fraudulent birth certificate listing the child as

             23   biological.

17: 55:0 6   24         Based on those reasons, they -- they -- they revoked the

             25   application.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 42 of 94   42
                                    Mr. McIntyre Direct of Daniel Snow
17: 55:0 9    1   BY MR. MCINTYRE:

17: 55:0 9    2   Q      And so the end result -- because of the fraudulent birth

              3   certificate and the lack of the relationship, the defendant's

              4   son was not allowed to receive any sort of immigration benefit

              5   from Citizen [sic] and Immigration Services; is that correct?

17: 55:3 2    6   A      That is correct.

17: 55:3 3    7   Q      And what was the date of the denial of immigration benefit

              8   for the defendant's son?

17: 55:3 9    9   A      March 27th of 2018.

17: 55:4 2   10                  THE COURT:     Help me understand.   I'm confused.    I

             11   thought you said it's not his son.

17: 55:4 9   12                  MR. MCINTYRE:     I think --

17: 55:4 9   13                  THE WITNESS:     It's not -- it is not his biological

             14   son.     He presented the application -- the I-130 is a petition

             15   for an alien relative.          So he presented the application as if it

             16   was a biological son and presented a fraudulent birth

             17   certificate to back up that claim.

17: 56:0 7   18                  Other evidence --

17: 56:1 0   19                  THE COURT:     Who is the person?

17: 56:1 2   20                  THE WITNESS:     So the -- there was not -- there was no

             21   formal adoption.       The child was given birth to by a friend of

             22   his, which they gave to them to raise.

17: 56:2 8   23                  THE COURT:     Okay.

17: 56:3 1   24   BY MR. MCINTYRE:

17: 56:3 1   25   Q      Okay.    And so the immigration benefits were denied in 2018;
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 43 of 94   43
                                  Mr. McIntyre Direct of Daniel Snow
              1   is that correct?

17: 56:3 6    2   A    That is correct.

17: 56:4 7    3   Q    So based on your understanding of the case, the judge will

              4   make a decision on whether there's a preponderance of the

              5   evidence to show flight risk.

17: 56:5 4    6         Is there any evidence that you have that you would like to

              7   share with the Court that you believe shows the defendant would

              8   be a flight risk if released on bond?

17: 57:0 3    9   A    Yes.    I believe his business association in China, his

             10   current employment with Guangdong University of Technology, his

             11   family interest -- his wife and child were last known to be in

             12   China --

17: 57:1 9   13                MR. GALLAGHER:    Your Honor, I object.      This is

             14   narrative and restating evidence that's already been presented

             15   to the Court.     If there's new evidence, the government can get

             16   to it, but there's no need for -- there's no need for a

             17   witness's opinion regarding weight of the evidence.

17: 57:3 5   18                THE COURT:   I'm going to overrule that objection.

17: 57:4 0   19                MR. MCINTYRE:    Yeah.   It's a factual question.

17: 57:4 1   20   BY MR. MCINTYRE:

17: 57:4 1   21   Q    Do you have any evidence that you're aware of, from your

             22   investigation or your study of the case, that would indicate he

             23   might not comply with bond restrictions?

17: 57:5 1   24   A    Yeah.    His ownership -- yeah.      His ownership and the

             25   business entity Ge Wei, his continued employment with Guangdong
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 44 of 94   44
                                   Mr. Gallagher Cross of Daniel Snow
              1   University of Technology, his family interest, of course, and

              2   he -- it has been shown that he has received Chinese grants.

17: 58:1 0    3         So he has the ability to continue his research and receive

              4   Chinese grants in China, and -- and the reason that he's

              5   submitted fraudulent documents to the U.S. Government to try to

              6   obtain a visa for his son.

17: 58:2 8    7                 MR. MCINTYRE:    I pass the witness, Your Honor.

17: 58:2 9    8                 THE COURT:   Mr. Gallagher?

17: 58:3 1    9                 MR. GALLAGHER:    Thank you.

17: 58:3 1   10                                 CROSS-EXAMINATION
17: 58:3 3   11   BY MR. GALLAGHER:

17: 58:3 6   12   Q    All right.     You spoke briefly with the 28 -- you're talking

             13   about the 28 trips to China; is that right?

17: 58:4 2   14   A    Yes.

17: 58:4 3   15   Q    Were all those using his United States passport?

17: 58:4 7   16   A    As far as we know.

17: 58:4 9   17   Q    Right.

17: 58:4 9   18         Do you have any evidence that he used any other passport to

             19   make any of those trips?

17: 58:5 4   20   A    I do not.

17: 58:5 5   21   Q    Do you have any evidence that he ever took a trip outside

             22   the country without legitimate travel documents?

17: 59:0 3   23   A    No, I do not.

17: 59:0 6   24   Q    And he was arrested at the airport returning to the country,

             25   correct?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 45 of 94   45
                                  Mr. Gallagher Cross of Daniel Snow
17: 59:1 2    1   A    That is correct.

17: 59:1 4    2   Q    Returning from Qatar?

17: 59:1 6    3   A    Yes.

17: 59:1 6    4   Q    And Texas A&M has a branch in Qatar -- in Qatar, correct?

17: 59:2 2    5   A    That is correct.

17: 59:2 2    6   Q    And so that was his duty station most recently for

              7   Texas A&M, correct?

17: 59:2 7    8   A    That is correct.

17: 59:3 4    9   Q    And so up until current events, he has maintained his

             10   full-time employment with Texas A&M since what was, I think,

             11   2005; is that fair?

17: 59:4 4   12   A    2004.

17: 59:4 5   13   Q    Thank you.    Sorry.

17: 59:4 6   14         But that's correct, right?

17: 59:4 7   15   A    That is correct.

17: 59:4 8   16   Q    All right.

17: 59:4 8   17         All right.       I just want to make sure I'm clear about the

             18   size of the grant.

17: 59:5 6   19         You said the total grant was 747,000; is that right?

18: 00:0 3   20   A    That is correct.

18: 00:0 4   21   Q    And so that was spread over seven years, right?

18: 00:0 8   22   A    Yes.

18: 00:1 0   23   Q    Sorry.    Was that, "Yes"?

18: 00:1 2   24   A    Yes.

18: 00:1 3   25   Q    Okay.    Sorry.    I didn't hear.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 46 of 94   46
                                  Mr. Gallagher Cross of Daniel Snow
18: 00:1 5    1         So the annual value for the grant is just slightly over

              2   $100,000, correct?

18: 00:2 0    3   A    Yes, that is correct.      I believe the first year was 75,000.

18: 00:2 4    4   Q    Okay.    So it may not have been an even, but on average over

              5   the seven years, that's correct?

18: 00:2 9    6   A    That is correct.

18: 00:3 0    7   Q    All right.    And the total amount received from this grant by

              8   Dr. Cheng was 86,000, right?

18: 00:4 3    9   A    Yes.

18: 00:4 4   10   Q    All right.

18: 00:4 4   11         (Multiple speakers; indiscernible.)

18: 00:4 6   12   BY MR. GALLAGHER:

18: 00:4 9   13   Q    I'm sorry?

18: 00:4 9   14   A    The total expenditure was 662,000 of the 83 invoices from

             15   Texas A&M.

18: 00:5 6   16   Q    Right.

18: 00:5 6   17         But I -- you testified -- correct me if I'm wrong.            I

             18   thought you testified that Dr. Cheng received $86,000 from this

             19   grant; is that correct?

18: 01:0 6   20   A    That is correct.

18: 01:0 7   21   Q    All right.    And so, again, that's over seven years, right?

18: 01:1 1   22   A    Yes.

18: 01:1 2   23   Q    All right.    So the average annual value is, what, 12- or

             24   $13,000, right?

18: 01:1 8   25   A    Yes.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 47 of 94   47
                                   Mr. Gallagher Cross of Daniel Snow
18: 01:1 9    1   Q    Okay.

18: 01:1 9    2         Oh, I should have started -- you mentioned that you are

              3   familiar -- familiarized yourself with the facts regarding this

              4   case to prepare for today, right?

18: 01:3 3    5   A    Yes.

18: 01:3 5    6   Q    So I'm sure you read the complaint, right?

18: 01:3 7    7   A    I did.

18: 01:3 8    8   Q    And you didn't write that, correct?

18: 01:4 0    9   A    No, I did not.

18: 01:4 2   10   Q    All right.     So what else did you -- what else did you do to

             11   familiarize yourself with the facts?

18: 01:4 7   12   A    Conversations with the investigating agents.

18: 01:5 1   13   Q    Okay.    Had you been involved in the investigation?

18: 01:5 4   14   A    No.     By the time I came to this office, the investigation

             15   was mostly complete.

18: 02:0 0   16   Q    Okay.    Were you present for the interview of Dr. Cheng you

             17   discussed?

18: 02:0 5   18   A    I was not.

18: 02:0 6   19   Q    Okay.    So -- all right.     So everything you've said today is

             20   based on what you heard from other agents and/or read, correct?

18: 02:1 7   21   A    That is correct.

18: 02:1 8   22   Q    All right.     And Dr. Cheng is a naturalized citizen, right?

18: 02:2 8   23   A    Yes.

18: 02:2 9   24   Q    And when did he naturalize?

18: 02:3 2   25   A    He naturalized in 2013.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 48 of 94   48
                                   Mr. Gallagher Cross of Daniel Snow
18: 02:3 7    1   Q    And that's valid, right?       There's no issue -- nothing's been

              2   filed in relation to that, correct?

18: 02:4 5    3   A    No, not that I know of.

18: 02:4 8    4   Q    And he has maintained -- I think you said that he spent

              5   about a third of the time over the past several years outside

              6   the country, right?

18: 02:5 6    7   A    That's correct.      Approximately 31 percent.

18: 02:5 9    8   Q    But since 2005, he spent the majority of his time in the

              9   United States, right?

18: 03:0 3   10   A    Yes.

18: 03:0 4   11   Q    All right.      And his wife has lived here with him until he

             12   went to Qatar, right?

18: 03:1 0   13   A    Yes.     Actually, his wife had to go back after the denial --

             14   the revocation of the application.         The child couldn't come

             15   over.

18: 03:2 2   16   Q    Right.

18: 03:2 2   17           So she's spending time with their son, who they're treating

             18   as a child regardless of the -- they're caring for this child,

             19   to the best of your knowledge, right?

18: 03:3 1   20   A    Yes.     Yes.

18: 03:3 2   21   Q    Okay.    And so she is, to the best of your knowledge, with

             22   him now since Dr. Cheng is here, correct?

18: 03:4 0   23   A    That is correct.

18: 03:4 4   24   Q    And Dr. Cheng owns property in the College Station area,

             25   right?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 49 of 94   49
                                  Mr. Gallagher Cross of Daniel Snow
18: 03:4 8    1   A    Yes.

18: 03:5 0    2   Q    About, what is it, five or six homes?

18: 03:5 3    3   A    I think seven.

18: 03:5 6    4   Q    All right.    And throughout this -- all these years he spent

              5   in the United States, you're not aware of any criminal history,

              6   right?

18: 04:0 5    7   A    No.

18: 04:2 1    8   Q    I want to ask you a few questions about those research

              9   papers you mentioned.

18: 04:3 0   10         Okay.    You said that -- tell me if I'm wrong.         You said

             11   there were 13 papers that identified Guangdong -- or his

             12   affiliation with Guangdong research papers, right?

18: 04:4 4   13   A    That is correct.

18: 04:4 6   14   Q    And these are all papers published in English, right?

18: 04:5 0   15   A    I -- I'm not sure about that one.

18: 04:5 5   16   Q    You haven't seen any of these?

18: 04:5 6   17   A    I have not reviewed those publications.

18: 04:5 9   18   Q    Do you have any reason to believe any of them were published

             19   in a language other than English?

18: 05:0 4   20   A    No.

18: 05:0 5   21   Q    Okay.    And then you talked about eight papers listing his

             22   affiliation with both Guangdong University and A&M, correct?

18: 05:1 4   23   A    That is correct.

18: 05:1 6   24   Q    And same thing:     You don't have any reason to believe any of

             25   those were published in anything other than English, correct?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 50 of 94   50
                                  Mr. Gallagher Cross of Daniel Snow
18: 05:2 1    1   A    No.

18: 05:2 5    2   Q    And, again, there were a number -- I think 14 publications

              3   that acknowledged both Chinese and NASA support, right?

18: 05:3 5    4   A    Fourteen that acknowledged support from the National Science

              5   Foundation of China.

18: 05:4 0    6   Q    And NASA, right?

18: 05:4 1    7   A    And then two of those --

18: 05:4 4    8   Q    Oh --

18: 05:4 5    9   A    -- actually had both NFC and NASA -- the NASA grant.

18: 05:5 1   10   Q    Oh, thank you.     I misunderstood that.      Okay.

18: 05:5 3   11         So, again, same question:       All of those -- do you have any

             12   knowledge that any of those were published in any language other

             13   than English?

18: 06:0 0   14   A    No, I do not.

18: 06:0 2   15   Q    And I think you indicated these are all, to your knowledge,

             16   research papers, so generally available to the scientific

             17   community, right?

18: 06:0 8   18   A    Yes.

18: 06:1 0   19   Q    All right.

18: 06:2 1   20         So what day was Dr. Cheng arrested?

18: 06:2 4   21   A    August 23rd, on Sunday.

18: 06:2 8   22   Q    And we already said that was at the airport, right?

18: 06:3 2   23   A    Yes.

18: 06:3 2   24   Q    Okay.   And he was -- you said he waived his Miranda rights?

18: 06:4 0   25   A    Yes.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 51 of 94   51
                                  Mr. Gallagher Cross of Daniel Snow
18: 06:4 1    1   Q    And for how long did he speak with investigators?

18: 06:4 4    2   A    I'm not exactly sure.      I think it was approximately

              3   two hours.

18: 06:4 9    4   Q    Okay.   And so at any point did he stop answering questions?

18: 06:5 3    5   A    Not that I know of, no.

18: 06:5 5    6   Q    Was he uncooperative?

18: 06:5 7    7   A    No.

18: 07:0 1    8   Q    Has any contraband been found in the possession of Dr. Cheng

              9   coming back into the country?

18: 07:0 8   10   A    No, not at this time.

18: 07:2 0   11   Q    And I guess -- I was a little unclear.          You mentioned, I

             12   think, wires going to his wife's account in the amount of

             13   $250,000, right?

18: 07:3 4   14   A    Yes.

18: 07:3 5   15   Q    And that was -- I think you said a total of six wires,

             16   right?

18: 07:3 9   17   A    Yes.

18: 07:4 0   18   Q    What's the time frame for those?

18: 07:4 3   19   A    I'm not exactly sure of the actual time frame of the wires.

18: 07:4 8   20   Q    So you don't know whether it happened over the eight years

             21   of this -- that we've been talking about or a shorter time

             22   period?

18: 07:5 4   23   A    Well, I know it was a shorter time to purchase a home.

18: 07:5 8   24   Q    Okay.   And so those wire transfers to his wife's account,

             25   where did they come from?
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 52 of 94   52
                                  Mr. Gallagher Cross of Daniel Snow
18: 08:0 4    1   A    From China.

18: 08:0 6    2   Q    Okay.    And I guess you've already mentioned that -- well,

              3   certainly, Dr. Cheng and his wife have, in fact, purchased

              4   several homes in College Station, right?

18: 08:1 9    5   A    Yes.

18: 08:2 7    6   Q    And again, during your interview, I guess you talked about

              7   Dr. Cheng speculating what he would do if he had to return to

              8   China, right?

18: 08:3 8    9   A    Yes.

18: 08:3 9   10   Q    But did he indicate his preference was to continue his work

             11   with Texas A&M?

18: 08:4 4   12   A    I believe he did.

18: 09:0 8   13                MR. GALLAGHER:    I don't have any further questions,

             14   Your Honor.

18: 09:1 1   15                THE COURT:   Mr. McIntyre, anything further?

18: 09:1 2   16                MR. MCINTYRE:    No further questions, Your Honor.

18: 09:1 4   17                MR. GALLAGHER:    Oh, I'm sorry.

18: 09:1 5   18                THE COURT:   Hold --

18: 09:1 5   19                MR. GALLAGHER:    Mr. Cheng raised his hand.

18: 09:1 7   20                THE COURT:   -- on.     Hold on.

18: 09:1 8   21                Mr. Cheng, is there something you'd like to say, sir?

18: 09:2 3   22                THE DEFENDANT:    Can I point out a few mistakes?

18: 09:2 6   23                MR. GALLAGHER:    No.   Hold on -- can I interrupt?

18: 09:2 8   24                THE COURT:   Yeah.

18: 09:2 9   25                MR. GALLAGHER:    Sorry, Your Honor.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 53 of 94   53

18: 09:2 9    1               Dr. Cheng, sorry.      We're not having you testify at

              2   this hearing.     You'll have the opportunity to do that in the

              3   future, if you choose, and you and I will speak privately about

              4   all that at another time.

18: 09:4 6    5               Thank you, Your Honor.

18: 09:4 8    6               THE COURT:    Okay.    Dr. -- or Agent Snow, you may step

              7   down from the witness chair.        Thank you very much.      I appreciate

              8   it.

18: 09:5 6    9               Mr. McIntyre, do you have any other witnesses?

18: 10:0 0   10               MR. MCINTYRE:     No, Your Honor.

18: 10:0 2   11               THE COURT:    Mr. Gallagher, any proffers?

18: 10:0 6   12               MR. GALLAGHER:     The only thing -- most of the

             13   information from the pretrial report, the only point I will add

             14   is that I have received a voicemail from Dr. Cheng's wife

             15   indicating that she is trying to return to the United States

             16   from Qatar to assist him, but as you can imagine, there's some

             17   difficulty with travel at the moment.

18: 10:2 8   18               THE COURT:    And just so the record is clear, I'm going

             19   to mark two exhibits to this hearing.          The first is the pretrial

             20   report dated 8/24/2020, and then the second is the addendum to

             21   the report that was provided by pretrial.          I assume that counsel

             22   has both the original report and the addendum.

18: 10:5 1   23               MR. MCINTYRE:     Yes, Your Honor.

18: 10:5 2   24               THE COURT:    Okay.    So that -- I'll make sure that

             25   those are included as Exhibit 1 and 2 to this hearing.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 54 of 94    54

18: 11:0 2    1               Okay.   We'll have closing arguments -- or closing dog

              2   barks from Mr. McIntyre.

18: 11:1 6    3               Don't worry.     I totally understand, given that we're

              4   doing this by video --

18: 11:2 0    5               MR. MCINTYRE:     Your Honor -- Your Honor, friends came

              6   over, and the dog went crazy.         I apologize.

18: 11:2 6    7               THE COURT:     No worries.    No need to apologize.      It

              8   happens.

18: 11:3 0    9               Are we ready to have a closing argument or anything

             10   additionally, Mr. McIntyre, from the government?

18: 11:3 6   11               MR. MCINTYRE:     I'm ready, Your Honor, whenever the

             12   Court's ready.

18: 11:3 9   13               THE COURT:     I'm ready.

18: 11:4 0   14               MR. MCINTYRE:     Okay.     Your Honor, the defendant in

             15   this case is a flight risk.        The standard of proof is by a

             16   preponderance of the evidence, which we have met.            The defendant

             17   was born in China.       His wife is Chinese, lives in China or

             18   Qatar.

18: 12:0 2   19               His son, although not his biological son, has applied

             20   for immigration benefits here in the United States and been

             21   denied based on the fact that defendant presented a fraudulent

             22   birth certificate and misstated the relationship between him and

             23   the -- and the son.

18: 12:2 6   24               The defendant has worked in China since at least 2011,

             25   all the while working on the NASA grant at Texas A&M, and all
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 55 of 94   55

              1   the while working at Texas A&M as a professor.           So he's had

              2   employment at at least two universities in various positions.

              3   He participated in Guangdong University of Technology as a

              4   Hundred Talents scholar or participant, and -- so he is a member

              5   of two Chinese talent programs, which -- which the witness

              6   explained to you the beneficial -- the benefits of the talent

              7   programs to the country of China.         He also applied for a

              8   Thousand Talents Program.

18: 13:1 6    9               So in this instance, the defendant, although he

             10   arguably currently has a job with Texas A&M, I am sure that will

             11   not last long, if it's still existing.          So he will be in the

             12   United States with no family whatsoever; a son who has been

             13   denied immigration benefits and cannot travel to the

             14   United States.     So no family of any kind, brother, sister, wife,

             15   kid.   Everybody in his whole life is back in China.           He even

             16   stated during his post-arrest interview that -- where he would

             17   work if he was back in China.

18: 13:5 6   18               So in this case, Your Honor, he has so many ties to

             19   China and no ties here to the United States.           He is a Chinese

             20   government grant recipient.        He's been funded -- his research

             21   has been funded by the Chinese -- Chinese government, and the

             22   United States does not have an extradition treaty with China.

             23   So if he were to make it to a consulate or an embassy, he could

             24   be sent off to China, and there is no possibility for

             25   extradition from China.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 56 of 94   56

18: 14:3 8    1                In addition to that, Your Honor, if you look at the

              2   pretrial services report, he claims he makes $80,000 a year, but

              3   he owns seven houses with no corresponding liabilities

              4   supporting the pretrial services report.          So that's a total of

              5   $1.4 million in real estate with no mortgages, arguably, based

              6   on the pretrial services report, for a man who claims to make

              7   $80,000 a year.

18: 15:1 0    8                The math doesn't add up.      That cannot be his only

              9   employment and be able to afford that much real estate.             Even if

             10   he was paying no taxes and spending no money, he just couldn't

             11   get there.

18: 15:2 4   12                This is a defendant that has not only family,

             13   employment history, research history, university history,

             14   educational history in China, he spent 31 percent of the time

             15   over this time period in China.        He simply has every reason not

             16   to stay in the United States.        He doesn't have employment.         He

             17   doesn't have family, and he has all of those things back in

             18   China.

18: 15:5 1   19                So under the standard of preponderance of the

             20   evidence, we think it's very clear, Your Honor, that he is a

             21   flight risk, and there's no way to -- or no reasonable way to

             22   prevent him or mitigate that risk.         And so we would ask,

             23   Your Honor, based on the nature of the charges, which involve --

             24   we talked about in these relationships with talent programs and

             25   other Chinese institutions, and the lack of family here in the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 57 of 94       57

              1   United States and the forthcoming lack of employment, that

              2   there's every reason for him to flee and no reason for him to

              3   stay.

18: 16:2 9    4               So we ask for detention, Your Honor, just pending

              5   trial.    Thank you.

18: 16:3 4    6               THE COURT:    Okay.    Thank you.

18: 16:3 6    7               Mr. Gallagher?

18: 16:3 7    8               MR. GALLAGHER:     Your Honor, I want to -- the

              9   government has not shown by a preponderance that Dr. Cheng is a

             10   risk of flight.     I want to start with the -- the inference that

             11   the government is drawing regarding his financial status.                I

             12   think the government's misreading the pretrial report.

18: 16:5 4   13               The information about the assets in the pretrial

             14   report, Dr. Cheng could not remember.             So the pretrial office

             15   got those -- the data regarding the values of the home from the

             16   publicly available documents.          They don't have, and they

             17   didn't -- no one was able to provide, in the short amount of

             18   time, information -- oh, no.        Hold on a second.       Sorry.

18: 17:1 7   19               THE COURT:    What happened?

18: 17:1 8   20               MR. GALLAGHER:     Sorry, Your Honor.        I'm --

             21   everything -- I think my screen has not moved in so long, it

             22   went to sleep.     I apologize.

18: 17:3 2   23               THE COURT:    The good news, Mr. Gallagher, is we can

             24   hear everything you say.

18: 17:3 4   25               MR. GALLAGHER:     Okay.     Sorry.     I was afraid it went to
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 58 of 94   58

              1   sleep.

18: 17:3 4    2               So pretrial got that information from publicly

              3   available data that doesn't list mortgages or anything else on

              4   those properties, and as Dr. -- as Dr. Cheng indicated, he just

              5   didn't remember the details.        So the idea that those are

              6   indicative -- I mean, he obviously does have some resources, but

              7   the idea that he owned these things all free and clear is not

              8   supported by the pretrial report.

18: 17:5 8    9               It also doesn't [sic] show that he does have

             10   substantial ties to the community.         He's got multiple properties

             11   in Texas A&M.     There's been no evidence of him having

             12   significant or any assets anywhere else outside of the country.

             13   That is a significant factor tying him to the community and to

             14   the United States.

18: 18:1 6   15               He has -- he also has significant ties here because he

             16   has lived here and become a United States citizen since 2004.

             17   He has spent time outside the country, but he has spent the

             18   majority of the time here.       He has a community at Texas A&M.

             19   He -- he's invested in the community, and there's been no

             20   indication of him trying to jettison any of those ties.

18: 18:4 0   21               While he, apparently, indicated that he would try to

             22   seek work in a certain way in China if he needed to, there's no

             23   indication that that is anything but a point of desperation

             24   should he, in fact, find himself outside the country and without

             25   employment at Texas A&M, which is plainly where he wants to
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 59 of 94   59

              1   continue working.      It also hasn't been established that he has,

              2   in fact, lost that job.       I think it's not clear what Texas A&M's

              3   position has been, the evidence as to that.

18: 19:1 3    4               And, finally, there is no evidence of Dr. Cheng having

              5   any ability to travel beneath the radar or without authorization

              6   from the United States.       The United States has his passport.         He

              7   is a United States citizen.

18: 19:2 8    8               There's -- the government's witness was clear that his

              9   only travel has been open and notorious with that passport.              The

             10   government's evidence of his inception in relation to the grant

             11   is not clear.     They may prove it at trial, but he's also been --

             12   the government -- the witnesses [sic] were clear that he

             13   acknowledged his support from different places in multiple

             14   publications in research journals.         So the idea that this has

             15   all been a secret is not -- not clear and something that will

             16   have to be developed later.

18: 19:5 7   17               But, in short, he has 16 years in the community in

             18   College Station.      He has significant assets in College Station.

             19   He is, clearly, a talented person who can find work even if

             20   Texas A&M is unwilling to employ him in the future, and he --

             21   this has been confirmed by another person, a member of the

             22   community who knows about his assets and knows him.

18: 20:2 1   23               He does have significant ties here.         The government

             24   just simply hasn't shown he's a risk to go elsewhere -- oh, I'm

             25   sorry.    I did want to make one final point.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 60 of 94   60

18: 20:2 9    1               The total amount of this grant, Your Honor, over seven

              2   years is less than a million dollars, and the total amount

              3   received by Dr. Cheng is less than $100,000.           Now, that's not

              4   nothing, but it is also, despite -- the statutory maximum is

              5   also not indicative of a guideline sentence that would be

              6   exorbitant.

18: 20:4 8    7               It -- obviously, I'm certain no one wants to spend

              8   time in custody if he doesn't need to, but it's not like the

              9   type of life-ending sentence that can sometimes come in these

             10   very big fraud cases.       That does not seem like the scope that

             11   we're talking about in this case.         So that's another reason why

             12   he doesn't have the incentive to lose all his assets here in the

             13   United States, lose all his bridges with the academic community

             14   he's had for 16 years.

18: 21:1 0   15               We'd encourage the Court to impose conditions

             16   recommended by pretrial services, Your Honor, and I think those

             17   are sufficient and will guarantee his appearance at all future

             18   proceedings.

18: 21:2 2   19               THE COURT:    Okay.    Anything further from the

             20   government?

18: 21:2 7   21               MR. MCINTYRE:     Just a brief rebuttal, Your Honor.         I

             22   mean, the whole case is based on the defendant making false

             23   statements, committing fraud and not being honest.            And giving

             24   someone bond is -- is based on someone that you can trust their

             25   word and that you can assure their appearance, and we don't
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 61 of 94   61

              1   think you can do that based on the record that we've presented

              2   of fraudulent statements, fraudulent birth certificates,

              3   et cetera.

18: 21:5 8    4                And so we strongly believe, Your Honor, with these

              5   ties to these Chinese-controlled universities, talent programs,

              6   businesses -- he -- he owns a business in China.            His wife and

              7   kid are not going to be able to come here.           His kid has been

              8   denied entry into the United States.         There's just simply no

              9   reason for -- for him to stay here, and the argument that he has

             10   significant assets in College Station because he owns seven

             11   homes, well, it's one way or the other.

18: 22:2 9   12                Either he owns the homes and he has substantial equity

             13   in them, and he has no explanation as to how he was able to

             14   purchase seven homes on an $80,000-a-year salary, or those are

             15   mortgaged to the hilt, and he's got no assets in the

             16   United States, which is further motivation for him to go to

             17   China where he will be able to meet with his family, obtain

             18   employment from Chinese universities and work at his

             19   Chinese-owned company.

18: 22:5 5   20                So we strongly believe, Your Honor, that this is a

             21   case for detention based on flight risk.          Thank you.

18: 23:0 2   22                THE COURT:   Okay.    Anything further, Mr. Gallagher?

18: 23:0 5   23                MR. GALLAGHER:    I only wanted to say is -- I don't

             24   think there's been any evidence that his wife cannot come to the

             25   United States.     The evidence was that his son may not be able
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 62 of 94   62

              1   to.   His wife, I think, is intending to come, and so the

              2   government hasn't presented any evidence on that point.

18: 23:1 7    3               And the other thing I should have mentioned before,

              4   which Mr. McIntyre reminded me of, the question asked by

              5   pretrial was what was the salary, and Dr. Cheng answered that as

              6   $80,000 a year.     There's been no evidence that -- I mean, the

              7   government has produced some evidence that he's received income

              8   from other research grants in China.         There's been no evidence

              9   whether he's been receiving other grants within the

             10   United States, as researchers often do.          Those -- it wouldn't

             11   necessarily be relevant in his prosecution because that's based

             12   on ties to China, but the idea that someone earning $80,000 a

             13   year as a college professor -- when people routinely take

             14   outside work in different ways -- has assets is not suspicious,

             15   Your Honor.

18: 23:5 9   16               THE COURT:    I think both parties would agree that, at

             17   least in the record before me, I can't tell what assets or what

             18   is -- what assets minus liabilities he has, right?            I mean...

18: 24:1 3   19               MR. GALLAGHER:     That's correct.

18: 24:1 3   20               THE COURT:    Would you agree with that, Mr. Gallagher?

             21   I mean, I know there's a number of properties.           I see the

             22   numbers in the pretrial report, but at least there's nothing

             23   before me that tells me if they're mortgaged or not.

18: 24:2 2   24               MR. GALLAGHER:     I agree.    You don't have that

             25   information.
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 63 of 94   63

18: 24:2 7    1               THE COURT:    Okay.    Okay.    Let me do this:    Let me take

              2   a minute -- well, let me -- I guess there's two things we were

              3   here for, right?      We got a probable cause hearing and then a

              4   detention hearing.       Let me address the probable cause hearing

              5   first.

18: 24:4 1    6               Based on the evidence presented here today, I find

              7   that the government has met its burden to show that there is

              8   probable cause to believe that the defendant has committed the

              9   offenses to which he is charged.           So as a result, I find that

             10   the probable cause standard has been met by the government.              Of

             11   course, that's not an ultimate finding in the case, as you're

             12   all well aware.     That just means the case proceeds.

18: 25:0 8   13               I now need to turn to the detention issue.          I want to

             14   take a couple-minute break to look at a couple of things, and

             15   I'm just going to put you-all on mute and cancel the video, and

             16   I will be back in a couple of minutes.           So we're off the record.

18: 25:2 4   17               MR. MCINTYRE:     Thank you, Your Honor.

18: 25:2 4   18               MR. GALLAGHER:     Thank you.

18: 25:2 5   19         (Recess taken from 6:25 p.m. to 6:30 p.m.)

18: 30:0 1   20               THE COURT:    Okay.    I'm ready when we have the

             21   government back on.

18: 30:0 3   22               Is the court reporter here?

18: 30:1 2   23               THE REPORTER:     Yes, Your Honor.

18: 30:1 3   24               THE COURT:    Thank you very much.

18: 30:1 7   25               Okay.   We are back on the record.        Thank you very much
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 64 of 94   64

              1   for your patience, your time, the testimony, and your arguments.

              2   Obviously, we're here today on the government's request to

              3   detain the defendant pending the trial of this matter.             So the

              4   record is clear in considering this request, I am guided by

              5   several general principles.

18: 30:3 5    6                First, at all times, the defendant is entitled to a

              7   presumption of innocence.       Nothing that takes place in this

              8   hearing is in any way, shape, or form intended or to be

              9   construed to affect that presumption of innocence.            Rather, the

             10   purpose of this hearing is to determine whether the defendant

             11   should be detained pending trial.

18: 30:5 5   12                Second of all, under the Bail Reform Act, pretrial

             13   detention is an exceptional step, and I take that very

             14   seriously.     Under the Act, a defendant must be released prior to

             15   trial unless I find that no combination of conditions exist

             16   which will reasonably assure the appearance of the defendant or

             17   reasonably assure the safety of any other person in the

             18   community.     And as you-all well know, the Act requires the least

             19   restrictive conditions be imposed that are necessary to provide

             20   the reasonable assurances.

18: 31:2 4   21                In this case, the government is, obviously, not

             22   seeking detention on the -- concerning the safety of persons in

             23   the community, but rather is seeking detention based on the

             24   argument that they believe that there is a risk of flight.               I

             25   have reviewed the evidence.        I have listened to the testimony
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 65 of 94   65

              1   and the arguments of counsel in reaching my decision.

18: 31:4 6    2                Based on that decision, I actually find in this case

              3   that I -- remember, the standard is a preponderance of the

              4   evidence standard.      The government must show by a preponderance

              5   of the evidence that no conditions or combination of conditions

              6   will reasonably assure the defendant's presence as required in

              7   this case.

18: 32:0 6    8                Based on the testimony here today, I find that the

              9   government has met that burden.        I believe they have shown, by a

             10   preponderance of the evidence, that there are no conditions or

             11   combinations of conditions that would reasonably assure the

             12   defendant's presence as required.         I heard the testimony that,

             13   obviously, the defendant is employed in China, has business in

             14   China, has had a relationship with Chinese universities.             I

             15   think importantly, in my mind, is the fact that he has no family

             16   connection here.

18: 32:3 4   17                There is no indication that there is a reason for him

             18   to stay here.     It is true that his wife is currently in Qatar

             19   and could come back to the United States, but the testimony was,

             20   also, that a person that he is raising as his son could not come

             21   back to the United States, and, obviously, that is a

             22   significant -- fully expect that his wife would stay with the

             23   child outside of the United States, which, obviously, would give

             24   incentives to the defendant to flee the country.

18: 33:0 3   25                Given the number of times he's been out of the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 66 of 94   66

              1   country, the number of days in the last number of years, that

              2   also weighs in my decision, as well as the testimony that there

              3   is some evidence that, with respect to his son, that he tried to

              4   create some fraudulent documents that -- to allow the son here,

              5   that is concerning someone that is -- that wants to make sure

              6   that the individual who has been charged with a crime actually

              7   stands trial before his peers in trial in the case.

18: 33:3 4    8               So based on that, that is my conclusion.          I'll,

              9   obviously, enter a formal written opinion, but I'm going to ask

             10   that the defendant -- or order that the defendant be remanded to

             11   custody of the United States Marshal pending the trial of this

             12   case.

18: 33:5 0   13               Are there any -- anything else we need to discuss, at

             14   least with respect to the detention issue, from the government?

18: 33:5 6   15               MR. MCINTYRE:     No, Your Honor.

18: 33:5 8   16               THE COURT:    Mr. Gallagher?

18: 34:0 0   17               MR. GALLAGHER:     No, Your Honor, nothing.

18: 34:0 1   18               THE COURT:    Okay.    The one other thing I wanted to

             19   raise -- and Ms. Ferko actually had raised this yesterday, was

             20   the question about the appointment of the federal public

             21   defender to represent the defendant in this particular case, and

             22   I went back and listened to the hearings from last week, the

             23   transcript -- or the recording of the hearing in terms of what

             24   went on with Judge Sheldon, and Judge Sheldon was very clear

             25   that -- what I heard was that he was going to appoint the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 67 of 94   67

              1   federal public defender for the time being because, apparently,

              2   there were some assets that Mr. Cheng had or had access to, but

              3   he could not get access to those currently, but needed some

              4   assistance, I guess, to get in contact with some people outside

              5   of -- on the outside to discuss that.

18: 34:5 9    6               I -- Mr. Gallagher, I know -- you know, obviously, if

              7   you would help with your client to reach out to whatever

              8   individual that he needs to reach out to, to accommodate that, I

              9   am going to have an order that is going to require the defendant

             10   to reimburse for the federal public defender's costs in

             11   connection with this matter because Judge Sheldon was very

             12   clear, when he heard this on Monday, that it was a very unusual

             13   situation, that he was very reluctant to appoint the federal

             14   public defender, but wanted to do so to ensure that the

             15   defendant in this particular case had excellent representation

             16   at a detention hearing, which I think Mr. Gallagher has,

             17   obviously, provided.      So I'll make sure that's put in the order,

             18   but I just wanted to point that out for the record.

18: 35:4 6   19               And, Mr. Cheng, Mr. Gallagher can, obviously, help you

             20   reach out to those individuals who you mentioned to Judge

             21   Sheldon earlier this week that could assist in obtaining the

             22   necessary funds for the retention of counsel.

18: 36:0 0   23               So that's all I had.      Is there anything else we need

             24   to address at all today from the government?

18: 36:0 7   25               MR. MCINTYRE:     Nothing from the government,
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 68 of 94   68

              1   Your Honor.     Just, I guess, everyone be careful.

18: 36:1 1    2               THE COURT:    Yeah.    Mr. Gallagher?

18: 36:1 4    3               MR. GALLAGHER:     Your Honor, I just want to make sure

              4   I'm clear on the judge's ruling.         We're not being terminated

              5   from the case, but the Court's going to require Dr. Cheng to

              6   reimburse -- well, the clerk's office, I think, at some point;

              7   is that correct?

18: 36:3 0    8               THE COURT:    Yeah.    Yes, and I guess let me be more

              9   clear.    I am going to order that -- the reimbursement to the

             10   federal public defender.       I would also request that, because

             11   Mr. Cheng mentioned at the hearing earlier this week that he has

             12   some sources of income or some availability, but he just

             13   couldn't access them at the present time being in custody.

18: 36:4 9   14               If you could help facilitate the connection of whoever

             15   those sources are, because I'm sure -- and I'll pass on -- I'm

             16   not sure, actually, whose court this case is in, but I'll -- you

             17   know, I would fully expect and will let that judge know to maybe

             18   revisit -- you know, revisit the issue because, obviously, at

             19   least in my view, you know, the federal public defender's office

             20   does a great service representing those people who cannot afford

             21   representation, and if someone can afford representation and,

             22   you know, not only can afford, but then has access to such

             23   funds, there is no reason for the federal public defender to

             24   continue to be involved in the case.

18: 37:2 8   25               But I'll leave that ultimate decision up to whoever
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 69 of 94   69

              1   the district court judge is that's handling the case, but I just

              2   wanted to make sure that, you know, at least the investigation

              3   had been done or whatever sources that your client has, the

              4   contacts are made to facilitate that possibility.            Does that

              5   make sense?

18: 37:4 7    6               MR. GALLAGHER:     Yes, Your Honor.      Can I -- sorry to

              7   belabor.    If you don't mind, I will send, first thing tomorrow,

              8   to William -- to Mr. Bostic, the -- to whom any payments should

              9   be made.    If the Court orders it be made to the federal public

             10   defender, that would create confusion.

18: 38:0 4   11               THE COURT:    Yeah.    And let me say this:      I know I've

             12   issued a couple of orders before.         I don't remember to -- the

             13   specific language.       If you have specific language, then I would

             14   greatly appreciate if you would forward that over to Mr. Bostic.

18: 38:2 0   15               MR. GALLAGHER:     I'll do that.

18: 38:2 0   16               THE COURT:    Yeah.    I would not -- I want to make sure

             17   the funds are not directed to Philip Gallagher at the federal

             18   public defender.

18: 38:2 7   19               MR. GALLAGHER:     Thank you.

18: 38:2 8   20               THE COURT:    Okay.

18: 38:2 9   21               MS. FERKO:    Thank you, Your Honor.

18: 38:3 0   22               THE COURT:    Thank you very much.

18: 38:3 0   23               And Mr. Cheng has his hand raised.         So, Mr. Cheng, is

             24   there something else?      I just want to make sure -- obviously,

             25   before you say anything, remember, you know, I want -- you and
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 70 of 94   70

              1   Mr. Gallagher, we talked about communications with the

              2   attorney-client privilege.        I don't want you to divulge any

              3   communications, that should be properly with your counsel, to me

              4   or to the government's lawyers.

18: 38:5 4    5               And also, before I even -- before I let you talk,

              6   which I definitely will, I know Mr. Gallagher will try to reach

              7   out to you to discuss the case and the next steps.

              8   Unfortunately, because of the coronavirus pandemic, it isn't as

              9   easy as simply, you know, having him, as he often does, go over

             10   to -- to the federal detention center.          But I'm confident that

             11   Mr. Gallagher will get in contact with you as quickly as

             12   possible.

18: 39:1 9   13               That being said, was there something else you would

             14   like to add without, obviously, violating any confidence in the

             15   case?

18: 39:3 7   16               THE DEFENDANT:     I was just wondering:      So they took

             17   away some of my credit cards and my clothes.           Is it possible

             18   that they will return it to me?

18: 39:4 5   19               THE COURT:    Okay.    I'm going to let Mr. Gallagher

             20   reach out and discuss those issues with you for a number of

             21   reasons.     One, that's -- Mr. Gallagher probably knows the

             22   answer.     He should talk about it, and the honest to goodness

             23   truth is I have no earthly idea.         So I'll let Mr. Gallagher

             24   follow up with you.

18: 40:0 2   25               I hope everyone is safe, sound.        It looks like the
                  Case 4:20-cr-00455 Document 26 Filed on 11/23/20 in TXSD Page 71 of 94   71

              1   storm is going to be further east, which is fortunate for us,

              2   but, obviously, terrible for those people, as I understand it,

              3   in the Beaumont, Lake Charles area.         But thank you very much to

              4   the interpreter, as well, and the court reporter.            I know it's

              5   been a long day, and I'm going to go jump over to a Zoom hearing

              6   and see who we have -- see what initial appearances --

18: 40:2 3    7                So I apologize -- apologize again for the delay,

              8   appreciate your patience, appreciate your professionalism, and

              9   have a great day.      We're off the record.      Thank you very much.

18: 40:3 4   10                MS. FERKO:   Thank you, Your Honor.

18: 40:3 5   11                MR. MCINTYRE:    Thank you, Your Honor.

18: 40:3 6   12                MR. GALLAGHER:    Thank you, Your Honor.

18: 40:4 7   13           (Proceedings concluded at 6:40 p.m.)

             14                                      -o0o-

             15                I certify that the foregoing is a correct transcript

             16   from the record of proceedings in the above matter to the best

             17   of my ability and skill, and that any indiscernible designations

             18   are because of audio interference that precluded me from

             19   understanding the words spoken.

             20

             21   Date:    November 23, 2020

             22                                       /s/ Heather Alcaraz
                                                      Signature of Court Reporter
             23

             24

             25
                           $1.4 million
     Case 4:20-cr-00455 Document        [1]on56/5
                                 26 Filed                        Page7/14
                                                           2013 [17]
                                              11/23/20 in TXSD        72 of13/4
                                                                            94 13/14
MR. GALLAGHER: [42]           $100,000 [2] 46/2 60/3       13/15 13/23 14/10 16/10
3/12 4/3 4/5 4/14 5/3 5/8     $13,000 [1] 46/24            17/1 17/20 17/23 18/3 18/12
14/15 14/21 18/24 21/20       $250,000 [2] 37/9 51/13      18/20 19/10 19/15 19/25
25/15 33/16 33/18 33/21       $60,000 [1] 23/23            47/25
33/23 38/16 38/21 39/1 39/6   $7,200 [1] 12/17             2013-2014 [1] 29/3
39/11 39/23 43/12 44/8        $747,000 [1] 13/19           2014 [9] 8/6 10/10 11/17
52/12 52/16 52/18 52/22       $80,000 [5] 56/2 56/7 61/14  23/20 28/5 28/8 28/25 29/3
52/24 53/11 57/7 57/19         62/6 62/12                  29/12
57/24 61/22 62/18 62/23       $80,000-a-year [1] 61/14     2014th [1] 32/10
63/17 66/16 68/2 69/5 69/14   $86,000 [2] 32/7 46/18       2015 [6] 20/3 27/7 27/18
                                                           29/21 30/21 41/8
69/18 71/11                   -                            2016 [5] 22/16 22/17 22/20
MR. MCINTYRE: [41]            -o0o [1] 71/14
3/8 4/15 5/5 5/9 5/14 5/24                                 24/23 25/2
8/22 10/17 10/21 14/18        /                            2017 [4] 12/9 12/23 22/16
14/25 15/14 19/7 21/11                                     23/1
                              /s [1] 71/22
27/13 33/17 33/20 34/1 34/6                                2018 [9] 7/16 12/9 12/23
38/10 38/20 38/22 39/4 39/9   1                            13/16 20/10 41/10 41/15
40/2 40/8 40/13 42/11 43/18   1000 [1] 1/13                42/9 42/25
44/6 52/15 53/9 53/22 54/4    12 [1] 46/23                 2019 [3] 32/11 32/13 40/20
54/10 54/13 60/20 63/16       1260 [3] 14/1 16/24 17/24 2020 [10] 1/9 2/3 7/15 13/14
66/14 67/24 71/10             13 [2] 20/17 49/11           13/17 24/5 25/13 25/25
MS. FERKO: [10] 21/12         130 [2] 41/9 42/14           53/20 71/21
21/18 39/3 39/10 39/15        1350 [1] 1/16                22nd [2] 25/12 25/25
39/20 39/22 39/25 69/20       13th [2] 7/13 7/14           23 [1] 71/21
71/9                          14 [4] 14/1 16/24 17/24 50/2 2300 [1] 1/13
THE CASE MANAGER:             14th [1] 41/8                23rd [1] 50/21
[1] 38/24                     1511 [2] 1/5 3/6             250-5584 [1] 1/22
THE COURT: [76]               15th [1] 22/20               26 [2] 1/9 2/3
THE DEFENDANT: [4]            16 [2] 59/17 60/14           27th [3] 41/10 41/15 42/9
3/24 4/10 52/21 70/15         17 [1] 6/16                  28 [3] 40/21 44/12 44/13
THE INTERPRETER: [6]          19 [1] 4/21                  29th [2] 16/25 17/4
 21/24 25/18 39/12 39/17      1995 [1] 8/13                3
39/21 41/11                   19th [3] 12/4 17/20 17/23
                              1st [2] 13/15 30/22          30th [6] 18/3 18/12 18/20
THE REPORTER: [16]                                         19/9 19/15 19/25
8/17 8/19 10/14 10/18 10/24   2                            31 percent [3] 40/21 48/7
15/13 15/15 15/17 15/20                                    56/14
                              20 [1] 7/13
18/17 19/12 19/21 21/5 27/7                                31st [3] 7/15 13/16 13/17
                              2004 [3] 7/3 45/12 58/16
33/22 63/22
                              2005 [2] 45/11 48/8          4
THE WITNESS: [3] 15/19
                              2011 [5] 8/3 8/8 23/19 33/14
42/12 42/19                                                440 [1] 1/16
                               54/24
                                                                     1/17
$                             2012 [5] 8/3 8/5 20/10 24/5 4600 [1]
                               40/20                       4:20-MJ-1511 [2] 1/5 3/6
$1.4 [1] 56/5                                              4:55 [1] 1/6
5                           22/7 34/20
     Case 4:20-cr-00455 Document       36/22
                                 26 Filed    50/3 50/4in TXSD
                                          on 11/23/20           [9] 10/20
                                                          again Page 73 of 19/12
                                                                           94    33/19
50,000 [1] 12/16              59/13                       39/19 46/21 50/2 50/11 52/6
515 [1] 1/21                 acknowledgment [2] 19/4 71/7
5584 [1] 1/22                 30/11                       agent [6] 6/1 6/2 6/14 6/15
567-9572 [1] 1/14            acknowledgments [1] 30/4 6/17 53/6
                             Act [3] 64/12 64/14 64/18 agents [3] 23/6 47/12 47/20
6                            ACTION [1] 1/4               ago [2] 25/13 25/25
662,000 [1] 46/14            activities [4] 18/7 20/2     agree [3] 62/16 62/20 62/24
6:25 [1] 63/19                24/10 26/10                 agreeable [1] 4/25
6:30 [1] 63/19               actual [2] 23/14 51/19       agreement [1] 4/18
6:40 [1] 71/13               actually [6] 48/13 50/9 65/2 airport [2] 44/24 50/22
                              66/6 66/19 68/16            Alcaraz [2] 1/20 71/22
7                            ad [1] 20/4                  alien [1] 42/15
713 [3] 1/14 1/17 1/22       add [3] 53/13 56/8 70/14     allow [1] 66/4
718-4600 [1] 1/17            added [1] 28/12              allowed [4] 9/15 16/3 17/16
747,000 [1] 45/19            addendum [2] 53/20 53/22 42/4
75,000 [1] 46/3              addition [4] 9/4 10/11 11/11 alma [1] 35/1
77002 [3] 1/13 1/17 1/22      56/1                        along [3] 11/14 25/3 32/3
8                            additionally [1] 54/10       already [3] 43/14 50/22
                             address [3] 39/16 63/4       52/2
8/24/2020 [1] 53/20           67/24                       although [2] 54/19 55/9
8004 [1] 1/21                adjunct [1] 26/15            AMERICA [1] 1/4
83 [2] 32/16 46/14           administration [1] 20/5      among [1] 28/12
86,000 [1] 46/8              administration's [1] 32/8 amount [7] 13/18 32/4 46/7
9                            administrator [5] 16/12      51/12 57/17 60/1 60/2
905 [1] 40/21                 16/14 16/17 17/2 17/4       analysis [1] 38/8
9572 [1] 1/14                admissions [1] 32/24         and/or [1] 47/20
                             ADMTD [1] 2/13               ANDREW [1] 1/8
A                            adopt [1] 41/21              annual [5] 18/3 19/16 20/1
ability [3] 44/3 59/5 71/17 adoption [1] 42/21            46/1 46/23
able [9] 3/17 9/18 23/7 56/9 affect [1] 64/9              another [4] 26/14 53/4
 57/17 61/7 61/13 61/17      affiliated [5] 11/22 20/7    59/21 60/11
 61/25                        20/19 20/22 36/13           answer [3] 15/19 19/7 70/22
above [1] 71/16              affiliation [4] 16/8 26/24   answered [7] 26/12 26/17
academic [1] 60/13            49/12 49/22                 26/18 26/23 27/1 27/4 62/5
Academy [1] 35/2             affiliations [2] 25/11 36/10 answering [1] 51/4
access [5] 9/13 67/2 67/3    affirm [6] 33/2 33/5 33/8    answers [1] 19/1
 68/13 68/22                  34/13 35/7 35/15            anybody [5] 14/2 21/10
accommodate [1] 67/8         affirmed [5] 20/3 33/13      21/19 25/21 40/23
account [4] 37/4 37/11        34/12 35/11 36/13           anyone [5] 5/16 5/17 14/21
 51/12 51/24                 afford [4] 56/9 68/20 68/21 20/7 35/21
accurate [1] 35/11            68/22                       anything [12] 14/2 37/6
acknowledge [2] 30/9 36/20 afraid [2] 37/24 57/25         49/25 52/15 54/9 58/3 58/23
acknowledged [7] 20/25       after [3] 18/2 28/22 48/13 60/19 61/22 66/13 67/23
A                           50/2026 Filed on 11/23/20 in TXSD
     Case 4:20-cr-00455 Document                          authorization [1]9459/5
                                                               Page 74 of
anything... [1] 69/25          article [1] 29/22              authors [2] 28/19 30/11
anywhere [1] 58/12             ask [8] 4/24 10/20 19/21       availability [1] 68/12
apologize [7] 21/22 34/6        21/23 49/8 56/22 57/4 66/9    available [3] 50/16 57/16
 54/6 54/7 57/22 71/7 71/7     asked [17] 18/6 19/3 24/12     58/3
apparently [2] 58/21 67/1       24/17 24/19 26/1 26/5 26/9    average [2] 46/4 46/23
appearance [3] 60/17 60/25      26/13 26/20 26/24 27/2        award [2] 17/21 26/21
 64/16                          28/18 35/17 37/3 37/23 62/4   awarded [3] 7/11 7/13
appearances [2] 1/10 71/6      asking [1] 11/1                17/23
appeared [1] 1/10              assets [11] 57/13 58/12        aware [3] 43/21 49/5 63/12
appearing [1] 14/17             59/18 59/22 60/12 61/10       away [1] 70/17
                                61/15 62/14 62/17 62/18
application [14] 11/24
                                67/2
                                                              B
 11/25 13/2 13/4 13/22 16/6                                   back [20] 11/4 18/16 18/22
 25/2 25/3 34/18 41/17 41/25   assist [2] 53/16 67/21
                               assistance [1] 67/4            28/19 28/25 34/22 34/24
 42/14 42/15 48/14                                            34/24 42/17 48/13 51/9
applications [2] 12/1 34/20    Assistant [1] 1/12
                               associate [1] 24/25            55/15 55/17 56/17 63/16
applied [5] 10/9 13/9 34/19                                   63/21 63/25 65/19 65/21
 54/19 55/7                    associated [3] 9/25 13/18
                                20/14                         66/22
apply [5] 10/4 10/5 11/5                                      background [1] 25/21
 11/5 24/23                    associates [1] 25/11
                               association [1] 43/9           bad [1] 36/25
applying [1] 25/1                                             Bail [1] 64/12
appoint [2] 66/25 67/13        associations [1] 25/7
                               assume [1] 53/21               bank [1] 37/3
appointment [1] 66/20                                         barks [1] 54/2
appreciate [4] 53/7 69/14      assurance [2] 16/19 17/2
                               assurances [1] 64/20           based [18] 29/17 38/8 41/24
 71/8 71/8                                                    43/3 47/20 54/21 56/5 56/23
approved [3] 14/13 15/3        assure [5] 60/25 64/16
                                64/17 65/6 65/11              60/22 60/24 61/1 61/21
 15/6                                                         62/11 63/6 64/23 65/2 65/8
approximate [1] 15/6           attempt [1] 22/13
                               attorney [1] 70/2              66/8
approximately [15] 8/13                                       Beaumont [1] 71/3
 10/8 12/16 13/19 15/8 20/17   Attorney's [1] 21/14
                               attorney-client [1] 70/2       became [1] 38/1
 23/23 25/13 32/7 37/8 37/8                                   become [1] 58/16
 40/20 40/21 48/7 51/2         Attorneys [1] 1/12
                               attribution [1] 28/16          becoming [1] 6/17
April [5] 13/22 14/10 27/6                                    been [33] 6/15 13/8 36/19
 27/18 28/8                    audio [1] 71/18
                               AUGUST [13] 1/9 2/3 7/15       38/17 43/14 44/2 46/4 47/13
area [3] 31/12 48/24 71/3                                     48/1 51/8 51/21 54/20 55/12
areas [1] 9/17                  8/5 12/9 12/23 13/16 13/17
                                16/10 16/25 17/4 23/19        55/20 55/21 58/11 58/19
arguably [2] 55/10 56/5                                       59/1 59/3 59/9 59/11 59/15
argument [3] 54/9 61/9          50/21
                               August 23rd [1] 50/21          59/21 61/7 61/24 62/6 62/8
 64/24                                                        62/9 63/10 65/25 66/6 69/3
arguments [3] 54/1 64/1        August 29th [2] 16/25 17/4
                               August 31st [3] 7/15 13/16     71/5
 65/1                                                         before [17] 1/8 4/12 4/17
around [1] 25/21                13/17
                               authored [6] 20/11 20/13       6/25 8/16 15/7 15/8 16/20
arrest [1] 55/16                                              25/8 62/3 62/17 62/23 66/7
arrested [3] 32/21 44/24        20/19 20/24 21/4 22/9
                                                              69/12 69/25 70/5 70/5
B                          brother
     Case 4:20-cr-00455 Document 26 [1]  55/14
                                      Filed                 53/7 Page 75 of 94
                                            on 11/23/20 in TXSD
behalf [1] 41/9                burden [2] 63/7 65/9           chair/professor [1] 33/4
being [8] 12/14 13/21 28/3     Bureau [1] 6/12                chance [1] 39/14
60/23 67/1 68/4 68/13 70/13    business [6] 11/20 24/16       channel [1] 22/22
belabor [1] 69/7               43/9 43/25 61/6 65/13          charge [1] 6/22
believe [14] 7/9 10/10 11/1    businesses [1] 61/6            charged [2] 63/9 66/6
                                                              charges [1] 56/23
43/7 43/9 46/3 49/18 49/24     C                              Charles [1] 71/3
52/12 61/4 61/20 63/8 64/24    C-H-I-N-E-S-E [1] 39/19
65/9                                                          chemical [1] 7/5
                               call [1] 6/1                   Chen [1] 36/1
beneath [1] 59/5               called [2] 17/17 28/24
beneficial [1] 55/6                                           CHENG [56] 1/6 3/6 3/13
                               came [2] 47/14 54/5             3/14 7/1 7/7 8/3 11/14 17/5
benefit [3] 36/9 42/4 42/7     can't [6] 3/25 9/1 14/20
benefits [4] 42/25 54/20                                       17/12 18/14 19/15 19/25
                                40/7 40/8 62/17                20/3 21/23 22/1 22/19 24/9
55/6 55/13                     cancel [1] 63/15
besides [1] 12/7                                               27/22 28/1 28/8 28/12 28/18
                               cannot [4] 55/13 56/8 61/24     28/19 28/25 30/13 32/3
best [4] 12/2 48/19 48/21       68/20
71/16                                                          37/23 40/20 41/9 41/15 46/8
                               Carbon [1] 31/14                46/18 47/16 47/22 48/22
between [13] 12/9 16/11        cards [1] 70/17
16/16 17/1 23/7 23/25 27/19                                    48/24 50/20 51/8 52/3 52/7
                               careful [1] 68/1                52/19 52/21 53/1 57/9 57/14
28/23 29/12 35/13 35/17        caring [1] 48/18
35/22 54/22                                                    58/4 59/4 60/3 62/5 67/2
                               CAROLYN [3] 1/12 3/9            67/19 68/5 68/11 69/23
big [1] 60/10                   21/13
biological [5] 41/20 41/23                                     69/23
                               case [25] 3/5 38/11 43/3       Cheng's [2] 19/2 53/14
42/13 42/16 54/19               43/22 47/4 54/15 55/18
Biophysics [1] 13/12                                          child [10] 37/16 41/20
                                60/11 60/22 61/21 63/11        41/21 41/22 42/21 43/11
biotechnology [1] 11/25         63/12 64/21 65/2 65/7 66/7
birth [6] 41/22 42/2 42/16                                     48/14 48/18 48/18 65/23
                                66/12 66/21 67/15 68/5        China [68] 7/9 7/9 7/21
42/21 54/22 61/2                68/16 68/24 69/1 70/7 70/15
bit [1] 7/1                                                    8/12 9/19 10/3 10/7 11/6
                               cases [1] 60/10                 11/8 11/19 12/10 13/25 14/2
blame [1] 35/21                cause [6] 4/13 5/8 63/3 63/4
blamed [1] 35/25                                               14/4 14/9 15/12 16/1 16/19
                                63/8 63/10                     16/22 17/3 17/25 20/7 21/1
bond [3] 43/8 43/23 60/24      cc'd [1] 39/5
born [3] 7/8 7/9 54/17                                         22/8 22/11 22/13 24/16 27/5
                               center [1] 70/10                28/4 30/16 33/5 34/23 34/25
Bostic [4] 38/23 39/3 69/8     certain [2] 58/22 60/7
69/14                                                          35/1 37/7 37/14 37/21 40/19
                               certainly [1] 52/3              40/21 40/22 41/19 43/9
both [12] 4/24 20/20 20/23     certificate [4] 41/22 42/3
22/8 23/2 33/4 38/21 49/22                                     43/12 44/4 44/13 50/5 52/1
                                42/17 54/22                    52/8 54/17 54/17 54/24 55/7
50/3 50/9 53/22 62/16          certificates [1] 61/2
boxes [1] 5/21                                                 55/15 55/17 55/19 55/22
                               certified [2] 18/14 19/25       55/24 55/25 56/14 56/15
branch [1] 45/4                certify [2] 19/16 71/15
break [1] 63/14                                                56/18 58/22 61/6 61/17 62/8
                               cetera [2] 26/16 61/3           62/12 65/13 65/14
bridges [1] 60/13              CFR [3] 14/1 16/24 17/24
brief [1] 60/21                                               China's [1] 8/15
                               chain [1] 17/8                 Chinese [47] 9/7 9/11 9/12
briefly [3] 38/7 40/17 44/12   chair [4] 8/6 26/16 33/4
C                          combinations
     Case 4:20-cr-00455 Document 26 Filed [1] 65/11 in TXSD
                                          on 11/23/20   confirm [2]7621/22
                                                              Page    of 94 33/20
Chinese... [44] 9/15 9/23    come [8] 48/14 51/25 60/9     confirmed [2] 37/1 59/21
 10/4 10/11 11/12 11/13 12/7 61/7 61/24 62/1 65/19 65/20   conflict [2] 35/17 35/20
 14/3 14/6 14/6 14/8 16/8    coming [3] 19/20 21/11        conflicts [1] 18/10
 17/11 17/15 19/17 20/2 20/8 51/9                          confused [1] 42/10
 22/14 25/7 25/9 25/11 34/13 comment [1] 36/23             confusing [1] 4/8
 34/17 35/2 35/4 35/6 35/7 committed [1] 63/8              confusion [1] 69/10
 36/17 37/18 37/24 39/19     committing [1] 60/23          connection [5] 18/19 18/23
 44/2 44/4 50/3 54/17 55/5 communicating [1] 3/23           65/16 67/11 68/14
 55/19 55/21 55/21 56/25     communication [2] 5/19        consent [2] 4/18 5/4
 61/5 61/18 61/19 65/14       16/13                        considered [1] 14/8
Chinese-controlled [1] 61/5 communications [8] 16/11       considering [1] 64/4
Chinese-owned [1] 61/19       16/16 27/18 27/23 28/5       construed [1] 64/9
chip [1] 22/21                28/22 70/1 70/3              consulate [2] 41/19 55/23
chips [1] 11/24              community [10] 50/17          consulting [2] 26/8 26/10
choose [1] 53/3               58/10 58/13 58/18 58/19      contact [2] 67/4 70/11
citizen [5] 40/25 42/5 47/22 59/17 59/22 60/13 64/18       contacted [1] 24/14
 58/16 59/7                   64/23                        contacts [1] 69/4
Citizenship [1] 41/16        companies [2] 11/13 16/8      contain [1] 29/6
City [6] 11/14 11/18 11/20 company [11] 11/15 11/16        contained [1] 28/10
 33/8 35/4 36/12              11/18 11/21 12/3 14/3 20/8   contents [2] 19/4 19/5
claim [1] 42/17               23/3 35/5 36/12 61/19        continue [4] 44/3 52/10
claims [2] 56/2 56/6         compensated [1] 12/14          59/1 68/24
classmates [1] 35/2          complaint [2] 6/22 47/6       continued [1] 43/25
clear [16] 5/14 17/16 45/17 complete [1] 47/15             continuously [1] 29/2
 53/18 56/20 58/7 59/2 59/8 completed [1] 16/20            contraband [1] 51/8
 59/11 59/12 59/15 64/4      Complex [1] 13/11             contract [9] 12/19 23/7
 66/24 67/12 68/4 68/9       compliance [6] 16/19 17/2      23/11 23/15 23/16 23/19
clearly [2] 16/2 59/19        20/4 27/19 27/24 27/25        23/25 33/12 33/14
clerk's [1] 68/6             comply [1] 43/23              contracts [1] 17/6
client [3] 67/7 69/3 70/2    computer [1] 1/25             contributed [1] 30/9
closing [3] 54/1 54/1 54/9 concern [1] 27/23               controlled [1] 61/5
clothes [1] 70/17            concerning [2] 64/22 66/5     Conversations [1] 47/12
collaborating [3] 14/5       concluded [1] 71/13           coordinating [2] 14/6 28/6
 37/14 37/20                 conclusion [1] 66/8           coordination [3] 14/3 15/11
collaboration [9] 14/3       conditions [7] 60/15 64/15     15/25
 15/11 15/11 15/25 16/3 28/3 64/19 65/5 65/5 65/10 65/11   copied [1] 17/5
 35/22 37/17 37/18           conduct [2] 4/22 26/9         copies [1] 40/2
college [11] 25/14 26/2 26/3 conducted [1] 26/20           copy [1] 39/14
 26/5 32/17 48/24 52/4 59/18 conducting [1] 26/8           Corley [1] 5/20
 59/18 61/10 62/13           conference [3] 1/10 3/3       corner [1] 21/14
colloidal [1] 30/3            18/16                        coronavirus [1] 70/8
com [1] 39/20                confidence [1] 70/14          corporation [1] 11/2
combination [2] 64/15 65/5 confident [1] 70/10             correct [62] 4/14 9/21 9/22
C                           68/5 26 Filed on 11/23/20 in TXSD
     Case 4:20-cr-00455 Document                          defendant's
                                                               Page 77      13/5 25/14
                                                                      [7]of 94
correct... [59] 13/14 14/7     courthouse [1] 4/20         30/18 42/3 42/8 65/6 65/12
 14/11 14/12 15/4 15/5 16/23   courtroom [1] 5/2           defender [8] 1/16 66/21
 17/18 17/25 18/1 18/10 23/4   COVID [1] 4/21              67/1 67/14 68/10 68/23
 23/5 24/12 24/13 24/20 25/5   COVID-19 [1] 4/21           69/10 69/18
 29/10 30/16 30/17 31/1 31/2   crazy [1] 54/6              defender's [2] 67/10 68/19
 32/9 41/4 41/5 42/5 42/6      create [3] 9/15 66/4 69/10  definitely [1] 70/6
 43/1 43/2 44/25 45/1 45/4     credit [2] 30/6 70/17       delay [1] 71/7
 45/5 45/7 45/8 45/14 45/15    credited [11] 20/12 20/14   deliverable [1] 29/1
 45/20 46/2 46/3 46/5 46/6      20/19 20/24 21/4 22/9 31/3 deliverables [2] 28/24 29/4
 46/17 46/19 46/20 47/8         31/8 31/12 31/15 31/18     demixing [1] 30/2
 47/20 47/21 48/2 48/7 48/22   crime [1] 66/6              denial [2] 42/7 48/13
 48/23 49/13 49/22 49/23       criminal [2] 1/4 49/5       denied [5] 27/25 42/25
 49/25 62/19 68/7 71/15        CROSS [1] 44/10             54/21 55/13 61/8
correctly [1] 24/15            CROSS-EXAMINATION           Dense [1] 20/15
correspondence [1] 27/6         [1] 44/10                  department [5] 6/20 7/4 7/6
corresponding [1] 56/3         CRP [3] 31/3 35/12 35/12    36/17 36/18
costs [1] 67/10                crystals [6] 13/12 29/3     described [1] 9/4
could [23] 3/7 5/11 5/13 6/9    30/25 31/7 31/11 31/14     description [1] 9/10
 10/20 15/14 17/15 25/20       current [2] 43/10 45/9      design [1] 11/24
 25/21 26/6 27/8 28/2 33/1     currently [4] 36/11 55/10   designations [1] 71/17
 36/8 40/1 41/13 55/23 57/14    65/18 67/3                 desperation [1] 58/23
 65/19 65/20 67/3 67/21        curriculum [2] 25/3 25/5    despite [1] 60/4
 68/14                         custody [3] 60/8 66/11      detailed [1] 31/22
couldn't [4] 34/6 48/14         68/13                      detailing [1] 31/24
 56/10 68/13                   cut [1] 10/15               details [1] 58/5
                                                           detain [1] 64/3
counsel [7] 3/7 4/14 18/23     D                           detained [1] 64/11
 53/21 65/1 67/22 70/3         Daniel [3] 6/1 6/6 6/10
country [10] 44/22 44/24                                   detention [15] 1/8 2/2 4/13
                               data [2] 57/15 58/3         5/8 5/19 57/4 61/21 63/4
 48/6 51/9 55/7 58/12 58/17    date [2] 42/7 71/21
 58/24 65/24 66/1                                          63/13 64/13 64/22 64/23
                               dated [1] 53/20             66/14 67/16 70/10
couple [5] 25/25 63/14         day [3] 50/20 71/5 71/9
 63/14 63/16 69/12                                         determine [1] 64/10
                               days [4] 15/8 18/2 40/21    developed [1] 59/16
couple-minute [1] 63/14        66/1
course [5] 5/16 23/6 32/8                                  devices [1] 22/21
                               deal [1] 40/15              didn't [6] 10/21 37/17 45/25
 44/1 63/11                    December [4] 12/9 12/23
court [30] 1/1 1/18 1/20                                   47/8 57/17 58/5
                               32/10 41/8                  different [3] 4/8 59/13
 1/21 7/10 8/17 9/1 9/1 9/10   December 14th [1] 41/8
 10/21 18/16 19/6 19/12                                    62/14
                               decide [1] 18/23            difficult [1] 36/15
 19/21 21/5 27/13 33/22        decision [5] 43/4 65/1 65/2 difficulty [1] 53/17
 33/23 34/4 38/7 41/6 43/7     66/2 68/25
 43/15 60/15 63/22 68/16                                   DIRECT [1] 6/7
                               declaration [1] 25/4        directed [1] 69/17
 69/1 69/9 71/4 71/22          dedicated [1] 11/23
COURT'S [3] 2/12 54/12                                     Direction [1] 30/23
                               defendant [73]
D                           28/1826
     Case 4:20-cr-00455 Document  28/19  28/25
                                     Filed     30/13 in TXSD
                                           on 11/23/20          [1] 4/6
                                                         easier Page 78 of 94
directly [1] 17/12             32/3 40/20 41/9 41/15 46/8     east [1] 71/1
director [2] 8/4 17/6          46/18 47/16 47/22 48/22        easy [1] 70/9
disc [1] 35/12                 48/24 50/20 51/8 52/3 52/7     echo [1] 41/13
disclose [5] 25/7 25/11        53/1 53/14 57/9 57/14 58/4     EDISON [2] 1/8 33/25
34/14 34/16 36/16              59/4 60/3 62/5 68/5            Education [2] 8/12 8/15
disclosed [4] 24/15 33/15      Dr. Cheng [44] 3/13 3/14       educational [1] 56/14
34/9 34/15                     8/3 11/14 17/5 17/12 18/14     effect [1] 7/12
disclosure [16] 17/17 18/4     19/15 19/25 20/3 21/23 22/1    eight [6] 20/22 31/25 32/1
18/13 18/15 18/21 19/2         22/19 24/9 27/22 28/1 28/8      40/22 49/21 51/20
19/10 19/16 20/1 24/6 24/8     28/12 28/18 28/19 28/25        either [2] 20/11 61/12
24/9 24/15 26/1 26/6 34/11     30/13 32/3 40/20 41/9 41/15    else [8] 47/10 47/10 58/3
discovered [1] 41/19           46/8 46/18 47/16 47/22          58/12 66/13 67/23 69/24
discuss [4] 66/13 67/5 70/7    48/22 48/24 50/20 51/8 52/3     70/13
70/20                          52/7 53/1 57/9 57/14 58/4      elsewhere [1] 59/24
discussed [2] 16/23 47/17      59/4 60/3 62/5 68/5            embassy [1] 55/23
discussing [1] 12/5            Dr. Cheng's [2] 19/2 53/14     emotional [1] 38/1
distinction [1] 26/14          DRAW [1] 2/13                  employ [1] 59/20
district [3] 1/1 1/1 69/1      drawing [1] 57/11              employed [11] 6/11 6/12
DIVISION [1] 1/2               dropped [1] 19/9                7/1 7/2 7/18 7/23 8/5 8/7
divulge [1] 70/2               DULY [1] 6/6                    11/9 12/6 65/13
document [2] 40/25 41/8        during [27] 3/20 5/16 7/10     employee [1] 28/23
documents [4] 44/5 44/22       7/17 7/17 9/5 10/13 11/9       employees [3] 18/4 30/9
57/16 66/4                     11/10 11/13 12/5 12/6 12/14     30/12
does [10] 18/6 21/10 55/22     17/8 20/13 20/18 22/6 22/12    employment [41] 7/19 7/21
58/6 58/9 59/23 60/10 68/20    23/6 23/22 32/8 32/25 36/20     9/4 9/6 10/12 10/14 10/17
69/4 70/9                      36/20 41/18 52/6 55/16          11/11 16/8 18/7 18/8 20/2
doesn't [10] 19/6 21/19        duty [1] 45/6                   22/12 23/7 23/10 23/25
                                                               24/10 24/16 25/14 26/8
40/11 56/8 56/16 56/17 58/3    E                               26/10 30/18 30/18 33/2
58/9 60/8 60/12                e-mail [17] 16/10 16/15
dog [2] 54/1 54/6                                              34/10 34/12 34/14 34/23
                                16/18 16/25 17/8 27/6 27/18    34/25 36/17 37/25 43/10
doing [1] 54/4                  27/23 28/5 28/8 28/22 29/12
dollars [2] 12/17 60/2                                         43/25 45/10 55/2 56/9 56/13
                                38/15 39/2 39/4 39/6 39/16     56/16 57/1 58/25 61/18
domestic [1] 26/15             e-mailed [12] 17/12 27/24
done [8] 24/14 28/15 29/14                                    encourage [1] 60/15
                                28/1 28/19 28/25 29/4 30/20   end [3] 10/16 37/23 42/2
29/17 29/19 29/19 35/23         31/20 38/11 38/21 38/23
69/3                                                          ended [1] 22/24
                                38/24                         ending [1] 60/9
dot [1] 39/20                  e-mails [4] 28/12 39/8 40/6
down [2] 38/6 53/7                                            energy [2] 11/25 31/17
                                40/7                          enforcement [1] 6/18
Dr [2] 53/6 58/4               each [1] 24/6
Dr. [46] 3/13 3/14 8/3 11/14                                  engineering [5] 7/5 25/15
                               earlier [3] 38/25 67/21         26/2 26/3 26/6
17/5 17/12 18/14 19/2 19/15     68/11
19/25 20/3 21/23 22/1 22/19                                   English [8] 3/16 3/25 4/1
                               earning [1] 62/12               4/2 49/14 49/19 49/25 50/13
24/9 27/22 28/1 28/8 28/12     earthly [1] 70/23
E                          exhibits
     Case 4:20-cr-00455 Document 26 [2]  2/12
                                     Filed on 53/19              [1] 21/18
                                                           figurePage
                                              11/23/20 in TXSD        79 of 94
ensure [1] 67/14               exist [1] 64/15              file [6] 18/13 18/20 24/5
enter [1] 66/9                 existing [1] 55/11            24/8 24/9 26/1
enterprise [2] 11/22 11/22     exorbitant [1] 60/6          filed [4] 22/15 22/20 41/9
entitled [3] 29/2 30/22 64/6   expect [2] 65/22 68/17        48/2
entity [4] 8/9 14/6 26/15      expenditure [1] 46/14        fill [2] 18/12 18/20
 43/25                         experience [1] 6/18          final [1] 59/25
entry [1] 61/8                 explained [1] 55/6           finally [1] 59/4
equipment [1] 20/7             explains [1] 41/8            financial [19] 9/16 18/3
equity [1] 61/12               explanation [2] 37/11 61/13 18/13 18/14 18/21 19/2
establish [1] 24/2             extended [2] 7/16 13/16       19/10 19/16 20/1 20/25 22/7
established [4] 8/10 8/11      external [7] 18/7 18/8 20/2 24/6 24/8 24/15 30/4 30/6
 9/12 59/1                      24/10 26/8 26/10 26/21       30/14 34/11 57/11
estate [2] 56/5 56/9           extradition [2] 55/22 55/25 find [7] 58/24 59/19 63/6
                                                             63/9 64/15 65/2 65/8
et [2] 26/16 61/3              F                            finding [1] 63/11
et cetera [2] 26/16 61/3       fabrication [1] 11/24
even [6] 24/11 46/4 55/15                                   fine [1] 21/24
                               facilitate [2] 68/14 69/4    first [7] 31/22 31/24 46/3
 56/9 59/19 70/5               fact [6] 29/12 52/3 54/21
events [1] 45/9                                              53/19 63/5 64/6 69/7
                                58/24 59/2 65/15            first-year [2] 31/22 31/24
ever [1] 44/21                 factor [1] 58/13
every [3] 19/20 56/15 57/2                                  five [2] 32/3 49/2
                               facts [3] 6/21 47/3 47/11    flee [2] 57/2 65/24
everybody [2] 4/9 55/15        factual [1] 43/19
everyone [2] 68/1 70/25                                     flight [7] 43/5 43/8 54/15
                               fair [1] 45/11                56/21 57/10 61/21 64/24
everyone's [1] 5/22            false [2] 6/22 60/22
everything [11] 3/16 4/9                                    fluids [2] 13/11 31/17
                               familiar [1] 47/3            follow [2] 16/25 70/24
 8/19 14/23 21/24 25/4 34/4    familiarize [1] 47/11
 34/4 47/19 57/21 57/24                                     follow-up [1] 16/25
                               familiarized [2] 6/21 47/3 followed [1] 34/4
evidence [27] 42/18 43/5       family [9] 43/11 44/1 55/12 following [1] 3/3
 43/6 43/14 43/15 43/17         55/14 56/12 56/17 56/25
 43/21 44/18 44/21 54/16                                    food [1] 11/25
                                61/17 65/15                 foregoing [1] 71/15
 56/20 58/11 59/3 59/4 59/10   far [4] 31/20 34/23 37/6
 61/24 61/25 62/2 62/6 62/7                                 foreign [5] 9/14 9/16 24/3
                                44/16                        26/14 27/3
 62/8 63/6 64/25 65/4 65/5     fast [1] 39/23
 65/10 66/3                                                 form [6] 10/14 11/13 16/19
                               FBI [3] 6/1 6/15 6/17         16/20 16/22 64/8
exactly [2] 51/2 51/19         FCRR [1] 1/20
EXAMINATION [4] 1/8                                         formal [2] 42/21 66/9
                               February [1] 32/10           formally [1] 41/21
 2/2 6/7 44/10                 February 2014th [1] 32/10 format [1] 4/19
example [1] 26/15              federal [12] 1/16 6/12 66/20 formation [1] 11/1
excellent [1] 67/15             67/1 67/10 67/13 68/10
exceptional [1] 64/13                                       formed [2] 11/14 11/16
                                68/19 68/23 69/9 69/17      forms [1] 17/6
exhibit [6] 38/2 38/2 40/10     70/10
 40/12 40/23 53/25                                          forthcoming [1] 57/1
                               FERKO [5] 1/12 3/9 21/13 fortunate [1] 71/1
Exhibit 1 [2] 38/2 53/25        39/5 66/19
Exhibit 2 [1] 40/23                                         forward [2] 37/14 69/14
                               few [3] 18/2 49/8 52/22
F                          general
     Case 4:20-cr-00455 Document 26[1]  64/5
                                     Filed                 59/10 Page
                                           on 11/23/20 in TXSD   60/1 80 of 94
forwarded [2] 28/8 38/25 generally [2] 4/6 50/16             grants [6] 17/7 35/7 44/2
Foshan [6] 11/14 11/18       give [4] 9/10 37/10 38/20       44/4 62/8 62/9
 11/20 33/8 35/4 36/11        65/23                          great [3] 33/24 68/20 71/9
found [2] 37/24 51/8         given [4] 4/20 42/21 54/3       greatly [1] 69/14
Foundation [7] 21/1 22/8      65/25                          grind [1] 38/6
 22/11 30/8 30/15 30/16 50/5 giving [1] 60/23                Guangdong [59] 7/23 8/1
Four [1] 31/10               going [31] 4/24 14/24 15/1      8/4 8/9 8/11 8/14 9/5 9/8
Fourteen [2] 21/2 50/4        18/8 21/11 25/12 26/4 29/2     10/12 11/11 11/23 12/8
frame [2] 51/18 51/19         31/8 32/24 37/14 38/6 38/13    20/14 20/16 20/20 22/15
fraud [3] 6/22 60/10 60/23 38/14 38/14 38/15 39/11           22/19 23/2 23/7 23/14 23/21
fraudulent [8] 41/22 42/2 43/18 51/12 53/18 61/7             23/25 25/8 28/6 28/9 28/11
 42/16 44/5 54/21 61/2 61/2 63/15 66/9 66/25 67/9 67/9       28/15 28/19 29/6 29/21
 66/4                         68/5 68/9 70/19 71/1 71/5      29/22 30/1 30/5 30/12 30/12
free [1] 58/7                good [6] 4/11 8/25 34/7         30/19 30/20 31/5 31/6 31/9
friend [2] 37/12 42/21        36/25 37/2 57/23               31/21 33/2 33/12 33/14
friends [1] 54/5             goodness [1] 70/22              35/13 35/18 35/23 35/25
front [2] 38/3 39/15         got [11] 18/22 19/20 33/20      36/4 36/11 36/13 36/23 37/1
full [4] 5/19 7/2 25/1 45/10 36/9 38/15 40/23 57/15 58/2     43/10 43/25 49/11 49/12
full-time [1] 45/10           58/10 61/15 63/3               49/22 55/3
fully [2] 65/22 68/17        government [29] 3/8 4/24        Guangzhou [1] 41/19
Functional [1] 20/15          5/5 5/10 5/23 5/25 9/13 9/15   guarantee [1] 60/17
funded [3] 32/2 55/20 55/21 43/15 44/5 54/10 55/20           guess [7] 51/11 52/2 52/6
funding [8] 14/1 14/2 16/20 55/21 57/9 57/11 59/12           63/2 67/4 68/1 68/8
 16/22 17/3 17/25 20/6 28/3 59/23 60/20 62/2 62/7 63/7       guest [3] 21/15 21/15 26/15
funds [3] 67/22 68/23 69/17 63/10 63/21 64/21 65/4 65/9      guided [1] 64/4
further [11] 4/12 4/17 8/7 66/14 67/24 67/25                 guideline [1] 60/5
 8/16 52/13 52/15 52/16      government's [6] 2/9 57/12      guys [1] 22/1
                              59/8 59/10 64/2 70/4
 60/19 61/16 61/22 71/1
                             graduate [1] 17/13
                                                             H
further -- well [1] 4/12                                     half [1] 6/19
future [4] 30/22 53/3 59/20 grant [64] 6/23 7/11 7/13        halfway [1] 5/20
 60/17                        7/17 9/6 10/13 11/11 12/7
                              12/24 12/25 13/3 13/6 13/9     hand [7] 3/23 5/18 6/3
G                             13/10 13/14 13/16 13/18        21/24 25/16 52/19 69/23
GALLAGHER [23] 1/15           13/19 13/21 13/21 13/24        handling [1] 69/1
 3/13 5/3 18/24 38/20 44/8    14/10 15/4 15/7 15/9 15/10     happened [3] 41/6 51/20
 53/11 57/7 57/23 61/22       16/4 16/12 16/21 16/21         57/19
 62/20 66/16 67/6 67/16       17/21 17/24 17/24 20/4         happening [1] 21/11
 67/19 68/2 69/17 70/1 70/6 22/11 22/13 24/18 24/22          happens [2] 19/20 54/8
 70/11 70/19 70/21 70/23      28/2 28/24 29/2 29/5 29/13     hard [3] 10/22 28/20 38/6
gave [1] 42/22                29/18 30/8 32/2 32/5 32/6      hasn't [3] 59/1 59/24 62/2
Ge [9] 11/15 11/18 11/21      32/8 35/4 35/6 35/23 36/2      have [82]
 23/2 25/9 33/8 35/5 36/12    37/25 45/18 45/19 46/1 46/7    haven't [3] 38/17 39/8
 43/25                        46/19 50/9 54/25 55/20         49/16
                                                             having [8] 5/11 21/11 22/24
H                           48/1126
     Case 4:20-cr-00455 Document  48/22  53/16
                                     Filed     54/22 in TXSD
                                           on 11/23/20   68/15 Page
                                                               68/168168/25
                                                                       of 94 69/15
having... [5] 27/13 53/1      56/22 57/2 57/2 58/11 58/13 70/23
58/11 59/4 70/9               58/20 59/20 59/22 61/9      I'm [59] 4/3 4/24 5/11 5/18
havoc [1] 4/21                61/16 65/17 70/9             6/12 8/18 10/15 14/20 15/14
he [281]                     himself [1] 58/24             15/15 19/13 19/22 21/6
he's [15] 36/13 36/14 38/7 hire [3] 8/7 9/9 33/4           21/17 21/18 21/21 23/14
44/4 55/1 55/20 58/10 58/19 hiring [1] 17/13               25/12 26/4 27/8 27/14 34/3
59/11 59/24 60/14 61/15      his [111]                     34/3 38/6 38/13 38/13 38/14
62/7 62/9 65/25              history [5] 49/5 56/13 56/13 38/15 39/2 39/11 40/6 40/6
head [2] 36/17 36/18          56/13 56/14                  41/12 42/10 43/18 45/17
headed [1] 17/22             hold [13] 19/11 19/11 19/18 46/13 46/17 47/6 49/10
hear [16] 3/17 3/25 4/1 4/10 19/18 21/5 25/16 25/18        49/15 51/2 51/19 52/17
5/11 5/12 5/13 5/14 8/19      38/13 38/16 52/18 52/20      53/18 54/11 54/13 57/20
14/23 27/15 34/3 34/6 40/8 52/23 57/18                     59/24 60/7 63/15 63/20 66/9
45/25 57/24                  home [2] 51/23 57/15          68/4 68/15 68/15 70/10
heard [5] 18/19 47/20 65/12 homes [5] 49/2 52/4 61/11 70/19 71/5
66/25 67/12                   61/12 61/14                 I've [1] 69/11
hearing [23] 1/8 2/2 3/21 honest [2] 60/23 70/22          I-130 [2] 41/9 42/14
4/2 4/8 4/14 5/8 5/17 5/19 Honor [53] 3/10 4/4 4/15 idea [7] 21/10 21/12 58/5
21/24 27/13 53/2 53/19        4/16 5/6 5/9 5/10 5/25 8/18 58/7 59/14 62/12 70/23
53/25 63/3 63/4 63/4 64/8     8/20 8/20 18/18 19/13 19/22 identified [1] 49/11
64/10 66/23 67/16 68/11       21/6 21/13 40/9 43/13 44/7 imagine [1] 53/16
71/5                          52/14 52/16 52/25 53/5      immediately [1] 37/19
hearings [1] 66/22            53/10 53/23 54/5 54/5 54/11 immigration [9] 41/1 41/7
hears [1] 4/7                 54/14 55/18 56/1 56/20       41/16 42/4 42/5 42/7 42/25
Heather [2] 1/20 71/22        56/23 57/4 57/8 57/20 60/1 54/20 55/13
held [2] 3/3 8/1              60/16 60/21 61/4 61/20      implied [1] 29/19
Hello [1] 3/11                62/15 63/17 63/23 66/15     important [2] 39/24 40/10
help [4] 42/10 67/7 67/19     66/17 68/1 68/3 69/6 69/21 importantly [1] 65/15
68/14                         71/10 71/11 71/12           impose [1] 60/15
her [1] 25/16                honorable [2] 1/8 26/16      imposed [1] 64/19
here [31] 4/13 8/18 14/20 hope [1] 70/25                  inaudible [1] 27/7
19/13 19/22 21/6 21/11       Houdan [1] 7/9               incentive [1] 60/12
33/23 34/3 34/3 37/4 48/11 hours [1] 51/3                 incentives [2] 9/16 65/24
48/22 54/20 55/19 56/25      house [1] 37/12              inception [1] 59/10
58/15 58/16 58/18 59/23      houses [1] 56/3              include [5] 16/5 16/7 17/24
60/12 61/7 61/9 63/3 63/6 HOUSTON [5] 1/2 1/13             23/2 24/10
63/22 64/2 65/8 65/16 65/18 1/17 1/22 6/19                included [3] 14/6 23/24
66/4                         Hundred [7] 8/7 9/9 9/20      53/25
higher [1] 10/6               33/11 33/13 35/10 55/4      includes [1] 16/7
highlights [1] 33/1          Hydrogels [1] 31/11          including [1] 18/7
                                                          income [2] 62/7 68/12
hilt [1] 61/15               I                            incorporated [1] 14/8
him [23] 14/18 19/3 20/14 I'll [13] 11/4 18/22 19/24
20/19 20/22 36/19 37/16                                   indicate [2] 43/22 52/10
                              38/17 40/2 53/24 66/8 67/17
I                           36/2026
     Case 4:20-cr-00455 Document  37/23  41/18
                                     Filed     47/16 in TXSD
                                           on 11/23/20   5/17 6/16
                                                               Page8/16
                                                                    82 of8/25
                                                                          94 14/17
indicated [3] 50/15 58/4      52/6 55/16                  14/24 15/18 18/2 19/1 19/11
 58/21                       introductions [1] 3/7        21/7 21/14 21/17 21/18
indicating [2] 27/16 53/15 inventor [2] 22/19 22/24       21/22 21/23 21/24 22/1
indication [3] 58/20 58/23 invested [1] 58/19             25/22 25/25 32/25 33/19
 65/17                       investigating [1] 47/12      37/19 38/7 38/17 39/14
indicative [2] 58/6 60/5     investigation [6] 6/12 23/6 39/25 40/4 40/6 40/8 40/10
indiscernible [4] 10/14       43/22 47/13 47/14 69/2      41/13 45/17 46/1 53/18
 15/13 46/11 71/17           investigator [2] 13/7 16/5 56/10 57/4 58/4 59/24 60/21
individual [2] 66/6 67/8     investigators [1] 51/1       61/8 63/12 63/15 67/18 68/1
individuals [3] 9/13 9/16    invoices [4] 32/12 32/14     68/3 68/12 69/1 69/24 70/16
                              32/16 46/14
 67/20
                             involve  [2] 22/17 56/23
                                                         K
industry [1] 11/25                                       keep [2] 15/1 21/11
inference [1] 57/10          involved [4] 22/18 31/23
                              47/13 68/24                Key [1] 20/15
inform [1] 29/16                                         kid [3] 55/15 61/7 61/7
information [6] 24/19        isn't [1] 70/8
                             isotropic [1] 30/2          kind [3] 5/12 38/7 55/14
 53/13 57/13 57/18 58/2                                  know [34] 3/21 7/7 7/9 10/8
 62/25                       issue [5] 36/7 48/1 63/13
                              66/14 68/18                 12/4 13/10 14/20 15/6 19/18
initial [1] 71/6                                          19/19 23/12 32/4 37/6 40/23
innocence [2] 64/7 64/9      issued [1] 69/12
                             issues [1] 70/20             44/16 48/3 51/5 51/20 51/23
inquired [1] 17/13                                        62/21 64/18 67/6 67/6 68/17
inquiring [1] 27/24          its [2] 18/4 63/7
                                                          68/17 68/18 68/19 68/22
instance [1] 55/9            J                            69/2 69/11 69/25 70/6 70/9
instead [1] 5/2              Jabber [5] 19/20 21/7 21/15 71/4
Institute [2] 8/4 24/3        21/15 22/2                 knowledge [7] 9/13 12/2
institutions [2] 25/9 56/25 January [1] 12/4              27/5 48/19 48/21 50/12
intellectual [2] 9/14 9/17   jettison [1] 58/20           50/15
intended [2] 40/2 64/8       job [3] 6/13 55/10 59/2     known [1] 43/11
intending [1] 62/1           Joe [1] 5/20                knows [3] 59/22 59/22
intent [2] 41/16 41/17       Joe Corley [1] 5/20          70/21
interest [5] 11/20 18/11     joined [2] 21/7 21/15
 23/4 43/11 44/1             journals [1] 59/14
                                                         L
interference [7] 15/16       judge [11] 14/17 33/20      lab [4] 30/23 35/24 36/3
 19/10 19/17 21/3 21/9 41/17 33/25 40/5 43/3 66/24 66/24 36/24
 71/18                        67/11 67/20 68/17 69/1     Laboratory [1] 20/15
international [4] 9/17 15/10 Judge Edison [1] 33/25      lack [3] 42/3 56/25 57/1
 15/25 16/2                  judge's [1] 68/4            laid [1] 16/22
interpret [1] 3/19           July [3] 20/3 23/1 28/25    Lake [1] 71/3
interpreter [10] 1/18 3/15 jump [2] 4/4 71/5             language [6] 16/24 20/5
 3/21 21/23 21/25 25/16      June [5] 22/20 25/12 25/25 49/19 50/12 69/13 69/13
 25/19 39/13 41/12 71/4       29/21 30/21                last [5] 18/19 43/11 55/11
interpreting [1] 4/9         June 15th [1] 22/20          66/1 66/22
interrupt [2] 14/17 52/23 June 22nd [2] 25/12 25/25 later [1] 59/16
interview [8] 32/22 32/25 just [54] 3/21 4/7 4/17 5/11 law [1] 6/18
L                                 26 19/12
                           lose [4]
     Case 4:20-cr-00455 Document      Filed 37/25 60/12in TXSD
                                            on 11/23/20         [9] 20/13
                                                           many Page       20/18 20/24
                                                                     83 of 94
laws [1] 14/9                  60/13                         31/22 32/1 32/12 32/14 37/6
lawyers [1] 70/4              lost [6] 5/20 14/24 18/16      55/18
lead [1] 13/8                  18/19 33/19 59/2              March [5] 25/2 41/10 41/10
least [9] 8/3 54/24 55/2      lot [2] 25/20 41/13            41/15 42/9
 62/17 62/22 64/18 66/14      lots [1] 12/1                  March 27th [3] 41/10 41/15
 68/19 69/2                   loud [1] 5/14                  42/9
leave [2] 18/22 68/25         louder [1] 8/23                mark [3] 1/11 3/9 53/19
leaving [2] 19/20 22/2        Louisiana [2] 1/13 1/16        marked [1] 38/2
left [2] 19/11 21/16          low [1] 5/12                   Marshal [1] 66/11
legitimate [1] 44/22          Ltd [3] 11/15 23/2 33/9        mater [1] 35/1
                                                             Material [2] 31/14 31/17
less [2] 60/2 60/3            M                              math [1] 56/8
let [17] 3/21 10/22 16/10     M's [1] 59/2
 17/20 18/2 38/2 39/21 63/1 Macromolecular [1] 13/12         matter [7] 8/4 20/15 24/2
 63/1 63/2 63/4 68/8 68/17 made [5] 32/25 36/22 69/4         29/23 64/3 67/11 71/16
 69/11 70/5 70/19 70/23                                      maximum [1] 60/4
                               69/9 69/9                     may [5] 4/4 46/4 53/6 59/11
let's [3] 5/23 15/17 20/10    magic [1] 40/3
letter [1] 41/15                                             61/25
                              mail [17] 16/10 16/15 16/18    maybe [3] 25/21 34/1 68/17
liabilities [2] 56/3 62/18     16/25 17/8 27/6 27/18 27/23
life [2] 55/15 60/9                                          MCINTYRE [17] 1/11 3/9
                               28/5 28/8 28/22 29/12 38/15   8/22 10/21 14/16 19/3 21/21
life-ending [1] 60/9           39/2 39/4 39/6 39/16
like [8] 4/20 34/2 43/6 52/21 mailed [12] 17/12 27/24        27/9 27/12 33/17 39/4 39/8
 60/8 60/10 70/14 70/25                                      52/15 53/9 54/2 54/10 62/4
                               28/1 28/19 28/25 29/4 30/20   mean [12] 14/16 21/11
likewise [1] 3/18              31/20 38/11 38/21 38/23
liquid [6] 13/12 29/3 30/25 38/24                            30/15 39/25 40/3 40/10
 31/7 31/11 31/14                                            40/14 58/6 60/22 62/6 62/18
                              mails [4] 28/12 39/8 40/6      62/21
list [2] 20/2 58/3             40/7
listed [8] 20/19 20/22 22/10 maintain [1] 29/5               means [1] 63/12
 22/19 26/24 28/18 30/12                                     meant [1] 13/7
                              maintained [2] 45/9 48/4       mechanical [1] 1/24
 41/18                        major [1] 40/15
listen [1] 38/14                                             meet [1] 61/17
                              majority [2] 48/8 58/18        member [2] 55/4 59/21
listened [2] 64/25 66/22      make [26] 3/22 3/23 4/18
listing [2] 41/22 49/21                                      members [1] 35/2
                               5/11 5/12 5/18 5/21 5/22      mentioned [7] 47/2 49/9
little [3] 6/25 27/9 51/11     8/17 8/25 14/17 32/21 43/4
lived [2] 48/11 58/16                                        51/11 52/2 62/3 67/20 68/11
                               44/19 45/17 53/24 55/23       met [4] 54/16 63/7 63/10
lives [1] 54/17                56/6 59/25 66/5 67/17 68/3
located [3] 10/2 11/18 32/17 69/2 69/5 69/16 69/24           65/9
logged [1] 18/16                                             microfluidic [3] 11/24
                              makes [1] 56/2                 22/21 22/21
long [7] 4/8 6/15 7/12 51/1 making [5] 17/17 25/20
 55/11 57/21 71/5                                            microphone [2] 25/22
                               36/21 37/19 60/22             41/14
look [5] 38/15 38/15 40/7 man [1] 56/6
 56/1 63/14                                                  might [1] 43/23
                              managed [1] 26/21              million [2] 56/5 60/2
looking [1] 40/6              manager [1] 38/11
looks [1] 70/25                                              mind [3] 23/11 65/15 69/7
                              manages [1] 8/14
M                           52/1926
     Case 4:20-cr-00455 Document  52/21  53/9
                                     Filed    53/11 54/2
                                           on 11/23/20     narrative
                                                       in TXSD  Page[1] 43/14
                                                                     84 of 94
Ministry [2] 8/12 8/15        54/10 57/7 61/22 62/4 62/20   NASA [63] 6/23 7/11 7/13
minus [1] 62/18               66/16 67/2 67/6 67/16 67/19   9/6 11/11 12/24 12/25 13/3
minute [2] 63/2 63/14         67/19 68/2 68/11 69/8 69/14   13/6 13/21 13/24 14/1 14/13
minute -- well [1] 63/2       69/23 69/23 70/1 70/6 70/11   15/4 16/11 16/13 16/16
minutes [1] 63/16             70/19 70/21 70/23             16/18 16/21 16/22 17/2 17/5
Miranda [1] 50/24             Mr. -- did [1] 12/24          17/12 17/21 20/5 22/8 22/11
Mirandized [1] 32/21          Mr. Bostic [4] 38/23 39/3     22/12 24/18 24/19 28/3 28/7
misreading [1] 57/12          69/8 69/14                    28/20 28/23 28/23 28/25
missed [1] 19/6               Mr. Cheng [9] 7/1 7/7         29/5 29/13 29/17 29/17 30/8
Mississippi [1] 32/18         52/19 52/21 67/2 67/19        30/14 30/14 32/2 32/6 32/17
misstated [1] 54/22           68/11 69/23 69/23             35/18 35/22 35/23 36/2 36/7
mistakes [3] 36/21 36/22      Mr. Gallagher [17] 5/3        36/8 36/24 37/2 37/17 37/18
52/22                         38/20 53/11 57/7 61/22        37/24 37/25 50/3 50/6 50/9
misunderstood [1] 50/10       62/20 66/16 67/6 67/16        50/9 54/25
mitigate [1] 56/22            67/19 68/2 70/1 70/6 70/11    NASA/China [1] 16/22
mixed [1] 35/13               70/19 70/21 70/23             National [7] 20/25 22/8
mixture [1] 35/15             Mr. McIntyre [14] 8/22        22/10 30/8 30/15 30/15 50/4
mixtures [1] 30/3             10/21 14/16 19/3 21/21        naturalize [1] 47/24
MJ [2] 1/5 3/6                27/12 33/17 39/4 39/8 52/15   naturalized [2] 47/22 47/25
moment [1] 53/17              53/9 54/2 54/10 62/4          nature [1] 56/23
Monday [1] 67/12              Mr. Snow [1] 6/11             necessarily [1] 62/11
monetary [1] 13/18            MS [2] 1/12 1/19              necessary [2] 64/19 67/22
money [6] 32/4 32/5 36/7      Ms. [1] 66/19                 need [10] 19/6 27/12 34/1
37/7 37/10 56/10              Ms. Ferko [1] 66/19           43/16 43/16 54/7 60/8 63/13
month [2] 12/18 13/20         much [18] 22/3 23/21 25/23    66/13 67/23
months [3] 12/20 25/13        29/14 29/17 29/19 32/4 32/5   needed [2] 58/22 67/3
25/25                         37/7 39/22 40/17 53/7 56/9    needs [2] 4/10 67/8
more [5] 13/15 36/8 36/9      63/24 63/25 69/22 71/3 71/9   new [1] 43/15
36/19 68/8                    multiple [3] 46/11 58/10      news [1] 57/23
mortgaged [2] 61/15 62/23     59/13                         next [1] 70/7
mortgages [2] 56/5 58/3       must [2] 64/14 65/4           NFC [1] 50/9
most [2] 45/6 53/12           mute [4] 25/22 34/5 41/13     nine [1] 6/19
mostly [1] 47/15              63/15                         no [74]
motivation [1] 61/16          my [14] 23/13 38/15 39/7      noise [1] 25/21
move [1] 20/10                40/6 40/7 57/21 65/1 65/15    not [84]
moved [1] 57/21               66/2 66/8 68/19 70/17 70/17   notch [1] 24/3
moving [1] 25/21              71/17                         notes [1] 23/13
MR [8] 1/11 1/15 18/24        myself [1] 34/5               nothing [5] 60/4 62/22 64/7
                                                            66/17 67/25
21/23 27/9 39/25 44/8 57/23   N                             nothing's [1] 48/1
Mr. [46] 5/3 6/11 7/1 7/7     name [2] 6/9 39/7
8/22 10/21 12/24 14/16 19/3                                 notice [1] 41/17
                              Nano [1] 31/17                notification [1] 41/11
21/21 27/12 33/17 38/20       Nanoplate [1] 31/7
38/23 39/3 39/4 39/8 52/15                                  notify [1] 24/17
                              Nanoplates [2] 13/12 29/3
N                           59/2426 Filed on 11/23/20 in TXSD
     Case 4:20-cr-00455 Document                          P Page 85 of 94
notorious [1] 59/9            one [18] 7/23 9/8 28/9 29/12 p.m [4] 1/6 63/19 63/19
November [1] 71/21             30/12 31/6 31/13 31/16      71/13
now [30] 3/5 3/25 7/17 9/20    31/19 36/2 36/8 49/15 57/17 PAGE [1] 2/3
10/11 12/5 12/24 13/24         59/25 60/7 61/11 66/18      paid [3] 23/16 23/18 23/21
14/21 16/10 24/5 24/23 27/5    70/21                       pandemic [2] 4/21 70/8
27/15 28/5 28/20 28/22        only [9] 5/1 36/7 53/12      paper [1] 30/6
29/21 30/18 30/24 31/20        53/13 56/8 56/12 59/9 61/23 papers [10] 20/13 20/18
32/19 34/16 37/3 37/23         68/22                       20/24 22/7 49/9 49/11 49/12
39/11 40/23 48/22 60/3        open [1] 59/9                49/14 49/21 50/16
63/13                         opinion [2] 43/17 66/9       part [8] 16/4 16/4 18/6
number [6] 50/2 62/21         Opportunities [1] 13/11      19/24 20/4 25/14 30/18
65/25 66/1 66/1 70/20         opportunity [1] 53/2         40/17
numbers [1] 62/22             order [4] 66/10 67/9 67/17 participant [3] 9/20 9/23
                               68/9                        55/4
O                             orders [2] 69/9 69/12        participants [1] 36/2
o0o [1] 71/14                 original [1] 53/22           participate [3] 5/1 9/7
object [1] 43/13              originally [2] 7/16 13/16    12/25
objection [2] 18/25 43/18 other [26] 6/18 7/19 7/21 participated [2] 27/2 55/3
objectives [2] 23/24 24/2      9/23 10/4 12/7 24/16 25/9 participating [2] 14/5 27/25
Observation [1] 30/2           26/8 26/10 26/25 32/3 42/18 participation [3] 10/11
obtain [5] 13/6 22/13 23/7 44/18 47/20 49/19 49/25         11/12 33/11
 44/6 61/17                    50/12 53/9 56/25 61/11 62/3 particular [5] 7/4 24/23
obtaining [4] 13/24 22/18 62/8 62/9 64/17 66/18            31/12 66/21 67/15
 24/18 67/21                  others [1] 11/14             parties [3] 1/10 4/19 62/16
obviously [17] 4/19 5/18      out [17] 5/20 10/15 16/22 partnerships [1] 16/3
 58/6 60/7 64/2 64/21 65/13 18/12 18/20 21/18 30/1         pass [2] 44/7 68/15
 65/21 65/23 66/9 67/6 67/17 37/24 38/17 52/22 65/25       passport [4] 44/15 44/18
 67/19 68/18 69/24 70/14       67/7 67/8 67/18 67/20 70/7 59/6 59/9
 71/2                          70/20                       past [3] 38/8 40/18 48/5
occurred [1] 16/13            outside [10] 26/10 44/21     patent [4] 22/17 22/18
off [4] 19/9 55/24 63/16       48/5 58/12 58/17 58/24      22/20 22/23
 71/9                          62/14 65/23 67/4 67/5       patents [2] 22/13 22/14
offenses [1] 63/9             over [16] 35/9 38/8 40/18 patience [2] 64/1 71/8
office [6] 21/14 32/17 47/14 45/21 46/1 46/4 46/21 48/5 paying [1] 56/10
 57/14 68/6 68/19              48/15 51/20 54/6 56/15 60/1 payments [1] 69/8
officer [4] 16/21 20/4 27/19 69/14 70/9 71/5               peers [1] 66/7
 27/24                        overrule [1] 43/18           pending [4] 57/4 64/3 64/11
official [4] 1/21 16/14 16/18 owned [2] 58/7 61/19         66/11
 17/13                        owner [2] 12/2 12/4          people [10] 19/19 19/19
OFFRD [1] 2/13                ownership [3] 23/3 43/24     19/19 21/11 22/1 33/19
often [2] 62/10 70/9           43/24                       62/13 67/4 68/20 71/2
oh [9] 23/19 33/21 35/7 47/2 owns [5] 48/24 56/3 61/6      People's [2] 8/12 8/15
 50/8 50/10 52/17 57/18        61/10 61/12                 per [1] 12/18
P                           18/9 55/2
     Case 4:20-cr-00455 Document                          probably
                                 26 Filed on 11/23/20 in TXSD        86 39/24
                                                               Page[2]  of 94 70/21
percent [3] 40/21 48/7         possession [1] 51/8          problem [4] 3/20 3/22 5/17
56/14                          possessor [1] 7/2            8/24
percentage [1] 40/18           possibility [2] 55/24 69/4 proceed [10] 4/19 5/2 5/7
Perfect [1] 8/21               possible [5] 4/1 17/15 35/20 5/23 6/5 8/22 14/25 19/6
performance [1] 13/13          70/12 70/17                  21/20 22/4
period [26] 7/10 7/11 7/17     possibly [1] 8/3             proceeding [2] 3/3 4/20
7/18 8/2 10/8 11/9 11/10       post [1] 55/16               proceedings [9] 1/24 3/1
11/13 12/5 12/6 12/18 12/19    post-arrest [1] 55/16        3/24 4/23 5/1 5/2 60/18
12/21 13/2 13/13 13/20 15/6    PowerPoint [4] 30/19 30/24 71/13 71/16
20/10 20/13 20/18 22/6         31/4 31/23                   proceeds [1] 63/12
22/12 23/22 51/22 56/15        precluded [1] 71/18          process [1] 13/2
period -- well [1] 7/10        preference [1] 52/10         procurement [3] 16/13
permanently [1] 34/24          PRELIMINARY [2] 1/8          16/18 17/12
permission [1] 18/9            2/2                          produced [2] 1/25 62/7
person [6] 36/3 42/19 59/19    prepare [1] 47/4             professionalism [1] 71/8
59/21 64/17 65/20              prepared [1] 30/20           professor [15] 7/5 8/6 8/8
personally [1] 32/5            preparing [1] 28/17          9/9 12/13 12/14 12/22 24/25
persons [1] 64/22              preponderance [7] 43/4       30/20 31/21 33/4 33/7 35/25
petition [4] 41/7 41/9 41/10   54/16 56/19 57/9 65/3 65/4 55/1 62/13
42/14                          65/10                        professorship [2] 25/1 33/5
petitioner [1] 41/3            presence [2] 65/6 65/12      proffers [1] 53/11
PHILIP [3] 1/15 3/13 69/17     present [3] 8/8 47/16 68/13 program [13] 9/9 9/21 9/25
phone [1] 10/19                presentation [3] 31/4 31/20 10/5 10/6 10/9 10/23 11/6
physical [1] 22/2              31/23                        24/16 27/3 33/12 35/10 55/8
picture [1] 14/24              presented [10] 31/4 41/22 programs [13] 9/7 9/11
place [1] 64/7                 42/14 42/15 42/16 43/14      9/12 9/15 9/24 10/4 10/12
places [3] 7/23 14/1 59/13     54/21 61/1 62/2 63/6         11/12 25/10 55/5 55/7 56/24
plainly [1] 58/25              presumption [2] 64/7 64/9 61/5
PLAINTIFF [1] 1/11             pretrial [15] 53/13 53/19    progress [2] 29/1 29/5
Plan [1] 34/17                 53/21 56/2 56/4 56/6 57/12 prohibition [1] 14/5
planning [1] 40/14             57/13 57/14 58/2 58/8 60/16 prohibitions [1] 28/21
platelet [1] 30/3              62/5 62/22 64/12             project [2] 36/24 37/17
platelet-sphere [1] 30/3       prevent [2] 18/10 56/22      proof [1] 54/15
please [12] 3/7 3/21 4/5       previously [5] 13/13 15/3 properly [1] 70/3
5/24 6/5 6/9 8/22 15/14        16/23 29/10 34/14            properties [3] 58/4 58/10
15/19 15/22 21/20 41/14        principal [2] 13/7 16/5      62/21
point [12] 35/21 37/13 38/1    principles [1] 64/5          property [3] 9/14 9/18
38/17 51/4 52/22 53/13         prior [4] 6/17 37/19 37/20 48/24
58/23 59/25 62/2 67/18 68/6    64/14                        proposal [13] 14/10 14/13
Police [1] 6/20                privately [1] 53/3           15/4 15/10 15/24 16/2 16/4
position [6] 12/11 24/24       privilege [1] 70/2           16/6 16/11 16/14 16/16 17/1
26/11 26/14 33/8 59/3          probable [6] 4/13 5/8 63/3 17/4
positions [5] 8/1 9/8 18/7     63/4 63/8 63/10              prosecution [1] 62/11
P                                                     recruitPage
                           R 26 Filed on 11/23/20 in TXSD
     Case 4:20-cr-00455 Document                                  9/13
                                                              [2] 87    24/3
                                                                     of 94
prove [1] 59/11            radar [1] 59/5                REDMON [1] 1/19
provide [3] 39/16 57/17    raise [5] 3/23 5/17 6/2 42/22 Refer [1] 23/13
64/19                       66/19                        Reform [1] 64/12
provided [3] 38/18 53/21   raised [4] 28/14 52/19        regard [1] 26/13
67/17                       66/19 69/23                  regarding [26] 6/23 16/12
province [1] 8/6           raising [1] 65/20              17/2 17/9 19/1 20/5 24/3
Provincial [1] 20/15       rather [2] 64/9 64/23          26/2 26/13 27/11 27/24 28/3
public [10] 1/16 66/20 67/1reach [5] 67/7 67/8 67/20      28/5 28/23 29/14 30/4 30/24
67/10 67/14 68/10 68/19     70/6 70/20                    31/15 31/18 35/9 41/6 41/7
68/23 69/9 69/18           reaching [1] 65/1              43/17 47/3 57/11 57/15
publication [2] 29/25 30/10read [5] 19/5 20/5 26/7 47/6 regardless [1] 48/18
publications [8] 20/11      47/20                        regards [2] 22/17 27/5
20/22 22/10 26/25 35/16    Reading [1] 26/9              reimburse [2] 67/10 68/6
49/17 50/2 59/14           ready [7] 5/7 5/10 54/9       reimburse -- well [1] 68/6
publicly [2] 57/16 58/2     54/11 54/12 54/13 63/20      reimbursement [1] 68/9
publish [3] 28/17 28/17    real [2] 56/5 56/9            relate [1] 18/6
29/22                      really [2] 39/10 39/23        related [2] 13/25 22/21
published [4] 49/14 49/18  reason [12] 14/24 37/10       relates [2] 16/1 41/3
49/25 50/12                 44/4 49/18 49/24 56/15 57/2 relation [4] 12/24 29/21
pulled [1] 24/21            57/2 60/11 61/9 65/17 68/23 48/2 59/10
purchase [3] 37/12 51/23   reasonable [3] 21/3 56/21 relationship [4] 41/20 42/3
61/14                       64/20                         54/22 65/14
purchased [1] 52/3         reasonably [4] 64/16 64/17 relationships [1] 56/24
purpose [2] 11/20 64/10     65/6 65/11                   relative [1] 42/15
pursuant [2] 23/16 32/2    reasons [3] 41/18 41/24       relayed [1] 24/19
put [6] 30/1 34/5 34/12     70/21                        released [2] 43/8 64/14
34/13 63/15 67/17          rebuttal [1] 60/21            relevant [1] 62/11
                           recall [1] 23/17              reluctant [1] 67/13
Q                          receive [4] 28/16 32/5 42/4 remanded [1] 66/10
Qatar [8] 37/16 45/2 45/4 44/3                           remember [6] 15/20 57/14
45/4 48/12 53/16 54/18     received [12] 12/16 35/6       58/5 65/3 69/12 69/25
65/18                       35/7 39/8 41/10 41/15 44/2 reminded [1] 62/4
question [20] 10/16 10/20 46/7 46/18 53/14 60/3 62/7 renminbi [1] 12/17
10/24 10/25 15/17 15/18    receiving [1] 62/9            repeat [4] 15/14 15/17
15/20 15/22 15/24 18/19    recently [1] 45/6              15/22 19/24
19/7 26/7 26/9 26/18 26/20 Recess [1] 63/19              replied [1] 17/5
28/14 43/19 50/11 62/4     recipient [1] 55/20           report [14] 29/1 29/3 29/22
66/20                      recommended [1] 60/16          53/13 53/20 53/21 53/22
questions [7] 3/20 24/11   record [11] 3/5 6/9 53/18      56/2 56/4 56/6 57/12 57/14
26/4 49/8 51/4 52/13 52/16 61/1 62/17 63/16 63/25 64/4 58/8 62/22
quickly [1] 70/11           67/18 71/9 71/16             reporter [17] 1/20 1/21
                           recorded [1] 1/24              8/17 9/1 9/2 10/21 18/16
                           recording [1] 66/23            18/18 19/6 19/12 19/21 21/5
R                           16/2026
     Case 4:20-cr-00455 Document  16/22  17/3
                                     Filed    17/11 in TXSD
                                           on 11/23/20         [2] 64/17
                                                        safety Page       64/22
                                                                    88 of 94
reporter... [5] 33/22 33/23     17/24 17/25 20/6 27/6 43/23   said [19] 4/9 16/2 30/14
 63/22 71/4 71/22              restrictive [1] 64/19           34/15 34/19 34/24 36/7
reporter's [2] 27/13 34/4      result [3] 22/14 42/2 63/9      36/18 37/2 42/11 45/19
reporting [1] 18/6             resulted [1] 24/18              47/19 48/4 49/10 49/10
represent [1] 66/21            results [6] 28/10 29/6 29/9     50/22 50/24 51/15 70/13
representation [3] 67/15        30/22 31/22 31/24             salary [3] 35/9 61/14 62/5
 68/21 68/21                   retention [1] 67/22            same [6] 4/8 11/13 12/5
representing [1] 68/20         return [3] 52/7 53/15 70/18     29/9 49/24 50/11
Republic [2] 8/12 8/15         returning [2] 44/24 45/2       sauce [1] 40/3
request [7] 18/9 26/3 28/1     reviewed [3] 40/25 49/17       say [19] 3/16 3/18 15/10
 34/5 64/2 64/4 68/10           64/25                          15/24 33/11 33/15 34/17
require [2] 67/9 68/5          revisit [2] 68/18 68/18         34/22 35/4 35/7 35/20 36/6
required [5] 24/5 26/1 29/1    revocation [1] 48/14            36/10 39/25 52/21 57/24
 65/6 65/12                    revoke [1] 41/16                61/23 69/11 69/25
requirement [2] 18/4 19/2      revoked [1] 41/24              says [2] 21/14 21/15
requires [1] 64/18             right [52] 3/25 4/25 6/2       scholar [4] 27/11 27/25
research [50] 12/25 13/5        16/24 19/15 28/20 39/11        28/1 55/4
 13/11 17/14 17/21 17/21        44/12 44/13 44/17 45/14       Science [18] 10/6 11/7
 18/7 20/2 20/6 20/13 20/18     45/16 45/17 45/19 45/21        12/10 12/11 12/15 12/22
 20/24 22/7 24/10 26/20 28/6    46/7 46/8 46/10 46/16 46/21    21/1 22/8 22/11 30/8 30/15
 28/7 28/11 28/13 28/15         46/21 46/23 46/24 47/4 47/6    30/16 33/6 33/16 34/10 35/1
 28/17 29/6 29/9 29/17 29/20    47/10 47/19 47/22 47/22        35/2 50/4
 30/5 30/6 31/4 31/8 31/12      48/1 48/6 48/9 48/11 48/12    scientific [2] 28/11 50/16
 31/15 31/18 31/22 31/24        48/16 48/19 48/25 49/4 49/6   scope [1] 60/10
 35/13 35/16 35/18 35/19        49/12 49/14 50/3 50/6 50/17   screen [1] 57/21
 36/3 36/24 37/1 37/25 44/3     50/19 50/22 51/13 51/16       sec [1] 34/1
 49/8 49/12 50/16 55/20         52/4 52/8 62/18 63/3          second [3] 53/20 57/18
 56/13 59/14 62/8              rights [4] 22/23 22/25 23/1     64/12
researcher [13] 13/8 28/9       50/24                         secret [1] 59/15
 28/11 28/16 28/18 28/20       risk [9] 43/5 43/8 54/15       sections [1] 30/24
 29/7 29/16 30/13 31/6 31/13    56/21 56/22 57/10 59/24       see [16] 3/14 5/21 9/1 10/23
 31/16 31/19                    61/21 64/24                    14/20 14/21 21/14 21/17
researchers [9] 28/10 29/13    River [1] 9/25                  34/4 35/20 38/14 38/15 40/8
 30/13 31/6 31/10 31/23 32/1   RMR [1] 1/20                    62/21 71/6 71/6
 32/3 62/10                    role [2] 13/5 26/14            seek [3] 18/8 34/25 58/22
resources [1] 58/6             room [2] 22/2 22/2             seeking [3] 13/6 64/22
respect [2] 66/3 66/14         routinely [1] 62/13             64/23
response [2] 17/8 21/8         ruling [1] 68/4                seem [1] 60/10
responses [1] 26/5             runs [1] 8/14                  seen [1] 49/16
restate [1] 19/1               Rusk [1] 1/21                  send [4] 39/11 39/14 40/2
restating [1] 43/14            résumé [2] 16/6 16/7            69/7
                                                              sense [1] 69/5
restricted [1] 28/3            S                              sent [8] 14/13 16/19 32/14
restrictions [11] 13/24 14/1   safe [2] 4/22 70/25
S                                 26 30/2
                           sic [11]
     Case 4:20-cr-00455 Document      Filed30/23 31/6 in TXSD
                                            on 11/23/20   48/17 Page
                                                                54/198954/19
                                                                        of 94 54/23
sent... [5] 32/15 32/16 39/5    31/14 32/10 34/5 34/18         55/12 61/25 65/20 66/3 66/4
 40/23 55/24                    40/25 42/5 58/9 59/12         soon [1] 3/16
sentence [2] 60/5 60/9         sign [2] 16/21 16/21           sorry [27] 10/15 14/16
separate [1] 36/14             signal [1] 18/16                14/22 15/14 15/15 21/21
September [14] 7/13 7/14       Signature [1] 71/22             21/21 25/19 27/8 27/14
 8/5 8/8 13/15 17/20 17/23     signed [2] 17/5 17/6            33/18 34/1 37/16 39/2 41/12
 18/3 18/12 18/20 19/9 19/15   significant [8] 9/15 58/12      45/13 45/23 45/25 46/13
 19/25 23/19                    58/13 58/15 59/18 59/23        52/17 52/25 53/1 57/18
September 13th [1] 7/13         61/10 65/22                    57/20 57/25 59/25 69/6
September 19th [2] 17/20       simply [4] 56/15 59/24 61/8    sort [2] 38/7 42/4
 17/23                          70/9                          sound [1] 70/25
September 1st [1] 13/15        simultaneously [1] 3/16        sources [3] 68/12 68/15
September 2011 [1] 23/19       since [6] 7/3 45/10 48/8        69/3
September 2012 [1] 8/5          48/22 54/24 58/16             SOUTHERN [10] 1/1 10/1
September 30th [6] 18/3        sir [5] 3/24 6/3 17/18 39/1     10/2 12/10 12/11 12/15
 18/12 18/20 19/9 19/15         52/21                          12/22 33/6 33/15 34/10
 19/25                         sister [1] 55/14               speak [5] 8/23 27/8 27/12
series [1] 28/12               situation [1] 67/13             51/1 53/3
serious [1] 37/18              six [4] 15/8 37/8 49/2 51/15   speakers [1] 46/11
seriously [1] 64/14            size [1] 45/18                 speaking [3] 21/25 25/20
service [1] 68/20              skill [1] 71/17                 39/13
services [7] 41/1 41/16 42/5   sleep [2] 57/22 58/1           special [7] 6/1 6/14 6/15
 56/2 56/4 56/6 60/16          slightly [1] 46/1               6/17 8/7 9/9 33/4
seven [8] 45/21 46/5 46/21     Snow [6] 6/1 6/2 6/6 6/10      specific [4] 13/15 30/8
 49/3 56/3 60/1 61/10 61/14     6/11 53/6                      69/13 69/13
several [3] 48/5 52/4 64/5     society [1] 4/21               specifically [6] 7/21 15/11
shape [1] 64/8                 soft [4] 8/4 20/15 24/2         15/25 22/11 24/11 28/2
share [2] 20/6 43/7             29/23                         specify [1] 21/19
she [4] 3/21 19/9 48/21        some [18] 14/24 23/24 26/4     speculating [1] 52/7
 53/15                          28/10 33/19 37/13 53/16       speech [1] 4/8
she's [1] 48/17                 58/6 62/7 66/3 66/4 67/2      spelled [1] 39/7
Sheldon [4] 66/24 66/24         67/3 67/4 68/6 68/12 68/12    spend [1] 60/7
 67/11 67/21                    70/17                         spending [2] 48/17 56/10
short [3] 6/16 57/17 59/17     someone [7] 19/11 25/20        spent [9] 6/19 40/21 40/22
shorter [2] 51/21 51/23         60/24 60/24 62/12 66/5         48/4 48/8 49/4 56/14 58/17
should [12] 3/15 3/17 4/1       68/21                          58/17
 28/16 28/18 47/2 58/24 62/3   someone's [1] 25/20            sphere [1] 30/3
 64/11 69/8 70/3 70/22         something [7] 3/17 3/18        spheres [1] 35/12
show [5] 29/5 43/5 58/9         21/22 52/21 59/15 69/24       spoke [1] 44/12
 63/7 65/4                      70/13                         spoken [1] 71/19
shown [4] 44/2 57/9 59/24      sometimes [2] 10/22 60/9       spread [1] 45/21
 65/9                          son [16] 41/9 42/4 42/8        spreadsheet [4] 35/9 38/3
shows [1] 43/7                  42/11 42/14 42/16 44/6         38/9 38/10
S                           28/1326
     Case 4:20-cr-00455 Document  36/8Filed on 11/23/20 in TXSD
                                                            talent Page 8/8of9/7
                                                                   [23] 90    94 9/11 9/12
standard [5] 54/15 56/19       study [1] 43/22                 9/14 9/20 9/23 9/25 10/4
 63/10 65/3 65/4               subaward [1] 26/21              10/11 11/12 24/3 24/16 25/9
stands [1] 66/7                submission [1] 13/22            27/3 33/12 33/13 34/17
start [2] 13/2 57/10           submit [2] 19/16 25/3           34/19 55/5 55/6 56/24 61/5
started [3] 6/25 33/13 47/2    submitted [9] 13/21 14/10      talented [2] 9/16 59/19
started -- you [1] 47/2         15/7 15/8 18/14 19/25 25/1    Talents [8] 9/9 10/5 10/9
starting [1] 3/8                41/18 44/5                     10/23 11/6 35/10 55/4 55/8
state [4] 6/9 34/9 36/16       subsection [1] 31/3            talk [6] 20/11 35/12 36/2
 37/20                         subsections [1] 30/25           37/13 70/5 70/22
stated [7] 9/20 13/13 15/3     subset [3] 31/7 31/11 31/17    talked [5] 25/8 49/21 52/6
 28/19 36/14 38/1 55/16        substance [1] 16/15             56/24 70/1
statement [2] 34/11 34/12      substantial [2] 58/10 61/12    talking [9] 22/1 25/22 29/9
statements [8] 6/23 24/6       such [1] 68/22                  34/6 38/19 41/13 44/12
 24/8 24/9 32/22 37/19 60/23   sufficient [1] 60/17            51/21 60/11
 61/2                          Suite [3] 1/13 1/16 1/21       taxes [1] 56/10
STATES [31] 1/1 1/4 1/12       summarize [2] 19/1 40/1        team [5] 13/5 17/21 17/21
 3/6 3/10 37/4 44/15 48/9      Sunday [1] 50/21                28/6 29/17
 49/5 53/15 54/20 55/12        support [8] 20/25 22/7         Tech [1] 33/5
 55/14 55/19 55/22 56/16        22/10 30/7 30/14 50/3 50/4    technology [56] 8/5 8/9
 57/1 58/14 58/16 59/6 59/6     59/13                          8/11 8/14 9/5 9/14 9/17 9/18
 59/7 60/13 61/8 61/16 61/25   supported [3] 30/4 36/8         10/1 10/2 10/6 10/12 11/7
 62/10 65/19 65/21 65/23        58/8                           11/12 11/15 11/18 11/21
 66/11                         supporting [1] 56/4             11/23 12/8 12/10 12/12
stating [1] 25/4               sure [29] 3/22 3/23 4/3 4/18    12/15 12/22 20/7 20/20
station [7] 32/17 45/6 48/24    5/11 5/12 5/18 5/21 5/22       22/15 23/2 23/8 23/22 24/4
 52/4 59/18 59/18 61/10         8/17 9/1 14/18 23/14 39/18     25/9 28/7 28/9 28/15 29/7
status [1] 57/11                45/17 47/6 49/15 51/2 51/19    30/6 30/21 30/25 31/5 31/21
statutory [1] 60/4              53/24 55/10 66/5 67/17 68/3    33/3 33/9 33/12 35/1 35/14
stay [5] 56/16 57/3 61/9        68/15 68/16 69/2 69/16         35/18 35/24 35/25 36/4
 65/18 65/22                    69/24                          36/11 36/12 36/14 36/24
stenography [1] 1/24           Surfactants [1] 31/7            43/10 44/1 55/3
step [2] 53/6 64/13            SUS [1] 33/5                   tell [15] 6/25 7/10 8/1 9/10
STEPHEN [1] 1/11               suspect [1] 39/7                16/15 19/9 23/10 29/25 38/7
steps [1] 70/7                 suspicious [1] 62/14            40/10 40/10 40/17 41/6
still [8] 12/2 12/4 14/18      sworn [2] 6/4 6/6               49/10 62/17
                                                              tells [1] 62/23
 21/24 36/13 40/5 40/7 55/11   T                              term [3] 23/10 23/12 23/14
stop [4] 3/22 3/24 37/20       T-I-A-N-L-U [2] 39/18
 51/4                                                         terminated [1] 68/4
                                39/19                         terms [1] 66/23
storm [1] 71/1                 take [8] 16/10 17/20 18/2
strongly [2] 61/4 61/20                                       terrible [1] 71/2
                                25/12 62/13 63/1 63/14        testified [3] 6/6 46/17 46/18
structures [1] 22/22            64/13
student [2] 35/22 36/8                                        testify [1] 53/1
                               taken [1] 63/19                testimony [6] 64/1 64/25
students [4] 17/14 17/15       takes [1] 64/7
T                           41/1326
     Case 4:20-cr-00455 Document  43/4Filed
                                        43/15  43/16 in TXSD
                                            on 11/23/20  70/20 Page
                                                               71/2 91 of 94
testimony... [4] 65/8 65/12 43/16 48/1 53/16 56/21 57/2 though [1] 24/11
 65/19 66/2                   58/11 58/19 58/22 59/8 61/8 thought [4] 17/14 22/1
TEXAS [64] 1/1 1/13 1/17 61/24 62/6 62/8 62/21 62/22 42/11 46/18
 1/22 7/2 7/4 7/18 9/6 10/14 63/2                         Thousand [6] 10/5 10/9
 10/17 11/10 12/6 12/25 15/8 Thereafter [1] 20/3           10/23 11/6 34/17 55/8
 16/11 16/14 16/16 17/1 17/6 therefore [2] 4/22 34/5      three [1] 12/20
 18/3 18/9 18/13 18/21 19/16 these [14] 4/22 9/11 24/6    through [7] 5/20 7/14 12/23
 20/1 20/3 20/20 24/24 25/2 36/16 37/19 49/4 49/14         23/19 26/4 32/10 32/24
 26/2 26/5 26/21 26/25 27/19 49/16 50/15 56/24 58/7 60/9 throughout [1] 49/4
 28/10 28/13 28/18 30/13      61/4 61/5                   TIANLU [2] 1/19 39/20
 31/10 31/13 31/16 31/19     they [35] 9/18 17/15 17/23 tianluChinese.com [1]
 31/22 32/1 32/16 34/10       17/23 18/5 18/6 18/10 22/15 39/20
 34/14 35/13 35/22 36/17      23/9 24/9 24/14 24/17 24/20 ties [8] 55/18 55/19 58/10
 37/15 45/4 45/7 45/10 46/15 24/21 24/21 29/14 29/19       58/15 58/20 59/23 61/5
 52/11 54/25 55/1 55/10       29/19 30/6 30/9 30/11 32/14 62/12
 58/11 58/18 58/25 59/2       35/6 41/24 41/24 41/24      till [1] 13/15
 59/20                        42/22 51/25 57/16 57/16     time [53] 3/18 4/8 7/10 7/11
than [6] 26/25 49/19 49/25 59/11 64/24 65/9 70/16          7/17 7/18 8/2 9/6 10/8 10/13
 50/13 60/2 60/3              70/18                        11/5 11/9 11/10 11/13 12/5
thank [27] 14/23 19/23 22/3 they're [4] 18/8 48/17 48/18 12/6 12/18 12/19 12/21 13/2
 25/23 33/21 39/22 41/14      62/23                        13/20 15/6 19/20 20/10
 44/9 45/13 50/10 53/5 53/7 thing [6] 39/18 49/24 53/12 20/13 20/18 22/6 22/12
 57/5 57/6 61/21 63/17 63/18 62/3 66/18 69/7               23/22 24/22 24/25 35/21
 63/24 63/25 69/19 69/21     things [6] 25/21 36/17        40/18 45/10 47/14 48/5 48/8
 69/22 71/3 71/9 71/10 71/11 56/17 58/7 63/2 63/14         48/17 51/10 51/18 51/19
 71/12                       think [29] 4/13 18/22 19/3 51/21 51/23 53/4 56/14
that [350]                    19/5 19/8 19/8 25/20 37/18 56/15 57/18 58/17 58/18
that -- well [1] 52/2         42/12 45/10 48/4 49/3 50/2 60/8 64/1 67/1 68/13
that's [22] 4/10 4/11 10/22 50/15 51/2 51/12 51/15        times [2] 64/6 65/25
 16/24 19/21 21/17 43/14      56/20 57/12 57/21 59/2      title [4] 6/13 13/10 13/11
 45/14 46/5 46/21 48/1 48/7 60/16 61/1 61/24 62/1 62/16 29/25
 56/4 60/3 60/11 62/11 62/19 65/15 67/16 68/6             titled [1] 16/19
 63/11 67/17 67/23 69/1      third [1] 48/5               TMAU [1] 31/6
 70/21                       this [72]                    today [9] 4/13 39/1 39/9
their [6] 25/22 29/5 41/14 those [40] 16/15 18/8 19/5 47/4 47/19 63/6 64/2 65/8
 48/17 60/24 60/25            20/22 22/23 22/24 22/25      67/24
them [7] 19/5 24/18 24/20 23/1 24/8 24/11 27/23 32/1 today's [2] 5/1 5/1
 42/22 49/18 61/13 68/13      32/20 40/22 41/24 44/15     together [1] 4/20
then [16] 3/18 13/16 16/25 44/19 49/8 49/17 49/25 50/7 told [1] 36/18
 19/4 21/15 28/1 30/25 38/19 50/11 50/12 51/18 51/24      tomorrow [1] 69/7
 39/19 40/1 49/21 50/7 53/20 53/25 56/17 57/15 58/4 58/5 too [3] 8/23 38/6 39/5
 63/3 68/22 69/13             58/20 60/16 61/14 62/10     took [3] 40/20 44/21 70/16
there's [23] 5/19 8/24 40/3 67/3 67/20 68/15 68/20        top [1] 24/3
T                          U 26 Filed on 11/23/20 in TXSD
     Case 4:20-cr-00455 Document                              71/1 92 of 94
                                                      us [1] Page
top-notch [1] 24/3             U.S [6] 12/17 21/14 23/23     used [2] 37/1 44/18
total [9] 13/19 31/25 45/19    40/25 41/19 44/5              using [3] 36/23 40/14 44/15
 46/7 46/14 51/15 56/4 60/1    U.S. [1] 29/17                V
 60/2                          U.S.-based [1] 29/17          valid [1] 48/1
totally [1] 54/3               ultimate [2] 63/11 68/25      value [2] 46/1 46/23
towards [1] 37/23              ultimately [1] 22/24          values [1] 57/15
tracked [1] 16/24              unclear [1] 51/11             various [1] 55/2
transcript [3] 1/24 66/23      uncooperative [1] 51/6        versus [1] 3/6
 71/15                         under [5] 14/9 26/21 56/19    very [14] 22/3 53/7 56/20
transfer [1] 9/18              64/12 64/14                   60/10 63/24 63/25 64/13
transferred [3] 22/25 22/25    understand [5] 4/3 10/21      66/24 67/11 67/12 67/13
 23/1                          42/10 54/3 71/2               69/22 71/3 71/9
transfers [2] 37/3 51/24       understanding [3] 11/21       via [2] 1/10 3/3
translating [1] 3/15           43/3 71/19                    video [15] 1/10 3/3 3/15
translation [2] 3/17 4/7       Unfortunately [1] 70/8        4/19 4/23 5/2 9/2 18/16
translator [2] 3/18 4/7        UNITED [31] 1/1 1/4 1/12      19/10 19/17 21/3 21/9 41/17
translator's [1] 4/9           3/6 3/10 37/4 44/15 48/9      54/4 63/15
transmissions [1] 32/9         49/5 53/15 54/20 55/12        videotaped [2] 32/22 32/25
travel [9] 38/3 38/7 40/11     55/14 55/19 55/22 56/16       view [2] 19/2 68/19
 40/17 44/22 53/17 55/13       57/1 58/14 58/16 59/6 59/6    violating [1] 70/14
 59/5 59/9                     59/7 60/13 61/8 61/16 61/25   visa [1] 44/6
treating [1] 48/17             62/10 65/19 65/21 65/23       visit [2] 37/16 40/19
treaty [1] 55/22               66/11                         visiting [6] 12/21 26/15
trial [8] 57/5 59/11 64/3      United States [27] 3/6 3/10   27/11 27/25 28/1 33/7
 64/11 64/15 66/7 66/7 66/11   37/4 44/15 48/9 49/5 53/15    vitae [2] 25/4 25/5
tried [2] 36/14 66/3           54/20 55/12 55/14 55/19       voicemail [1] 53/14
trip [1] 44/21                 55/22 56/16 57/1 58/14
trips [3] 40/21 44/13 44/19    58/16 59/6 59/6 59/7 61/8     W
trouble [1] 27/13              61/16 61/25 62/10 65/19       W/DRAW [1] 2/13
true [1] 65/18                 65/21 65/23 66/11             wage [1] 35/9
trust [1] 60/24                universities [10] 12/7 14/7   wait [1] 34/1
truth [1] 70/23                14/8 16/9 20/23 34/21 55/2    waive [1] 4/25
try [4] 38/15 44/5 58/21       61/5 61/18 65/14              waived [1] 50/24
 70/6                          universities' [1] 35/16       want [20] 4/18 5/18 8/16
trying [6] 4/22 4/22 21/18     university [77]               14/17 18/23 20/11 21/22
 21/18 53/15 58/20             unless [2] 38/20 64/15        33/20 40/13 45/17 49/8 57/8
turn [1] 63/13                 until [2] 45/9 48/11          57/10 59/25 63/13 68/3
two [16] 22/10 22/14 25/13     unusual [1] 67/12             69/16 69/24 69/25 70/2
 30/12 30/13 31/6 34/19        unwilling [1] 59/20           wanted [13] 5/11 5/12 8/25
 34/19 34/20 37/19 50/7 51/3   up [13] 16/25 18/23 22/24     17/14 17/15 37/14 37/15
 53/19 55/2 55/5 63/2          25/12 25/16 25/17 27/8        37/20 61/23 66/18 67/14
tying [1] 58/13                27/12 42/17 45/9 56/8 68/25   67/18 69/2
type [1] 60/9                  70/24                         wants [6] 19/1 19/8 37/15
W                           30/1226
     Case 4:20-cr-00455 Document  30/24  30/25
                                     Filed     31/23 in TXSD
                                           on 11/23/20   will [22] 3/18
                                                                Page    3/21
                                                                     93 of 94 3/23
wants... [3] 58/25 60/7 66/5   32/1 32/9 32/14 32/14 35/15   5/21 18/25 43/3 53/3 53/13
watching [1] 5/18              42/25 43/11 44/15 47/16       55/10 55/11 59/15 60/17
waving [1] 21/24               49/11 49/18 49/25 50/2        61/17 63/16 64/16 65/6
way [8] 5/16 14/4 25/12        50/12 55/23 59/12 63/2 67/2   68/17 69/7 70/6 70/6 70/11
56/21 56/21 58/22 61/11        what's [3] 21/10 39/25        70/18
64/8                           51/18                         William [1] 69/8
ways [1] 62/14                 whatever [4] 40/12 40/12      wire [5] 32/9 32/14 32/16
we [44] 3/5 3/15 3/24 4/12     67/7 69/3                     37/3 51/24
4/17 4/19 5/4 5/7 5/19 5/20    whatsoever [1] 55/12          wired [2] 37/7 37/10
6/25 8/16 8/17 8/17 9/1 12/4   whenever [1] 54/11            wires [6] 32/20 37/6 37/8
14/18 19/12 19/18 19/19        whether [19] 19/4 26/13       51/12 51/15 51/19
21/11 27/12 33/19 34/1         26/20 26/24 27/2 28/14        within [1] 62/9
44/16 50/22 54/9 54/16         28/16 33/15 34/9 35/6 35/12   without [4] 44/22 58/24
56/20 56/22 56/24 57/4         35/17 36/3 36/24 37/24 43/4   59/5 70/14
57/23 60/25 61/4 61/20 63/2    51/20 62/9 64/10              witness [7] 2/9 6/4 19/1
63/3 63/20 63/25 66/13         which [30] 4/21 10/5 11/24    44/7 53/7 55/5 59/8
67/23 70/1 71/6                12/17 13/7 22/23 23/3 24/18   witness's [1] 43/17
We'd [1] 60/15                 25/13 29/1 31/21 32/17 35/1   witnesses [2] 53/9 59/12
we'll [2] 5/22 54/1            38/2 38/3 41/3 42/22 54/16    wondering [1] 70/16
we're [12] 4/13 4/21 12/5      55/5 55/5 56/23 58/25 61/16   word [2] 39/19 60/25
34/7 38/19 53/1 54/3 60/11     62/4 63/9 64/16 65/23 67/16   words [1] 71/19
63/16 64/2 68/4 71/9           70/6 71/1                     work [16] 12/7 22/14 23/24
we've [5] 16/23 25/8 33/20     while [4] 28/17 54/25 55/1    24/2 28/2 29/14 29/17 35/22
51/21 61/1                     58/21                         35/23 37/15 52/10 55/17
week [3] 66/22 67/21 68/11     who [25] 3/15 8/9 8/14 21/7   58/22 59/19 61/18 62/14
Wei [9] 11/15 11/18 11/21      21/18 22/18 22/24 28/18       worked [3] 12/9 36/3 54/24
23/2 25/9 33/8 35/5 36/12      30/4 30/6 31/3 31/8 31/11     working [8] 7/4 11/10 14/2
43/25                          31/14 31/17 42/19 48/17       14/2 29/13 54/25 55/1 59/1
weighs [1] 66/2                55/12 56/6 59/19 59/22 66/6   worries [2] 22/3 54/7
weight [1] 43/17               67/20 68/20 71/6              worry [2] 36/19 54/3
well [19] 4/12 5/23 7/10       who's [1] 25/22               would [43] 4/19 4/25 5/25
10/22 11/4 21/17 38/19         whoever [2] 68/14 68/25       6/2 13/7 16/21 17/13 20/6
39/14 40/9 40/14 51/23 52/2    whoever's [1] 41/13           24/14 24/17 24/18 24/20
61/11 63/2 63/12 64/18 66/2    whole [2] 55/15 60/22         24/21 24/21 34/15 34/22
68/6 71/4                      whom [1] 69/8                 34/25 36/18 36/19 37/25
went [11] 7/14 30/5 31/8       whose [1] 68/16               39/2 39/4 43/6 43/7 43/22
34/22 34/24 48/12 54/6         why [4] 14/20 36/16 37/10     52/7 55/16 56/22 58/21 60/5
57/22 57/25 66/22 66/24        60/11                         62/16 62/20 65/11 65/22
were [45] 9/12 9/16 9/18       wife [12] 43/11 48/11 48/13   65/23 67/7 68/10 68/17
11/1 13/24 16/3 19/5 21/3      52/3 53/14 54/17 55/14 61/6   69/10 69/13 69/14 69/16
22/1 22/6 22/6 22/8 22/15      61/24 62/1 65/18 65/22        70/13
23/1 23/6 23/9 23/24 24/2      wife's [4] 37/3 37/11 51/12   wouldn't [1] 62/10
24/11 26/5 28/5 29/4 29/9      51/24                         wreaked [1] 4/21
W                          yourself
     Case 4:20-cr-00455 Document 26 [3]  6/21
                                     Filed    47/3 47/11
                                           on 11/23/20 in TXSD Page 94 of 94
write [1] 47/8             Yun [1] 36/1
written [1] 66/9           Z
wrong [3] 39/7 46/17 49/10 ZHENGDONG [2] 1/6 3/6
Y                          Zoom [1] 71/5
y'all [2] 27/15 38/21
yeah [34] 7/5 7/13 7/14 8/3
9/12 12/23 13/15 13/22
15/13 15/18 16/2 16/18 17/4
17/10 17/12 17/23 20/17
23/1 27/15 28/25 32/11
33/13 37/12 37/15 40/1 41/8
43/19 43/24 43/24 52/24
68/2 68/8 69/11 69/16
year [17] 7/15 7/16 11/16
13/17 13/20 24/6 29/2 30/22
31/22 31/24 40/18 46/3 56/2
56/7 61/14 62/6 62/13
years [14] 6/16 6/19 38/8
40/22 45/21 46/5 46/21 48/5
49/4 51/20 59/17 60/2 60/14
66/1
yes [92]
yesterday [2] 5/20 66/19
you [187]
you'd [1] 52/21
You'll [1] 53/2
you're [5] 8/25 43/21 44/12
49/5 63/11
you've [2] 47/19 52/2
you-all [2] 63/15 64/18
your [79]
Your Honor [49] 3/10 4/4
4/15 4/16 5/6 5/9 5/10 5/25
8/18 8/20 8/20 19/13 19/22
21/6 21/13 40/9 43/13 52/14
52/16 52/25 53/5 53/10
53/23 54/5 54/5 54/11 54/14
55/18 56/1 56/20 56/23 57/4
57/8 57/20 60/1 60/16 60/21
61/4 61/20 62/15 63/17
63/23 66/15 66/17 68/1 68/3
69/6 69/21 71/12
